     Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4931 Page 1 of 127



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 8                          UNITED STATES DISTRICT COURT
 9                       SOUTHERN DISTRICT OF CALIFORNIA
10     GOLDEN EYE MEDIA USA, INC., a             )    Case No.: 3:18-cv-02109-BEN-LL
11     California corporation,                   )
                         Plaintiff,              )    ORDER:
12                                               )
       v.
13                                               )    (1) GRANTING PLAINTIFF’S
       TROLLEY BAGS UK LTD, a
                                                 )        MOTION FOR SUMMARY
14     corporation of the United Kingdom; and
                                                 )        JUDGMENT
       BERGHOFF INTERNATIONAL,
15                                               )
       INC., a Florida corporation,
                                                 )    (2) GRANTING IN PART AND
16                        Defendant.             )        DENYING IN PART
17     TROLLEY BAGS UK LTD, a                    )        DEFENDANTS’ MOTION FOR
       corporation of the United Kingdom; and    )        SUMMARY JUDGMENT
18     BERGHOFF INTERNATIONAL,                   )
       INC., a Florida corporation,              )    [ECF No. 80, 83, 86, 89, 90, 93, 97]
19
                         Counterclaimants,       )
20                                               )
       v.
21     GOLDEN EYE MEDIA USA, INC., a             )
       California corporation; FARZAN            )
22                                               )
       DEHMOUBED, an individual; and
23     JENNIFER DUVALL, an individual,           )
                                                 )
24                                               )
                         Counterdefendants.
25                                               )
                                                 )
26                                               )
27                                               )
                                                 )
28                                               )
                                                -1-
                                                                              3:18-cv-02109-BEN-LL
     Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4932 Page 2 of 127


      I.    INTRODUCTION
 1
 2          Plaintiff/Counterdefendant GOLDEN EYE MEDIA USA, INC., a California

 3    corporation (“Plaintiff”) brings this action for a declaratory judgment of non-infringement

 4    against Defendants/Counterclaimants TROLLEY BAGS UK LTD, a corporation of the

 5    United Kingdom (“Trolley Bags”); and BERGHOFF INTERNATIONAL, INC., a Florida

 6    corporation (“Berghoff”) (collectively, “Defendants”). Complaint, ECF No. 1 (“Compl.”).

 7          Before the Court are (1) Plaintiff’s Motion for Summary Judgment, ECF No. 83, and

 8    (2) Defendants’ Motion for Summary Judgment, ECF No. 80.

 9          The Motions were submitted on the papers without oral argument pursuant to Civil

10    Local Rule 7.1(d)(1) and Rule 78(b) of the Federal Rules of Civil Procedure. ECF Nos.

11    94, 114. After considering the papers submitted, supporting documentation, and applicable

12    law, the Court (1) GRANTS Plaintiff’s Motion for Summary Judgment, ECF No. 83, and

13    (2) GRANTS IN PART and DENIES IN PART Defendants’ Motion for Summary

14    Judgment, ECF No. 80.
      II.  BACKGROUND
15
16          This matter arises out of a dispute over whether Plaintiff is infringing on the claim

17    of U.S. Design Patent No. D779,828 (the “828 Patent”) as well as the trademark held by

18    Trolley Bags. Compl. at 2:7-9; see also Answer, ECF No. 14 (“Ans.”) at 9:24-27.
            A.    Statement of Facts
19
20          Plaintiff owns and operates Lotus Sustainables, a family-run company located in

21    Carlsbad, California, which aims to eliminate plastic bags. Plaintiff’s Motion for Summary

22    Judgment, ECF No. 83-1 (“Pltff. Mot.”) at 10:2-4.1 As part of its business, it sells eco-

23    friendly items, including but not limited to reusable shopping bags. Id. at 10:4-5.

24          Defendant Trolley Bags also sells reusable shopping bags that are used with ordinary

25    shopping carts, also known as trolleys. Compl. at 3:15-18; see also Ans. at 9:21-23. In

26    March 2015, Defendants began promoting and selling Trolley Bags’ reusable bags in the

27
      1
            Unless otherwise indicated, all page number references are to the ECF generated
28    page number contained in the header of each ECF-filed document.
                                                  -2-
                                                                                3:18-cv-02109-BEN-LL
     Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4933 Page 3 of 127



 1    United States and “gained a significant foothold” there, with their bags being sold in
 2    hundreds of Bed Bath & Beyond Stores. Ans. at 10:4-8. “Defendant Berghoff purports to
 3    be the exclusive distributor of Trolley Bags’ products in the United States.” Compl. at 19-
 4    20; see also Ans. at 9:27-28. Defendants market and sell Trolley Bags’ reusable bags
 5    throughout the United States under the mark TROLLEY BAGSTM. Ans. at 10:1-4.
 6    However, on March 14, 2016, the United States Patent and Trademark Office (“USPTO”)
 7    rejected Trolley Bags’ application for U.S. Trademark Reg. No. 5,126,274. Compl. at 4,
 8    ¶20:20-22; Defendants and Counterclaimants’ First Amended Answer, Affirmative
 9    Defenses, and Counterclaims, ECF No. 32 (“First Amend. Ans.”) at 3, ¶¶ 20-22.
10          Sometime in 2016, Plaintiff created its Lotus Bags “as Plaintiff sought to design a
11    solution to plastic bags when the city of San Diego approved a ban on plastic shopping
12    bags around the same timeframe.” Plaintiff’s Opposition to Defendants’ Motion for
13    Summary Judgment, ECF No. 90 (“Pltff. Oppo.”) at 8:9-11. That same year, around April
14    2016, Trolley Bags also started using its claimed trademark of “Trolley Bags.” See
15    Plaintiff’s Reply Brief in Support of Plaintiff’s Motion for Summary Judgment, ECF No.
16    95 (“Pltff. Reply”), at 10:17; First Amend. Ans. at 10, ¶ 13:1-4.
17          On February 28, 2017, the USPTO approved Trolley Bags’ 828 Patent as a design
18    patent titled, “Foldable Bag,” which included one claim for “the ornamental design for a
19    foldable bag.” Pltff. Mot. at 12:3-7; First Amend. Ans. at 12, ¶ 26:20-21. Meanwhile,
20    sometime between late 2016 and May 2017, Plaintiff began marketing and selling reusable
21    bags in the United States under the mark LOTUS TROLLEY BAGTM. First Amend. Ans.
22    at 11, ¶ 16:12-16; Pltff. Oppo. at 8:9-11; Pltff. Reply at 10:8-9.
23          On July 13, 2017, Defendant Berghoff served a cease and desist letter on Plaintiff,
24    asserting that Plaintiff’s sale of trolley bags infringed on Trolley Bags 828 Patent. Compl.
25    at 3:21-28; see also Ans. at 20-23; Pltff. Mot. at 6-8; Defendants’ Opposition to Plaintiff’s
26    Motion for Summary Judgment, ECF No. 89 (“Defs. Oppo.”) at 29:9-11. Defendants
27    allege that (1) Plaintiff’s reusable bags are substantially the same as Trolley Bags’ reusable
28    bags and infringe on Trolley Bags’ 828 Patent under the “ordinary observer” test and (2)

                                                   -3-
                                                                                 3:18-cv-02109-BEN-LL
     Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4934 Page 4 of 127



 1    the LOTUS TROLLEY BAGTM mark is likely to, and has caused, confusion among
 2    customers with respect to Defendants’ TROLLEY BAGSTM mark. Ans. at 10:14-20.
 3          On October 24, 2017, the USPTO “rejected Trolley Bags’ trademark application
 4    [No. 87531929] under Section 2(e)(1) of the Lanham Act on the basis that the term ‘trolley
 5    bags’ is merely descriptive and thus not entitled to trademark protection or registration.”
 6    Compl. at 4:11-14; First Amend. Ans. at 3, ¶¶ 20-22.
 7          In 2018, Plaintiff alleges that its “Lotus Bags began to receive local and national
 8    media attention, and their online presence on sites like Amazon began to increase” as “they
 9    became one of the most popular reusable bag sellers on Amazon.” Pltff. Oppo. at 8:18-22.
10          From February 2018 through August 2019, Trolley Bags filed forty-three (43)
11    complaints with Amazon alleging Plaintiff’s infringement of the 828 Patent, which resulted
12    in Amazon removing Plaintiff’s product from its website in twenty-five (25) of those
13    complaints. Defendants’ and Counterclaimants’ Motion for Summary Judgment, ECF No.
14    80-1 (“Defs. Mot.”) at 8:10-13; Compl. at 5:8-10; Pltff’s Oppo. at 8:26-28; Defendants’
15    Reply in Support of Their Motion for Summary Judgment, ECF No. 93 (“Defs. Reply”) at
16    6:11-16. Defendants argue that “[f]or the 18 times that Amazon did not remove Plaintiff’s
17    listings, six were for administrative reasons, such as inadvertent failure to link the ‘828
18    patent in the submission or because the complaint was duplicative.” Defs. Reply at 6:15-
19    18. Defendants concedes that in twelve (12) instances, Amazon initially determined that
20    Plaintiff’s bags were not infringing the 828 Patent. Defs. Reply at 6:20-23.
21          The parties agree that after Amazon would remove Plaintiff’s bags due to
22    Defendants’ complaints, Plaintiff would then appeal to Amazon for reinstatement, and
23    Amazon would re-list the bags. Defs. Mot. at 8:13-14; Pltff. Mot. at 10:10-13; see also
24    Compl. at 5, ¶ 28:20-22. Whenever this occurred, as soon as Defendants realized the
25    product had been reinstated, Trolley Bogs would again follow Amazon’s stated process of
26    resubmitting a notice of infringement, which would again, get reviewed and result in the
27    removal of Plaintiff’s products. Defs. Mot. at 8:14-17; see also Compl. at 5, ¶ 28:22-24.
28    “This cycle continued for around 18 months,” and Defendants submitted more than a dozen

                                                  -4-
                                                                               3:18-cv-02109-BEN-LL
     Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4935 Page 5 of 127



 1    complaints. Defs. Mot. at 8:17; see also Compl. at 5, ¶ 28:22-24.
 2          On December 18, 2018, Plaintiff’s co-owners, Jennifer Duvall (“Ms. Duvall”) and
 3    Farzan Dehmoubed (“Mr. Dehmoubed”), were granted U.S. Design Patent No. D835,912
 4    for reusable shopping bags (the “912 Patent”), which Defendants allege is invalid for
 5    numerous reasons, including but not limited to lack of novelty, obviousness relative to prior
 6    art, which includes European Community Design No. 002682302-0001. First Amend.
 7    Ans. at 12:1-9. Defendants allege that the European Design was not cited during the
 8    examination of the 912 Patent. Id. at 12:7-9. Shortly after the 912 Patent was granted,
 9    Plaintiff submitted complaints with third-party retailers like Amazon.com against
10    Defendants and/or Defendants’ products for infringing the 912 Patent. First Amend. Ans.
11    at 12:9-12; see also Plaintiff’s Answer to First Amend. Ans., ECF No. 33 at 4, ¶ 23.
12          Plaintiff alleges that Defendants have negligently misrepresented facts to Amazon,
13    including but not limited to failing to represent that (1) Trolley Bags disclaimed the term
14    ‘trolley bags’ as unprotectable under trademark law; (2) Plaintiff’s product does not fall
15    within the scope of the 828 Patent; and (3) Trolley Bags, not Berghoff, holds the alleged
16    patent and trademark rights. Compl. at 5:11-19. Plaintiff also alleges that “[d]ue to
17    Amazon’s partially automated system, defendants’ wrongful, false, and misleading
18    complaints has caused temporary interruption and interference with plaintiff’s listing and
19    sale of products.” Id. at 6:1-7. Plaintiff pleads that “defendants have prevented sales of at
20    least $150,000 during the temporary periods of being delisted by Amazon’s system.” Id.
21          B.     Procedural History
22          On September 11, 2018, Plaintiff filed a lawsuit against Defendant pleading claims
23    for relief for (1) declaratory judgment of non-infringement of the 828 Patent against Trolley
24    Bags; (2) declaratory judgment of non-infringement of the Trademark TROLLEY BAGS
25    and U.S. Trademark Reg. No. 5,126,274 against Trolley Bags; (3) interference with
26    prospective of contractual economic relations against all Defendants; (4) negligent
27    misrepresentation against all Defendants; (5) unfair competition against all Defendants, 15
28    U.S.C. § 1125; (6) unfair competition pursuant to California’s Unfair Competition Law,

                                                   -5-
                                                                                3:18-cv-02109-BEN-LL
     Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4936 Page 6 of 127



 1    CAL. BUS. & PROF. CODE § 17200 (the “UCL”); and (7) common law unfair competition.
 2    Compl., ECF No. 1.
 3           On October 24, 2018, Defendants filed an answer to Plaintiff’s complaint along with
 4    counter-claims for (1) infringement of the 828 Patent and (2) common law trademark
 5    infringement and unfair competition. Ans., ECF No. 14. On October 30, 2018, Plaintiff
 6    filed an answer to Defendants’ counterclaims. ECF No. 17.
 7           On February 19, 2019, Defendants filed a Motion for Leave to File a First Amended
 8    Answer and Counterclaims to Join New Parties, ECF No. 27, which Plaintiff did not
 9    oppose, ECF No. 28, and the Court granted on March 21, 2019, ECF No. 31.
10           On March 28, 2019, Defendants filed a First Amended Answer and Counterclaims,
11    adding Ms. Duvall and Mr. Dehmoubed as counterdefendants as well as counterclaims for
12    (1) declaratory judgment of invalidity of the 912 Patent; (2) interference with prospective
13    contractual relations; (3) negligent misrepresentation; (4) unfair competition, 15 U.S.C. §
14    1125; and (5) unfair competition under the common law and California’s UCL. See
15    generally First Amend. Ans. On March 29, 2019, Plaintiff along with counterdefendants
16    filed an Answer to Defendants’ First Amended Counterclaim. ECF No. 33.
17           On September 18, 2020, both parties filed respective motions for summary
18    judgment. ECF Nos. 80, 83. On October 26, 2020, both parties opposed each other’s
19    motion for summary judgment, ECF Nos. 89, 90. On November 2, 2020, both parties filed
20    reply briefs in response to each other’s opposition briefs. ECF Nos. 93, 95.
21    III.   LEGAL STANDARD
22           A.  Summary Judgment
23           Summary judgment is appropriate where “the movant shows that there is no genuine
24    dispute as to any material fact and the movant is entitled to judgment as a matter of law.”
25    FED. R. CIV. P. 56(a); see also Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).
26                 1.    Patent Invalidity
27           “Design patents are presumed valid and, thus, a moving party seeking to invalidate
28    a design patent at summary judgment must submit such clear and convincing evidence of

                                                  -6-
                                                                               3:18-cv-02109-BEN-LL
     Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4937 Page 7 of 127



 1    facts underlying invalidity that no reasonable jury could find otherwise.” Spigen Korea
 2    Co. v. Ultraproof, Inc., 955 F.3d 1379, 1383 (Fed. Cir. 2020). “In order for a design patent
 3    to be valid, it must be: (1) new, (2) original, (3) ornamental, (4) nonobvious to a person of
 4    ordinary skill in the art, and (5) not primarily for the purpose of serving a functional or
 5    utilitarian purpose.” Barofsky v. Gen. Elec. Corp., 396 F.2d 340, 342 (9th Cir. 1968).
 6    Accordingly, if a Court concludes that a design patent is obvious to a person of ordinary
 7    skill in the art, non-ornamental, and/or functional, it may hold the patent invalid. See id.
 8          “For design patents, the ultimate inquiry for obviousness is whether the claimed
 9    design would have been obvious [at the time of invention] to a designer of ordinary skill
10    who designs articles of the type involved.” Spigen, 955 F.3d at 1383-84 (internal
11    quotations omitted). In order to find a design patent invalid as obvious, courts must
12    undertake a two-step test, by finding that (1) a primary reference exists, “the design
13    characteristics of which are basically the same as the claimed design,” and (2) reasons,
14    such as prior art references, to modify the primary reference’s design to create a design that
15    has the same overall visual appearance as the claimed design, also exist. High Point Design
16    LLC v. Buyers Direct, Inc., 730 F.3d 1301, 1311-12 (Fed. Cir. 2013).
17          In order to examine whether a similar article of manufacture possesses the same
18    design characteristics as the claimed design patent in dispute, courts undertake a factual
19    inquiry by analyzing the Graham factors, set forth by the United States Supreme Court, by
20    examining: (1) “the scope and content of the prior art”; (2) “differences between the prior
21    art and the claims at issue”; (3) “the level of ordinary skill in the pertinent art”; and (4)
22    relevant objective secondary considerations of nonobviousness, including “[a] commercial
23    success, [b] long felt but unsolved needs, [and] [c] failure of others....” KSR Int’l Co. v.
24    Teleflex Inc., 550 U.S. 398, 406 (2007) (quoting Graham v. John Deere Co. of Kan.
25    City, 383 U.S. 1, 17-18 (1966)) (internal quotation marks omitted); see also Tokai Corp. v.
26    Easton Enters, Inc., 632 F.3d 1358 (Fed. Cir. 2011) (affirming summary judgment on the
27    basis of obviousness); see also ZUP, LLC v. Nash Mfg., Inc., 896 F.3d 1365, 1374 (Fed.
28    Cir. 2018), cert. denied, 139 S. Ct. 1211 (2019) (providing that “[o]bviousness is

                                                   -7-
                                                                                 3:18-cv-02109-BEN-LL
     Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4938 Page 8 of 127



 1    ultimately a legal determination, and a strong showing of obviousness may stand ‘even in
 2    the face of considerable evidence of secondary considerations.’”). The motivation behind
 3    the obviousness inquiry is that “[w]hen there is a design need or market pressure to solve
 4    a problem and there are a finite number of identified, predictable solutions, a person of
 5    ordinary skill has good reason to pursue the known options within his or her technical
 6    grasp.” KSR, 550 U.S. at 421. When pursuit of these known options “leads to the
 7    anticipated success, it is likely the product not of [patent protectable] innovation but of
 8    ordinary skill and common sense,” such that “the fact that a combination was obvious to
 9    try might show that it was obvious under § 103.” Id.
10          For summary judgment, where the moving party challenges the validity of a patent,
11    like Plaintiff does in this case, it must prove by clear and convincing evidence that a jury
12    “could reasonably find . . . that the claimed invention was obvious.” Plantronics, Inc. v.
13    Aliph, Inc., 724 F.3d 1343, 1353 (Fed. Cir. 2013). Because obviousness presents a question
14    of law for the Court, “a district court can properly grant, as a matter of law, a motion for
15    summary judgment on patent invalidity when the factual inquiries into obviousness present
16    no genuine issue of material facts” by simply applying the law to the undisputed facts. Id.
17          When ruling on such a motion for summary judgment, courts apply federal circuit
18    law to issues unique to patent law. Nuance Commc’ns, Inc. v. Abbyy Software House, 626
19    F.3d 1222, 1230 (Fed. Cir. 2010), cert. denied, 131 S. Ct. 3091 (2011). On the other hand,
20    courts will apply regional circuit law to substantive issues that are not unique to patent law
21    or procedural issues. See, e.g., Chrysler Motors Corp. v. Auto Body Panels of Ohio, Inc.,
22    908 F.2d 951, 952–53 (Fed. Cir. 1990) (“When this court considers questions on appeal
23    involving substantive matters not exclusively assigned to the Federal Circuit, our general
24    practice is to apply to related procedural issues the appropriate regional circuit law.”);
25    Regents of Univ. of Cal. v. Affymetrix, Inc., 326 F.R.D. 275, 278 (S.D. Cal. 2018) (“Where
26    issues are not unique to patent law, the law of the circuit in which the dispute arises is
27    applicable.”); Am. Fireglass v. Moderustic, Inc., 365 F. Supp. 3d 1062, 1083 (S.D. Cal.
28    2019), reconsideration denied, No. 15-CV-2866 JLS (BGS), 2019 WL 4918042 (S.D. Cal.

                                                   -8-
                                                                                 3:18-cv-02109-BEN-LL
     Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4939 Page 9 of 127



 1    Oct. 4, 2019) (“In cases involving alleged false assertions of patent rights, the law of the
 2    regional circuit in which the district court sits governs claims of unfair competition.”); but
 3    see Pro-Mold & Tool Co. v. Great Lakes Plastics, Inc., 75 F.3d 1568, 1574 (Fed. Cir. 1996)
 4    (providing that “[w]hile unfair competition is not unique to our jurisdiction, a question
 5    concerning whether alleged inequitable conduct in the prosecution of a patent application
 6    constitutes unfair competition clearly does impact our exclusive jurisdiction,” warranting
 7    application of federal circuit law).
 8                 2.     Patent Infringement
 9           Design patent infringement is a question of fact, which the patent holder most prove
10    by a preponderance of the evidence.         Columbia Sportswear N. Am., Inc. v. Seirus
11    Innovative Accessories, Inc., 942 F.3d 1119, 1129 (Fed. Cir. 2019). “The ‘ordinary
12    observer’ test is the sole test for determining whether a design patent has been infringed”
13    and “originates from the Supreme Court’s Gorham decision.” Id. Under the test set forth
14    by the United States Supreme Court in Gorham Mfg. Co. v. White, 81 U.S. 511, 528 (1871),
15    “if, in the eye of an ordinary observer, giving such attention as a purchaser usually gives,
16    two designs are substantially the same, if the resemblance is such as to deceive such an
17    observer, inducing him to purchase one supposing it to be the other, the first one patented
18    is infringed by the other.”
19          The infringement analysis for design patents places less importance on the actual
20    design-patented product because courts need only compare the design patent’s claims or
21    drawings with the accused product (rather than comparing the patented product with the
22    accused product). See generally OddzOn Prod., Inc. v. Just Toys, Inc., 122 F.3d 1396,
23    1399-1400 (Fed. Cir. 1997) (comparing the plaintiff’s design figures to the defendant’s
24    product); Crocs, Inc. v. Int’l Trade Comm’n, 598 F.3d 1294, 1302-03 (Fed. Cir. 2010)
25    (same); Richardson v. Stanley Works, Inc., 597 F.3d 1288, 1294 (Fed. Cir. 2010) (noting
26    that “design patents are typically claimed according to their drawings, and claim
27    construction must be adapted to a pictorial setting”).
28          When it is not patently obvious that the accused product or design differs from the

                                                   -9-
                                                                                 3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4940 Page 10 of 127



 1   patented design, reference to the prior art can provide a useful tool to analyze infringement.
 2   Egyptian Goddess, Inc. v. Swisa, Inc., 543 F.3d 665, 678 (Fed. Cir. 2008) (en banc). Where
 3   the claimed design closely resembles the designs of prior art, minor “differences between
 4   the accused design and the claimed design assume more importance to the eye of the
 5   hypothetical ordinary observer.” Columbia Sportswear, 942 F.3d at 1129. Where the
 6   moving party seeks summary judgment of non-infringement, the party must “support its
 7   motion [for summary judgment] with evidence of non-infringement.” Exigent Tech., Inc.
 8   v. Atrana Sols., Inc., 442 F.3d 1301, 1308-09 (Fed. Cir. 2006) (“In the light of Celotex, we
 9   conclude that nothing more is required than the filing of a summary judgment motion
10   stating that the patentee had no evidence of infringement and pointing to the specific ways
11   in which accused systems did not meet the claim limitations.”).
12               3.    Trademark Infringement
13         Courts apply the law of the regional circuit to claims for trademark infringement.
14   High Point, 730 F.3d at 1317. “‘[S]ummary judgment is generally disfavored in the
15   trademark arena’ due to ‘the intensely factual nature of trademark disputes.’” Marketquest
16   Grp., Inc. v. BIC Corp., 862 F.3d 927, 932 (9th Cir. 2017); see also Fortune Dynamic, Inc.
17   v. Victoria’s Secret Stores Brand Mgmt., Inc., 618 F.3d 1025, 1031 (9th Cir. 2010).
18   “However, ‘this is not invariably so.’” Marketquest Grp., Inv. v. BIC Corp., 316 F. Supp.
19   3d 1234, 1255 (S.D. Cal. 2018).         “Claims or affirmative defenses in a trademark
20   infringement action that lack a sufficient evidentiary basis under the applicable standard of
21   proof, or for which there are only questions of law for the court to resolve, are appropriate
22   for summary resolution.” Id.
23         In order to prevail on a federal common law trademark infringement claim, the party
24   alleging infringement must establish (1) a protected trademark and (2) the use of that
25   trademark by a party accused of infringing on the trademark is likely to cause consumer
26   confusion. Levi Strauss & Co. v. Blue Bell, Inc., 778 F.2d 1352, 1354 (9th Cir. 1985). The
27   first step in claiming infringement requires the plaintiff to show a “valid, protectable
28   trademark.” Brookfield Commc’ns, Inc. v. W. Coast Entm’t Corp., 174 F.3d 1036, 1046

                                                 -10-
                                                                                3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4941 Page 11 of 127



 1   (9th Cir. 1999). “The existence and extent of trademark protection for a particular term
 2   depends on that term’s inherent distinctiveness.” Calista Enters. v. Tenza Trading Ltd., 43
 3   F. Supp. 3d 1099, 1115 (D. Or. 2014) (citing 15 U.S.C. § 1052). “Marks are often classified
 4   in categories of generally increasing distinctiveness; following the classic formulation set
 5   out by Judge Friendly, they may be (1) generic; (2) descriptive; (3) suggestive; (4)
 6   arbitrary; or (5) fanciful.” Two Pesos, Inc. v. Taco Cabana, Inc., 505 U.S. 763, 768 (1992).
 7   “Which category a mark belongs in is a question of fact.” Zobmondo Entm’t, LLC v. Falls
 8   Media, LLC, 602 F.3d 1108, 1113 (9th Cir. 2010).
 9         The plaintiff bears the ultimate burden of proving the claimed trademark is valid and
10   protectable in a trademark infringement action. Zobmondo, 602 F.3d at 1113 (citing Yellow
11   Cab Co. of Sacramento v. Yellow Cab of Elk Grove, Inc., 419 F.3d 925, 927-28 (9th Cir.
12   2005)). However, “federal registration provides ‘prima facie evidence’ of the mark’s
13   validity and entitles the plaintiff to a ‘strong presumption’ that the mark is . . . protectable.”
14   Id.; see also Prudential Ins. Co. of Am. v. Gibraltar Fin. Corp. of Cal., 694 F.2d 1150,
15   1156 (9th Cir. 1982) (“Abandonment of a trademark, being in the nature of forfeiture, must
16   be strictly proved.”); Edwin K. Williams & Co. v. Edwin K. Williams & Co. E., 542 F.2d
17   1053, 1059 (9th. Cir. 1976) (“[A] person who asserts insufficient control [of a trademark]
18   must meet a high burden of proof.”). As to the second step, the Ninth Circuit has indicated
19   that the “Lanham Act’s likelihood of confusion standard is [also] predominantly factual in
20   nature.” Wendt v. Host Int’l, Inc., 125 F.3d 806, 812 (9th Cir. 1997).
21   IV.   DISCUSSION
22         Because this case implicates complex issues of design patent law—including
23   international patent issues, trademark law, and unfair competition law, a brief summary of
24   the protections provided by these areas of law facilitates the Court’s decision on these
25   cross-motions for summary judgment.
26         A patent is defined as “[t]he right to exclude others from making, using, marketing,
27   selling, offering for sale, or importing an invention for a specified period (20 years from
28   the date of filing), granted by the federal government to the inventor if the device or process

                                                   -11-
                                                                                   3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4942 Page 12 of 127



 1   is novel, useful, and nonobvious.” Garner, Brian A., Black’s Law Dictionary, PATENT
 2   (11th ed. 2019) (citing 35 U.S.C. §§ 101-103); see also 35 U.S.C. § 101 (governing
 3   “inventions patentable” and providing “[w]hoever invents or discovers any new and useful
 4   process, machine, manufacture, or composition of matter, or . . . improvement thereof, may
 5   obtain a patent therefor, subject to the conditions and requirements of this title.”). The
 6   Patent Act of 1952, later revised by the Leahy-Smith America Invents Act (“AIA”), created
 7   the USPTO to grant and issue patents, set out the requirements and procedures for securing
 8   a patent, and provides a federal cause of action for patent infringement. 35 U.S.C. § 1, et
 9   seq. The AIA allows the USPTO to grant protection for three types of patents: (1) utility
10   patents, which protect new, nonobvious, and useful products, processes, machines, devices,
11   and/or other inventions and “comprise the vast majority (approximately 95%) of all issued
12   patents,” covered by 35 U.S.C. § 101; (2) “design patents, for nonfunctional features of an
13   item, e.g., its look or shape,” so long as they are new, original, and ornamental designs for
14   an article of manufacture, covered by 35 U.S.C. § 171; and (3) “plant patents, e.g., a
15   sexually reproduced plants or grafted plants,” addressed by 35 U.S.C. § 161.                  R.R.
16   Donnelley & Sons, Co. v. United States, 40 Fed. Cl. 277, 279, n. 6 (1998).
17          While a utility patent covers how a product works, see 35 U.S.C. § 101, a design
18   patent covers how a product looks, see 35 U.S.C. § 171(a). See also L.A. Gear, Inc. v.
19   Thom McAn Shoe Co., 988 F.2d 1117, 1123 (Fed. Cir. 1993) (“A design patent is directed
20   to the appearance of an article of manufacture.”). Thus, unlike a utility patent, “[a] design
21   patent protects the non-functional aspects of an ornamental design as seen as a whole and
22   as shown in the patent.” Amini Innovation Corp. v. Anthony Cal., Inc., 439 F.3d 1365,
23   1370-71 (Fed. Cir. 2006). If a product feature “is essential to the use or purpose of the
24   article . . . or affects the cost or quality,” then, the feature is functional, and therefore, not
25   protected by a design patent. Inwood Labs., Inc. v. Ives Labs., Inc., 456 U.S. 844, 850-51,
26   n. 10 (1982). On the other hand, if a product feature is not essential to the function or
27   purpose of the item, then, the feature is not functional and may be protected. Id. A design
28   patent can cover a portion of an article of manufacture or the entire article, 35 U.S.C. §

                                                   -12-
                                                                                    3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4943 Page 13 of 127



 1   101; however, when examining whether the patent is invalid as functional courts look to
 2   the entire design as opposed to whether one or two features in isolation serve functional
 3   purposes, KeyStone Retaining Wall Sys., Inc. v. Westrock, Inc., 997 F.2d 1444, 1450 (Fed.
 4   Cir. 1993). Although utility and design patents differ in terms of what they protect, the
 5   provisions of the AIA relating to utility patents also “apply to patents for designs, except
 6   as otherwise provided.” 35 U.S.C. § 171(b). Thus, “[d]esign patents are subject to the
 7   same conditions on patentability as utility patents, including the nonobviousness
 8   requirement of 35 U.S.C. § 103.” In re Borden, 90 F.3d 1570, 1574 (Fed. Cir. 1996).
 9         The AIA provides that the following defenses apply to a lawsuit alleging the validity
10   or infringement of a patent: (1) “[n]oninfringement, absence of liability for infringement
11   or unenforceability,” (2) “[i]nvalidity of the patent or any claim in suit on any ground
12   specified in part II as a condition for patentability,” or (3) “[i]nvalidity of the patent or any
13   claim in suit.” 35 U.S.C. § 282(b). “Only in those cases in which invalidity for lack of
14   invention is so clearly apparent on the face of the patent that no testimony can change such
15   conclusion is the court authorized in granting a summary judgment.” Baker v. Webb, 112
16   F. Supp. 394, 394 (D. Or. 1953).
17         Design patents protect the visual impression—or “ornamentality” of a product—
18   by rewarding inventors who develop innovative products with a limited time right to
19   exclude others from making the product. See 35 U.S.C. §§ 101, 154, 171. Trademark law
20   also protects the visual impression of a product but with the consumer (rather than the
21   inventor) in mind: It serves to protect a consumer’s expectation that when they purchase
22   a product with a particular configuration, it comes from a particular source. See generally
23   15 U.S.C. § 1127 (noting that trademarks are used “to indicate the source of the goods”).
24   Thus, while design patent infringement requires the patent holder to show that the accused
25   product is substantially similar to the design patent drawings, trademark infringement
26   requires proving that (1) a particular design has come to identify its source of manufacture
27   (e.g., through the requisite distinctiveness and/or secondary meaning) and (2) a likelihood
28   of consumer confusion. Because the tests differ, a design may find protection under the

                                                   -13-
                                                                                   3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4944 Page 14 of 127



 1   patent laws but not under the trademark laws. Wal-Mart Stores, Inc. v. Samara Bros.,
 2   529 U.S. 205, 214 (2000). Thus, patent law protects an inventor’s right to exclude others
 3   from selling that inventor’s innovative product, see 35 U.S.C. §§ 101, 154, 171, while
 4   “[t]rademark and unfair competition law protect against the misleading use of another’s
 5   mark.” Name.Space, Inc. v. Internet Corp. for Assigned Names & Numbers, 795 F.3d
 6   1124, 1132 (9th Cir. 2015).
 7         As analyzed below, Plaintiff has filed a motion for summary judgment pertaining
 8   to Plaintiff’s claims for relief seeking a declaratory judgment of invalidity and non-
 9   infringement as well as Defendants’ counterclaims for patent and trademark infringement.
10   Defendants, on the other hand, moved for summary judgment as to Plaintiff’s tort claims
11   for unfair competition. As discussed below, the Court grants Plaintiff’s motion for
12   summary judgment; grants in part and denies in part Defendants’ motion for summary
13   judgment; and grants in part and denies in part both parties’ respective motions to seal.
14         A.     Plaintiff’s Motion for Summary Judgment
15         Plaintiff seeks summary judgment as to (1) Plaintiff’s First Claim for Relief for
16   declaratory judgment of non-infringement of the 828 Patent and Defendants’ related First
17   Counterclaim for infringement of the 828 Patent as well as (2) Plaintiff’s Second Claim for
18   Relief seeking a declaratory judgment of non-infringement of the Trademark and
19   Defendants’ related Second Counterclaim, for common law trademark infringement.
20         Plaintiff sets out three grounds for summary judgment: First, Plaintiff argues that the
21   Court should grant summary judgment that Plaintiff’s Lotus Bags do not infringe upon
22   Defendants’ 828 Patent because “numerous differences in the Lotus Bag design confirms
23   that it is ‘plainly dissimilar’ from the ‘828 Patent.” Pltff. Mot. at 11:1-18. Second, the 828
24   Patent is invalid “as functional, obvious over the prior art and indefinite.” Id. at 11:1-22.
25   Third, Defendants’ trademark failed to acquire secondary meaning. Id. at 11:23-25.
26   Defendant responds that the Court should deny Plaintiff’s motion for summary judgment
27   because “Plaintiff does not event attempt to demonstrate the absence of a genuine issue of
28   material fact,” but “[i]nstead, . . . merely argues why fiercely disputed factual issues should

                                                  -14-
                                                                                 3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4945 Page 15 of 127



 1   be resolved in its favor.” Defs. Oppo. at 7:8-17. Defendants also argue that Plaintiff fails
 2   to cite any evidence in support of its argument that the 828 Patent is invalid. Id. at 7:18-
 3   21. In reply, Plaintiff argues that it “analyzes exactly what the law dictates” for granting a
 4   motion for summary judgment—the “relevant distinctions and major differences that,
 5   when viewed as a whole, establish that the Accused Product and the design of the ‘828
 6   Patent are plainly dissimilar.” Pltff. Reply at 2:8-13 (citing Richardson, 597 F.3d at 1295.
 7   Next, Plaintiff argues that Defendants seek to minimalize undisputed dissimilarities
 8   without denying that they exist. Id. at 2:14-17. Plaintiff also contends that Defendants fail
 9   “to provide any direct evidence of secondary meaning required to establish that its
10   ‘TROLLEY BAG’ mark is protectable under common law trademark,” and their “proffered
11   circumstantial evidence . . . simply falls far short of the standard required by the Ninth
12   Circuit to establish secondary meaning.” Id. at 2:22-25. Thus, Plaintiffs argue that
13   “[b]ecause there is no genuine dispute of material fact with regard to [its] common law
14   trademark claim, the Court should grant summary judgment in [its] favor.” Id. at 2:26-27.
15         For the reasons outlined below, the Court grants Plaintiff’s Motion for Summary
16   Judgment concluding (1) the 828 Patent is invalid as (a) functional and (b) obvious; (2)
17   even if the 828 Patent is valid, Plaintiff did not infringe the patent; and (3) Plaintiff did not
18   infringe on Defendants’ trademark. However, the Court denies Plaintiff’s Motion for
19   Summary Judgment with respect to indefiniteness because even though the Court
20   determines that the 828 Patent is invalid it does not do so on the basis of indefiniteness.
21               1.     The 828 Patent is Invalid
22         Once the USPTO grants a design patent for a “new, original and ornamental design,”
23   35 U.S.C. § 171, it will “be presumed valid,” 35 U.S.C. § 282(a), and an alleged infringer
24   must overcome the statutory presumption of validity by clear and convincing evidence, e-
25   Numerate Sols., Inc. v. United States, 149 Fed. Cl. 563, 573 (2020). With a design patent,
26   “the commercial success is attributable to the design, and not to some other factor, such as
27   a better recognized brand name or improved function.” Litton Sys., Inc. v. Whirlpool Corp.,
28   728 F.2d 1423, 1443 (Fed. Cir. 1984). Further, “[a] patented design is defined by the

                                                   -15-
                                                                                   3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4946 Page 16 of 127



 1   drawings in the patent, not just by one feature of the claimed design.” KeyStone, 997 F.2d
 2   at 1450. The Federal Circuit “has recognized that design patents ‘typically are claimed as
 3   shown in the drawings,’ and that claim construction ‘is adapted accordingly.’” Egyptian
 4   Goddess, 543 F.3d at 679. “For that reason,” the Federal Circuit “has not required that the
 5   trial court attempt to provide a detailed verbal description of the claimed design, as is
 6   typically done in the case of utility patents.” Id.
 7         Plaintiff argues that the 828 Patent is invalid because the design of 828 Patent (1) is
 8   dictated by function, (2) obvious, and (3) indefinite. Pltff. Mot. at 24:2-29:21. Defendants
 9   respond that Plaintiff’s reliance only on its invalidity contentions renders its motion for
10   summary judgment of invalidity facially insufficient because those contentions are not
11   evidence. Def. Oppo. at 14:1-11. Further, because patents are presumed valid, they argue
12   they are under no obligation to present affirmative evidence to rebut Plaintiff’s contention
13   the patents-in-suit are invalid unless Plaintiff introduces facts that could lead a reasonable
14   factfinder to conclude that Plaintiff can prove invalidity. Id. at 14:12-19. In reply, Plaintiff
15   argues it was not required to list every combination of prior art in support of its obviousness
16   contention, and its Motion shows there are no genuine disputes of material fact with regard
17   to the obviousness of the 828 Patent, which invalidates the patent. Pltff. Reply at 8:1-20.
18         After considering the parties briefs, the record in this case, and the applicable law,
19   the Court finds the 828 Patent’s design is dictated by function and obvious.
20                       a.    The design of the 828 Patent is dictated by function
21         Plaintiff argues that “[t]he entire patented design of the ‘828 Patent is dictated by
22   function.” Pltff. Mot. at 24:24-25. Defendant responds that (1) even if a design component
23   has functional uses, the inquiry is whether a design is primarily functional or primarily
24   ornamental; (2) functionality is a question of fact; and (3) Plaintiff has failed to introduce
25   facts that would mandate a reasonable fact-finder to conclude the 828 Patent is invalid as
26   purely functional. Def. Oppo. at 15:3-13. Defendants also argue that just because the size
27   of the trolley carts was considered when determining the size of the trolley bags, that does
28   not mean that the size of the bags was defined by the size of the carts, especially considering

                                                  -16-
                                                                                  3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4947 Page 17 of 127



 1   that the bags do not fit in all carts. Id. at 1-7. As such, the bags are not primarily functional.
 2   Id. In its reply brief, Plaintiff argues its analysis addressed not only the size of but also the
 3   shape of the bags with regard to alternative design. Pltff. Reply at 6:5-9.
 4          “[I]f the design claimed in a design patent is dictated solely by the function of the
 5   article of manufacture, the patent is invalid because the design is not ornamental.” Best
 6   Lock Corp. v. Ilco Unican Corp., 94 F.3d 1563, 1566 (Fed. Cir. 1996); see also Bonito
 7   Boats, Inc. v. Thunder Craft Boats, Inc., 489 U.S. 141, 148 (1989) (“To qualify for
 8   protection, a design must present an aesthetically pleasing appearance that is not dictated
 9   by function alone, and must satisfy the other criteria of patentability.”); see also Sport
10   Dimension, Inc. v. Coleman Co., 820 F.3d 1316, 1320 (Fed. Cir. 2016) (“[A] design patent
11   cannot claim a purely functional design—a design patent is invalid if its overall appearance
12   is ‘dictated by’ its function”). Thus, invalidity due to functionality creates an affirmative
13   defense to a claim of design patent infringement, which must be proven by clear and
14   convincing evidence. L.A. Gear, 988 F.2d at 1123. Even though a design patent’s design
15   may not be “dictated by solely by function,” the design may contain both functional and
16   ornamental elements, but only if the scope of the design patent claim is “limited to the
17   ornamental aspects of the design.” Sport Dimension, 820 F.3d at 1320. As a result, in case
18   where a claimed design patent has both functional and non-functional elements, the court
19   must construe the claim by identifying the non-functional (e.g., ornamental) aspects of the
20   design as shown in the patent. Id.; see also Application of Carletti, 328 F.2d 1020, 1022
21   (C.C.P.A. 1964) (“It is clear that appellants never invented an ‘ornamental design’” as
22   “[t]he appearance of appellants’ gasket seems as much dictated by functional
23   considerations as is the appearance of a piece of rope, which, too, has ribs and grooves
24   nicely arranged.”). Consequently, in this case, even if Defendant’s product has a functional
25   aspect, it will not necessarily invalidate the validity of the 828 Patent.
26          In determining whether a design claim is dictated by function, courts consider
27   whether (1) “the protected design represents the best design,” (2) “alternative designs
28   would adversely affect the utility of the specific article,” (3) “there are any concomitant

                                                   -17-
                                                                                    3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4948 Page 18 of 127



 1   utility patents,” (4) “the advertising touts particular features of the design as having specific
 2   utility,” and (5) “there are any elements in the design or an overall appearance clearly not
 3   dictated by function.” Sport Dimension, 820 F.3d at 1322. Here, the Court concludes that
 4   (1) the 828 Patent design represents the best design; (2) alternative designs would adversely
 5   affect the utility of the specific article; (3) there are concomitant utility patents; (4)
 6   Defendants’ advertisements tout particular features of the design as having specific utility;
 7   and (5) the color and logo of the bag appear to be the only elements in the design or overall
 8   appearance clearly not dictated by function. These factors weigh in favor of a conclusion
 9   that Defendants’ trolley bags are dictated by function. Specifically, the size, handles, poles,
10   and mesh all appear to serve primarily functional rather than ornamental purposes.
11                              i.     Best Design and Alternative Designs
12         “When there are several ways to achieve the function of an article of manufacture,
13   the design of the article is more likely to serve a primarily ornamental purpose.” PHG
14   Techs., LLC v. St. John Companies, Inc., 469 F.3d 1361, 1367 (Fed. Cir. 2006); see also
15   L.A. Gear, 988 F.2d at 1123 (noting that even though certain elements of a design patent
16   covering an athletic sneaker had a utilitarian purpose, the district court correctly found the
17   claimed design to be valid because a number of other athletic shoe designs achieved the
18   same function as the claimed design in different ways). “[I]f other designs could produce
19   the same or similar functional capabilities, the design of the article in question is likely
20   ornamental, not functional.” Rosco, Inc. v. Mirror Lite Co., 304 F.3d 1373, 1378 (Fed. Cir.
21   2002). For instance, in Gorham, the Supreme Court determined that scroll work on the
22   handle portion of flatware was purely ornamental, 81 U.S. at 528, where other flatware
23   accomplished the same function. If a design contains both functional and ornamental
24   features, the patent owner must show the perceived similarity between a patented and
25   accused product is based on only the ornamental features of a design. OddzOn, 122 F.3d
26   at 1405. Perceived similarities based on functional features, however, is irrelevant. See id.
27         Plaintiff argues that the first and second factors, pertaining to the best and alternative
28   designs, favor a finding that Defendants’ 828 Patent design is dictated by function because

                                                   -18-
                                                                                   3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4949 Page 19 of 127



 1   “the patented design clearly represents the best design of any proposed alternatives, and
 2   those alternative designs adversely affect the functionality of the patented design.” Pltff.
 3   Mot. at 26:3-5. Defendants responds that there are alternative designs that can accomplish
 4   the same functional purpose as the 828 Patent’s bag proportions, such as by choosing to
 5   use two bags instead of one, which establishes “the claimed design is not ‘dictated’ by
 6   function.” Def. Oppo. at 16:18-17:3 (citing Sport Dimension, 820 F.3d at 1320). Plaintiff
 7   responds that “changing the bag design by making it larger is not a true alternative because
 8   it would adversely affect the utility of the specified article.” Pltff. Reply at 6:12-16.
 9         In Best Lock Corp. v. Ilco Unican Corp., the Federal Circuit affirmed the district
10   court’s determination that a design patent for the blade of a key was invalid as functional.
11   94 F.3d at 1567. In that case, the parties agreed that “the key blade must be designed as
12   shown in order to perform its intended function—to fit into its correspondence lock’s
13   keyway.” Id. at 1566. The parties noted that “[a]n attempt to create a key blade with a
14   different design would necessarily fail because no alternative blank key blade would fit
15   into the corresponding key lock.” Id. Due to the fact that no alternative design would
16   allow the underlying article to perform its intended function (e.g., fit into the key lock), the
17   Federal Circuit determined the district court did not clearly err by finding that the claimed
18   key blade design was dictated by function, and therefore, invalid. Id. at 1567.
19         Plaintiff argues that like the key blade in Best Lock, the 828 Patent was designed
20   specifically to perform its intended function of fitting into a shopping cart. Pltff. Reply at
21   6:16-24. Further, as Plaintiff notes, “TB UK’s alleged alternative designs consist of the
22   same basic shape and are thus not true alternatives” by merely proposing varying sizes. Id.
23   at 7:4-7. The Court agrees that like the key blade at issue in Best Lock, an alternative
24   design—such as differently shaped bags in triangles or circles, would directly impact the
25   functionality of the bags by requiring more or less bags, preventing ease of use of the
26   horizontal poles, or making the bags more difficult to carry. Thus, Trolley Bags’ products
27   seems equally as functional as the key blade found invalid for functionality in Best Lock.
28         Both parties relied on the case of Ethicon Endo-Surgery, Inc. v. Covidien, Inc. in

                                                  -19-
                                                                                  3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4950 Page 20 of 127



 1   their briefing as support for why the alternative design factor weighed in favor or against
 2   this Court finding the 828 Patent invalid for functionality. 796 F.3d 1312, 1328 (Fed. Cir.
 3   2015).   In Ethicon, the Federal Circuit emphasized that just because the article of
 4   manufacture claimed within a design patent has a functional purpose does not mean the
 5   entire design is per se invalid as functional. 796 F.3d at 1314-15. The Ethicon plaintiffs
 6   sued the defendants for alleged infringement of several utility and design patents related to
 7   “surgical instruments that use ultrasonic energy created by blades vibrating at high
 8   frequencies to cut tissue and blood vessels.” Id. On appeal, the Federal Circuit, inter alia,
 9   construed the patent and reversed the district court’s grant of invalidity based on
10   functionality. Id. at 1315. It held that “[t]he district court evaluated the claimed designs
11   using too high a level of abstraction, focusing on the unclaimed utilitarian aspects of the
12   underlying article instead of the claimed ornamental designs of that underlying article.” Id.
13         In evaluating whether the claimed design was invalid as functional, the Ethicon court
14   examined the district court’s analysis of alternative designs. Id. at 1331. The patent holder
15   had “presented evidence of alternative ornamental designs that could provide the same or
16   similar functionality of the underlying ultrasonic shears,” attempting to show the design
17   was not invalid as functional. Id. However, the Federal Circuit concluded that first, the
18   district court’s determination of invalidity due to functionality on the basis “that the
19   [alternative] designs did not work ‘equally well’ apparently describe[d] the preferences of
20   surgeons for certain basic design concepts, not differences in functionality of the
21   differently designed ultrasonic shears.” Id. Thus, the decision warranted reversal because
22   preferences were an inappropriate consideration under the functionality analysis. Id.
23   “Second, to be considered an alternative, the alternative design must simply provide ‘the
24   same or similar functional capabilities.’” Id. This is because “to be patentable, there cannot
25   only be one ‘possible [ornamental] form of the article that could perform its function.” Id.
26         In Ethicon, there was “no dispute that the underlying ultrasonic shears could still
27   function in the same manner with [an alternative design, i.e.,] a differently-shaped open
28   trigger, activation button, and torque knob, and different relative locations of the trigger,

                                                 -20-
                                                                                3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4951 Page 21 of 127



 1   button, and torque knob.” Ethicon, 796 F.3d at 1331. Thus, those aspects of the patent
 2   were functional; however, the Federal Circuit held that the claim could be construed to
 3   eliminate the functional aspects of the design while still permitting coverage of the design’s
 4   ornamental aspects. Id. at 1334. It reasoned that the functionality of certain elements did
 5   not preclude those elements from having protectable ornamentation because the
 6   ornamental designs were, albeit functional, were not “essential to the use of the article
 7   itself.” Id. (noting that “the district court ignored the facts that the trigger has a particular
 8   curved design, the torque knob has a particular flat-front shape, and the activation button
 9   has a particular rounded appearance”). In validating the patent, the court reiterated that the
10   defendant had “not shown by clear and convincing evidence that no [alternative] designs .
11   . . allow the underlying ultrasonic shears to perform their intended function.” Id.
12          Here, the only evidence of alternative designs Defendants have presented is that their
13   bags could be smaller or bigger such that they would or would not fill the entire cart. Def.
14   Opp. at 16-18:17-11. However, they would still be in the same shape [e.g., rectangular]
15   and structure. Id. The Court finds that unlike Ethicon, where even though certain surgeons
16   preferred one design, alternative designs were available to accomplish the same purpose,
17   796 F.3d at 1331, here, alternative designs might impact the utility and cost of the trolley
18   bags. For instance, if the bags were smaller in size, they would not be able to carry as
19   many products, which would directly impact their utility. However, smaller bags might
20   also be lighter, easier to carry, and cheaper in price. See, e.g., Inwood Labs., Inc. v. Ives
21   Labs., Inc., 456 U.S. 844, 850-51, n.10 (1982) (providing that if a product feature “is
22   essential to the use or purpose of the article . . . or affects the cost or quality of the article,”
23   then, the feature is functional, and therefore, not protected by a design patent).
24   Alternatively, if Defendants increased the size of the bags, less bags would fit in one cart,
25   each individual bag would be heavier, and the bags might cost more. Id. It appears that
26   Defendants’ one proposed alternative design (e.g., varying the size) directly impacts the
27   utility of the 828 Patent, favoring a finding of functionality. See id.
28          Both parties discuss the cases of OddzOn Prod., Inc. v. Just Toys, Inc., 122 F.3d

                                                    -21-
                                                                                     3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4952 Page 22 of 127



 1   1396 (Fed. Cir. 1997) and Lee v. Dayton-Hudson Corp., 838 F.2d 1186 (Fed. Cir. 1988).
 2   Plaintiff pointed to these cases to support its argument that “the basic configuration or
 3   structure of a design is unprotected even if alternative designs could be created using the
 4   same concept or elements.” Pltff. Mot. at 25:21-26:2. Defendant argues that both cases
 5   are pre-Egyptian Goddess case, and there, the courts “considered whether a court should
 6   use claim construction to eliminate functional elements from the scope of a design patent.”
 7   Def. Oppo. at 17 12-19. The court finds only OddzOn helpful and relevant in analyzing
 8   the patent dispute in this case.
 9         In OddzOn, the Federal Circuit affirmed the decision of the Northern District of
10   California in granting the defendant’s motion for summary judgment on the plaintiff’s
11   design patent claim, trade dress claim, and state-law unfair competition claims. 122 F.3d
12   at 1409.    OddzOn involved a plaintiff toy manufacturer who brought suit against
13   competitors, alleging design patent infringement, trade dress infringement, and state-law
14   unfair competition. Id. at 1400. The plaintiff sold a popular Vortex tossing ball, which
15   consisted of “a foam football-shaped ball with a tail and fin structure” and had been subject
16   to the plaintiff’s design patent, the 001 Patent. Id. at 1399. The defendant, also a toy and
17   sporting goods company, sold a competing line of “Ultra Pass” balls, which the plaintiff
18   alleged infringed on its patent. Id. at 1399-1400. Both products are shown below:
19              Plaintiff’s Vortex Ball:                 Defendant’s Ultra Pass Ball:

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24   Id. The plaintiff claimed that the Ultra Pass balls were likely to be confused with the Vortex
25   packaging. Id. at 1400. In response, the defendant claimed that the plaintiff’s patent was
26   invalid. Id. On cross-motions for summary judgment, like those at issue in this case, “the
27   district court held that the patent was not shown to be invalid and was not infringed.” Id.
28         The court held that “[b]ecause the presence of a tailshaft and fins has been shown to

                                                 -22-
                                                                                3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4953 Page 23 of 127



 1   be necessary to have a ball with similar aerodynamic stability to OddzOn’s commercial
 2   embodiment, such general features are functional and thus not protectable as such.” Id. In
 3   construing the claim on the patent in suit, the district court had “carefully noted the
 4   ornamental features that produced the overall ‘rocket-like’ appearance of the design.” Id.
 5   at 1405 (quoting Durling v. Spectrum Furniture Co., 101 F.3d 100, 104 (Fed. Cir. 1996)
 6   (“A proper interpretation of [the patentee’s] claimed design focuses on the visual
 7   impression it creates.”). The plaintiff argued “that the various features identified by survey
 8   respondents, including the ends of the fins, the football shape, the rocket-like tail, and a
 9   ball in front with triangular fins in back, are ornamental ‘because they are not required for
10   a tossing ball.’” Id. at 1406. The court, however, noted that that while the plaintiff
11   correctly pointed that there were many potential alternative designs for “tossing balls,” it
12   was “undisputed that the ball in question is specifically designed to be thrown like a
13   football, yet travel farther than a traditional foam football.” Id. “It is the football shape
14   combined with fins on a tail that give the design these functional qualities.” Id. “The tail
15   and fins on OddzOn’s design add stability in the same manner as do the tail and fins found
16   on darts or rockets,” and as such, “are no less functional simply because ‘tossing balls’ can
17   be designed without them.” Id. However, “[those] functional characteristics do not
18   invalidate the design patent, but merely limit the scope of the protected subject matter.”
19   Id. That did not mean that the design as a whole was unprotectable, so the Court agreed
20   with the lower court’s claim construction, which limited “the scope of the patent to its
21   overall ornamental visual impression, rather than to the broader general design concept of
22   a rocket-like tossing ball.” Id. at 1405. “Because no reasonable jury could conclude other
23   than that the patented design is ornamental, novel, and nonobvious,” the court affirmed
24   “the district court’s judgment that the patent was not proved invalid.” Id.
25         In the present case, unlike the invalid claims for the Vortex Ball in OddzOn, which
26   were necessary to have a ball with aerodynamic stability, 122 F.3d at 1404, the claimed
27   features of the 828 Patent, which include horizontal poles, handles, and mesh, are not
28   necessary to carry groceries. On the contrary, any bag without those features could still

                                                 -23-
                                                                                3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4954 Page 24 of 127



 1   carry groceries. However, Defendants’ trolley bags do not have an “overall appearance”
 2   or “visual impression” like the Vortex Ball, and if the poles, handles, and mesh are
 3   removed, the visual impression would be more or less the same (as the product would still
 4   be a bag); however, the purpose of the bags (e.g., fitting in a shopping while standing
 5   upright) would not be accomplished without the horizontal poles as they would likely
 6   collapse or fold onto themselves into the cart. Thus, while the OddzOn court found the
 7   design patent for the Vortex ball valid, despite some functional aspects, this Court finds
 8   this case distinguishable given the lack of an overall visual impression in conjunction with
 9   the functionality of the claimed features.
10         Although the Court defers to the drawings in construing the 828 Patent,2 the Court
11   describes the claim at issue as a foldable, fabric bag with a mesh bottom, two handles at
12   the top, and no pockets. Compare Compl. at 14 (describing the 828 Patent claim, filed on
13   November 18, 2014, as a claim for an “ornamental design for a foldable bag”) with First
14   Amend. Ans. at 21 (describing Plaintiff’s 912 Patent, filed on July 3, 2017, as for “[a]n
15   ornamental design for a trolley bag, as shown and described”). Plaintiff argues that the
16   “size of the bags was chosen based on ‘two considerations: one was the shopping trolley,
17   and the other was also practical usage, as in too large or too small.” Pltff. Mot. at 24:26-
18   25:1. Plaintiff points out that Trolley Bags’ expert “proposed alternative designs such as
19   larger bags or bags with more shallow dimensions,” but “such designs are certainly not the
20   best design” and would “adversely affect the functionality of the patented design.” Id. at
21   25:21-24. As discussed, the only alternative design mentioned by Plaintiff in briefing is
22   having more or less bags, varying in size. Less bags would make the bags heavier and
23   more difficult to carry. More bags would make each bag lighter but would also limit the
24   size and quantity of items that each bag can hold. As a result, the Court finds that the size
25   of both bags (1) is roughly equivalent and (2) does not weigh strongly in favor of it being
26   the best design, unless Plaintiff’s reference to size is limited to the width of the bags (e.g.,
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     2
            Both parties in this case agree that the figures should govern the court’s construction
28   of the 828 Patent. See Pltff. Mot. at 8:10-11; Def. Oppo. at 17:23-24.
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 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4955 Page 25 of 127



 1   so they fit in a shopping cart) rather than the depth. That being said, the factor of alternative
 2   designs appears to directly impact the functionality of the bag system, which weighs in
 3   favor of a finding of invalidity.
 4                              ii.      Concomitant Utility Patents
 5         The third factor analyzes whether the design patent holder possesses concomitant
 6   utility patents. “Concomitant” is defined as “[a]ccompanying; incidental.” Garner, Brian
 7   A., Black’s Law Dictionary, (11th ed. 2019). Thus, courts, when examining the third
 8   factor, examine whether the party claiming infringement has a “co-pending” or incidental
 9   utility patent. See, e.g., Skechers U.S.A., Inc. v. Eliya, Inc., No. CV1602820SJOAGRX,
10   2017 WL 3449594, at *5 (C.D. Cal. Mar. 14, 2017) (finding factor three weighed against
11   a finding of functionality because the “the defendant did “not establish that the
12   other utility patent references are ‘co-pending,’ as they appear to have been issued before
13   the Asserted Patents were issued”); see also Ethicon, 796 F.3d at 1332 (in evaluating
14   functionality for its invalidity analysis, a district court found that defendant “applied
15   for utility patents that included figures similar to those of the claimed designs”). “An
16   expired utility patent has vital significance . . . for a utility patent is strong evidence that
17   the features therein claimed are functional.” TrafFix Devices, Inc. v. Mktg. Displays, Inc.,
18   532 U.S. 23, 23 (2001).
19         Plaintiff argues that the presence of concomitant utility patents, including an Irish
20   Patent Grant to Paul Doyle “confirms the functional nature of the patented design.” Pltff.
21   Mot. at 26:6-8. Defendants respond that Plaintiff’s argument ignores that the USPTO
22   “considered the Doyle reference during prosecution of the ‘828 Patent and necessarily
23   concluded that it did not establish the purely functional nature of the ‘828 Patent when it
24   issued it.” Def. Oppo. at 18:7-19. Defendants further contend that even if the Doyle Patent
25   is a concomitant utility patent, Sport Dimension 820 F.3d 1316 shows that its mere
26   existence does not render the 828 Patent invalid. Id. at 18:20-27. Plaintiff responds by
27   pointing out that Defendants “do not even attempt to argue that various design elements
28   are not specifically claimed in Doyle,” but instead, argue the Doyle Patent “should not be

                                                   -25-
                                                                                   3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4956 Page 26 of 127



 1   considered simply because it was disclosed by the inventor during prosecution of the 828
 2   Patent.” Pltff. Reply at 7:8-13. Plaintiff also argues the Doyle Patent describes every
 3   material element of the 828 Patent as functional, meaning Defendants cannot overcome the
 4   evidence of functionality of the material elements claimed in their patent. Id. at 7:13-17.
 5         The plaintiff in Sport Dimension, Inc. v. Coleman Co., like Plaintiff here, filed a
 6   declaratory judgment action in the Central District of California seeking a judgment that it
 7   did not infringe on the defendant’s patent, and that the defendant’s patent was invalid. 820
 8   F.3d at 1318-19. On appeal, the Federal Circuit held, inter alia, that the district court erred
 9   by failing to consider how functional elements contributed to the design’s overall
10   ornamentation. Id. The court noted that the district court had found that the defendant had
11   “filed a co-pending utility patent disclosing the design patent’s armbands and torso tapering
12   and touting the utility of those features.” Id. at 1322. The Federal Circuit “did not disagree
13   with those findings.” Id. However, it disagreed with the district court’s conclusion that
14   the armbands and tapered side torso served a functional purpose. Id. The court emphasized
15   that while in OddzOn, Richardson, and Ethicon, the court “construed design patent claims
16   so as to assist a finder of fact in distinguishing between functional and ornamental
17   features,” it did not “eliminate a structural element from the claimed ornamental design
18   even though that element served a functional purpose.” Id. at 1321. The district court in
19   Sport Dimension, however, had eliminated whole aspects of the claimed design when
20   construing the claim at issue by excluding the left and right armband and the torso side
21   tapering. Id. Thus, the case was remanded not because its ultimate conclusion that the
22   design functional was incorrect, but rather, because the district court had improperly
23   construed the claim. Id. As a result, Defendants’ reliance on this case for the proposition
24   that a concomitant utility patent does not render the 828 Patent invalid as functional is
25   inapposite. Sport Dimension does not diminish the important of concomitant utility
26   patents, especially because the Federal Circuit did not disagree with the district court’s
27   finding regarding the concomitant utility patent. Id. at 1322.
28         In this case, Irish Patent Application No. S2009/0718 filed on September 18, 2009

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 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4957 Page 27 of 127



 1   by Paul Doyle is for a “re-usable bag system” (the “Doyle Patent”). See Ex. G to Pltff.
 2   Mot., ECF No. 83-9 at 2. The Doyle Patent, as shown, below, has drawings that appear to
 3   be “practically the same” as the 828 Patent:
 4                   Doyle Patent:                                     828 Patent:

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13   Id. at 17, 23. The Doyle Patent is expired but shows its “current proprietor” as “Trolley
14   Bags Ltd.” Id. at 25. The record in this case confirms that Trolley Bags’ own website
15   states that “Trolley Bags UK Ltd is the global distributor of the patented Trolley Bag-
16   Shopping Bag System and associated products,” and that “Trolley Bags™ Shopping Bags
17   were invented in Ireland by Paul Doyle in 2010 following many months of design and
18   refinement.” Declaration of Cody R. LeJeune in Support of Pltff. Mot. (“LeJeune Decl.”),
19   ECF No. 83-2 at 2:20-21; see also Ex. H to Pltff. Mot., ECF No. 83-10 at 5. In sum, the
20   Doyle Patent is Trolley Bags’ own patent in Ireland. As a result, even though the Doyle
21   Patent is expired, if it was a utility patent, it would qualify as a co-pending utility patent by
22   the same owner, which would provide strong evidence of functionality for the 828 Patent.
23   TrafFix, 532 U.S. at 23. However, the Doyle Patent does not technically qualify as a
24   concomitant utility patent given that Ireland does not have a “utility patent” category. See,
25   e.g., Audrey Horton, Recent Developments in European Intellectual Property
26   Harmonization, Intell. Prop. L. Newsl., WINTER 1998, at 17, 19 (noting “[t]he concept of
27   a utility model is not known at all in the UK, Sweden or Luxembourg,” but that “12 member
28   states provide very varied forms of protection of the ‘utility model’ type, such as the ‘short

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                                                                                   3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4958 Page 28 of 127



 1   term patent’ (Ireland)”). While the Doyle Patent may qualify as a utility patent, the Court
 2   does not venture to make any such determination given the Doyle Patent is not before the
 3   Court (except to the extent that the 828 Patent is Trolley Bags’ own application for a patent
 4   for the same product protected by the Doyle Patent but within the United States).
 5         In discussing obviousness, the parties refer to U.S. Patent Number 5,046,860 to
 6   Timothy P. Brennan (the “Brennan Patent”), filed on August 2, 1990. Pltff. Mot. at 27:17-
 7   28. The Brennan Patent is, in fact, a utility patent because it is not preceded by a “D,” and
 8   according to the USPTO website, only “[n]on-utility patents have prefixes.”               See
 9   http://patft.uspto.gov/netahtml/PTO/help/helpflds.    htm#     Current_US_Class/SubClass
10   (noting that “[f]or example, design patent #123,456 is actually D123,456.”). Although
11   neither party attached the Brennan Patent documents, such documents are publicly
12   accessible,3 and the Court takes judicial notice of the Brennan Patent because it finds it
13   relevant to the inquiry into concomitant utility patents. See, e.g., Khoja v. Orexigen
14   Therapeutics, Inc., 899 F.3d 988, 1001 (9th Cir. 2018), cert. denied sub nom. Hagan v.
15   Khoja, 139 S. Ct. 2615 (2019) (noting that “[c]ourts may take judicial notice of some public
16   records, including the records and reports of administrative bodies”); see also GeoVector
17   Corp. v. Samsung Elecs. Co., 234 F.Supp.3d 1009, 1016 n.2 (N.D. Cal. 2017)
18   (taking judicial notice of Korean patent application); FED. R. EVID. 201. Here, the Brennan
19   Patent describes a “reusable shopping bag assemblies . . . so that a shopper does not have
20   to use disposable plastic or paper shopping bags.” Id. The Brennan Patent is a utility
21   patent; however, it is not a co-pending utility patent filed by the same owner of the design
22   patent at issue in this case (e.g., Trolley Bags).
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24   3
           The Brennan Patent may be accessed through the USPTO website at the following
25   link: https://pdfpiw.uspto.gov/.piw?PageNum=0&docid=05046860&IDKey=0790AE6A
     DF23&HomeUrl=http%3A%2F%2Fpatft.uspto.gov%2Fnetacgi%2Fnph-Parser%3FSect1
26   %25%203DPTO1%2526Sect2%3DHIT%20OFF%2526d%3DPALL%2526p%3D1%252
27   6u%3D%25%2025252Fnetahtml%25252FPTO%25252Fsrchnum.%20htm%2526r%3D1
     %2526f%3DG%2526l%3D50%2526s1%3D5%2C046%2C860.PN.%2526OS%3DPN%2
28   F5%2C046%2C860%2526RS%3DPN%2F5%2C046%2C860
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 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4959 Page 29 of 127



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10         This Court has not found a case indicating that a concomitant utility patent must be
11   filed by the same owner for the same product as opposed to a co-pending utility patent for
12   a similar product. But see Perry J. Saidman, Functionality and Design Patent Validity and
13   Infringement, 91 J. Pat. & Trademark Off. Soc’y 313, 324 (2009) (noting that
14   “concomitant utility patents” involve “obtaining a design patent and a utility patent on
15   the same product to respectively protect ornamental and functional features”). Because it
16   is unclear whether a co-pending utility patent must be filed by the same owner of the design
17   patent at issue, and the Brennan Patent, unlike the Doyle Patent, is not owned by
18   Defendants, the Court finds this factor neither weighs in favor of nor against Defendants.
19                             iii.   Advertisement of Functional Elements
20         Plaintiff argues that Defendants’ “advertisements promote the utilitarian and
21   functional benefits of the patented design, thus confirming that the ‘828 Patent is invalid
22   as functional.” Pltff. Mot. at 27:6-8. Defendants respond that (1) “even if advertisements
23   promoted the utility of certain elements of the claimed design, that does not render the
24   claimed design invalid as ‘purely functional,’” and (2) Plaintiff’s arguments as to
25   advertisements are limited to attorney arguments rather than actual evidence. Def. Oppo.
26   at 19:1-12. Plaintiff counters by noting that Defendants’ Opposition does not dispute the
27   advertisements tout specific functional features of the bags, and thus, those advertisements
28   confirm the design of the 828 Patent is dictated by function. Pltff. Reply at 7:18-26.
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                                                                               3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4960 Page 30 of 127



 1         In this case, “the advertising touts particular features of the design as having specific
 2   utility.” Sport Dimension, 820 F.3d at 1322. The advertisements for Defendants’ bags
 3   describe them as “[a] complete system of 4 different sized reusable bags attached together
 4   with Velcro that are used to pack the grocery shopping right at checkout as your goods are
 5   scanned.” Ex. H to Pltff. Mot., ECF No. 83-10 at 2. They elaborate that “[t]he 4 colour
 6   coded bags simply fan out and spread across the top of any supermarket trolley, allowing
 7   you to pack the way you want.” Id. The advertisements also instruct users to “[u]se the
 8   big bag at one end for the bulkier, lighter items and smaller, heavier items in the small bag
 9   at the front.” Id. While these advertisements mention design or ornamental aspects of the
10   bags, such as the color, they undeniably tout the utility of the bags. Plaintiff’s current
11   website also touts that “[e]ach durable bag holds up to 15kg and are designed to make your
12   shopping trip easier and more convenient.” https://trolleybags.com/trolley-bags-product-
13   ranges/trolley-bags-original/. It boasts that “[t]he simple system can halve the time at the
14   checkout as packing is quicker and easier without the hassle of holding bags open.” Id.
15   Plaintiff’s expert, Tim Fletcher, notes that Defendants’ website shows that the differently
16   sized bags are advertised as fitting into differently sized carts from different stores:
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25   Ex. D to Pltff. Mot., ECF No. 83-6 at 27; see also https://packingsorted.com/what-are-
26   they/. Mr. Fletcher also measured the dimensions of each bag, compared them to the
27   dimensions of shopping carts, and found them to be as follows:
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 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4961 Page 31 of 127



 1                                        828 Design                 Dimensions of Cart
                                   Width Depth Height              Width Depth Height
 2    Bag 1 – Back of Cart                           20 1/4”
                                   20 /8”
                                     1
                                            9 /2”
                                              1
                                                                    21”      35 ¾”     19 1/2”
 3    (Widest & Tallest)
      Bag 2                        19 3/8”    8 3/8”     19 3/4”    N/a        N/a       N/a
 4    Bag 3                        16 1/8”    6 5/8”     17 5/8”    N/a        N/a       N/a
 5    Bag 4 – Front of Cart                               16”
                                   13 7/8”    6 5/8”               14 ¾”               15 7/8”
      (Narrowest & Shortest)
 6    Total:                         N/a     31 1/8”      N/a       N/a        N/a       N/a
 7   Ex. D to Pltff. Mot., ECF No. 83-6 at 22-29.
 8         Based on this information, Mr. Fletcher concluded “the Depths of the Defendants’
 9   bags are functional, dictated by function, as they were designed to fit the capacity of a
10   standard sized shopping cart.” Ex. D to Pltff. Mot., ECF No. 83-6 at 30. However, the
11   Court notes that an examination of the actual 828 Patent itself reveals that the size and
12   dimensions of the bags are not mentioned in the patent, and as such, are not protectable
13   features. See Ex. A to Compl. Rather, the 828 Patent limits its protection to “[t]he
14   ornamental design for a foldable bag,” not a bag system. See id. Thus, the Court construes
15   the claim as limited to the design of one rectangular bag of no particular height or
16   dimension, with opposing parallel poles and handles attached to the top of the bag, as
17   shown in the 828 Patent drawings. KeyStone, 997 F.3d at 1450; OddzOn, 122 F.3d at 1405;
18   Egyptian Goddess, 543 F.3d at 679. However, the advertisements reference the durability
19   of the bags, the fact that they can expedite checkout time, and that they ease “the hassle of
20   holding bags open.”      These advertisements emphasize purely functional rather than
21   ornamental features. Further, the advertisements tout how the bags fan out and spread
22   across the cart, which is due to the horizontal poles. Thus, even though the dimensions
23   focused on by Mr. Fletcher of the bag are not part of the claimed design, the Court
24   nonetheless agrees that Defendants’ advertisements of their trolley bags tout the functional
25   features of the design. As a result, this factor weighs in favor of a finding of functionality.
26                       b.     The 828 Patent would have been obvious at the time of invention

27         Section 103 of the AIA specifies as a condition for patentability that the subject
28   matter be non-obvious: “A patent for a claimed invention may not be obtained . . . if the

                                                  -31-
                                                                                 3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4962 Page 32 of 127



 1   differences between the claimed invention and the prior art are such that the claimed
 2   invention as a whole would have been obvious before the effective filing date of the
 3   claimed invention to a person having ordinary skill in the art to which the claimed invention
 4   pertains.” 35 U.S.C. § 1034; see also Bos. Sci. SciMed, Inc. v. Iancu, 811 F. App’x 618,
 5   622 (Fed. Cir. 2020) (setting forth the analysis for evaluating whether a patent claim is
 6   invalid as obvious). “Prior art” is defined as “[k]nowledge that is publicly known, used by
 7   others, or available on the date of invention to a person of ordinary skill in an art, including
 8   what would be obvious from that knowledge.” Garner, Brian A., Black’s Law Dictionary,
 9   ART (11th ed. 2019). Prior art includes information (1) “in applications for previously

10   patented inventions”; (2) “published more than one year before a patent application is

11   filed”; and (3) “in other patent applications and inventor’s certificates filed more than a

12   year before the application is filed.” Id.

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            Design patents, which are addressed by 35 U.S.C. § 171, are subject to the
15   requirements of (1) 35 U.S.C. § 102, which pertains to the requirement for novelty and
     addresses whether an invention is anticipated by prior art, and (2) 35 U.S.C. § 103, which
16   pertains to obviousness and is addressed above. Int’l Seaway, 589 F.3d at 1238. Section
17   102 of the AIA sets forth the novelty requirement and requires that “[a] person shall be
     entitled to a patent unless” the claimed item for which the person seeks a patent was (1)
18   prior art or (2) described in a previous patent issued that named another inventor. 35 U.S.C.
19   § 102(a)-(c). In the context of design patents, the Federal Circuit examines the novelty of
     designs by determining whether the design patent-in-suit is anticipated under the
20   “substantially the same test” applied for infringement of design patents in Gorham. Janice
21   Mueller and Daniel Harris Brean, Overcoming the "Impossible Issue" of Nonobviousness
     in Design Patents, 99 Ky. L.J. 419, 540-41 (2011). Under this test for anticipation, courts
22   inquire into whether, in the eye of an ordinary observer, two designs are “substantially the
23   same” as opposed to creating a new impression. 69 C.J.S. Patents § 113; see also Door-
     Master Corp. v. Yorktowne, Inc., 256 F.3d 1308, 1313 (Fed. Cir. 2001) (“For infringement
24   or anticipation to be found the two designs must be substantially the same.”). The test for
25   obviousness under section 103, however, differs in that it analyzes whether the claimed
     design would have been obvious to a designer of ordinary skill in the art by examining
26   whether there is a primary reference that is “basically the same.” Spigen, 955 F.3d at 1383.
27   In this case, Plaintiff has sought summary judgment on the basis of obviousness, not on
     anticipation. Although the tests are similar, the Court analyzes only obviousness given
28   Plaintiff has not challenged the 828 Patent on the grounds of anticipation under prior art.
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                                                                                  3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4963 Page 33 of 127



 1         The party challenging the validity of the patent must prove by clear and convincing
 2   evidence that a jury “could reasonably find, based on the evidence produced by the accused
 3   infringer, that the claimed invention was obvious.” Plantronics, 724 F.3d at 1353. For
 4   design patents, the ultimate inquiry in this obviousness analysis “is whether the claimed
 5   design would have been obvious [at the time of invention] to a designer of ordinary skill
 6   who designs articles of the type involved.” Spigen, 955 F.3d at 1383-84 (internal
 7   quotations omitted). “More specifically, the inquiry is whether one of ordinary skill would
 8   have combined teachings of the prior art to create the same overall visual appearance as
 9   the claimed design.” Durling, 101 F.3d at 103.
10         “Before one can begin to combine prior art designs, however, one must find a single
11   reference, ‘a something in existence, the design characteristics of which are basically the
12   same as the claimed design.’” Durling, 101 F.3d at 103. Only if a court locates this
13   “primary reference” may “other [secondary] references be used to modify [the primary
14   reference] to create a design that has the same overall visual appearance as the claimed
15   design.” Id. Such “secondary references may only be used to modify the primary reference
16   if they are ‘so related [to the primary reference] that the appearance of certain ornamental
17   features in one would suggest the application of those features to the other.’” Id.
18         In sum, this obviousness inquiry requires the finder of fact to employ a two-step
19   inquiry, finding (1) “a single [primary] reference, a something in existence, the design
20   characteristics of which are basically the same as the claimed design” exists and (2) “other
21   [secondary] references may be used to modify it [the primary reference] to create a design
22   that has the same overall visual appearance as the claimed design.” High Point, 730 F.3d
23   at 1311-12. As outlined below, this Court finds that (1) primary references contain design
24   characteristics that are basically the same as the 828 Patent, and as a result, (2) other
25   references, like the Brennan Patent, modified these primary references to create a design
26   with the same overall visual appearance of the claimed design in the 828 Patent.
27                             i.     Primary references exist
28         The first part of the two-part test for obviousness also entails a two-part evaluation:

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                                                                               3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4964 Page 34 of 127



 1   As part of the “first step, a court must both (1) discern the correct visual impression created
 2   by the patented design as a whole; and (2) determine whether there is a single reference
 3   that creates basically the same visual impression.” High Point, 730 F.3d at 1312 (internal
 4   quotations omitted); see also Durling, 101 F.3d at 103.
 5         As to the first sub-step of step one, the Court must “discern the correct visual
 6   impression” created by the 828 Patent. High Point, 730 F.3d at 1312. This “inquiry focuses
 7   on the visual impression of the claimed design as a whole and not on selected individual
 8   features.” Borden, 90 F.3d at 1574; see also Durling, 101 F.3d at 104. This is because
 9   “[w]ords cannot easily describe ornamental designs.” Sport Dimension, 820 F.3d at 1320
10   (citing Dobson v. Dornan, 118 U.S. 10, 14 (1886) (explaining that a claim “is better
11   represented by the photographic illustration than it could be by any description, and a
12   description would probably not be intelligible without the illustration”)). Thus, “[a] design
13   patent’s claim is thus often better represented by illustrations than a written claim
14   construction.” Id. However, even though a court need not undertake a formal claim
15   construction as in a utility patent case,5 it may, in some cases, be required to translate the
16   visual impression of a design patent into words. See, e.g., Durling, 101 F.3d at 103
17   (“Unlike the readily available verbal description of the invention and of the prior art that
18   exists in a utility patent case, a design patent case presents the judge only with visual
19   descriptions. Given the lack of a visual language, the trial court must first translate these
20   visual descriptions into words—i.e., into a common medium of communication.”). A
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            In fact, “detailed verbal claim constructions increase ‘the risk of placing undue
23   emphasis on particular features of the design and the risk that a finder of fact will focus on
     each individual described feature in the verbal description rather than on the design as a
24   whole.’” Sport Dimension, 820 F.3d at 1320. However, courts “have often blessed claim
25   constructions, for example, where the court helped the fact finder ‘distinguish between
     those features of the claimed design that are ornamental and those that are purely
26   functional.’” Id. Thus, while the Sport Dimension court agreed with the district court’s
27   conclusion that “the PHG factors indicate[d] that the design patent’s armbands and side
     torso tapering serve a functional purpose,” it disagreed with the manner in which the district
28   court construed the claim. Id. at 1321-22.
                                                  -34-
                                                                                 3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4965 Page 35 of 127



 1   district court’s verbal description of a claimed design should “evoke a visual image
 2   consonant with the claimed design.” Id.
 3         As stated, the Court finds that the 828 Patent claim is a for “[t]he ornamental design
 4   for a foldable bag, as shown and described.” Compl. at 14. All ten drawings in the 828
 5   Patent show one bag (rather than a system of bags), and as such, the Court construes the
 6   claim and visual impression as one bag rather than the bag system. Id. at 14-24. The visual
 7   impression of the bag, as shown below, shows a rectangular or box-shaped bag with solid
 8   lines shown on the edges of the bag, two poles attached to the top opposing sides of the
 9   bag, with handles attached to the bag extending up and over the poles. Id. at 14. The
10   handles have dotted lines on the portions attached to the bag, and there are other dotted
11   lines that appear to indicate shadowing. Id. The 828 Patent explicitly states that “[t]he
12   broken lines shown in the drawings are included for the purpose of illustrating
13   environmental structure and form no part of the claimed design.” Id.
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20   See Compl. at 14. In sum, the visual impression is a rectangular bag with opposing parallel
21   poles and handles attached to the top of the bag, as shown in the 828 Patent drawings.
22         As to the second sub-step of step one, the Court must decide whether a primary
23   reference exists that creates “basically the same” visual impression. High Point, 730 F.3d
24   at 1312. Courts may not invalidate a design patent on grounds of obviousness without a
25   primary reference. Durling, 101 F.3d at 105. Thus, in order to complete the first step of
26   the obviousness analysis, a court, after discerning the correct visual impression, must
27   determine whether a prior art design qualifies as a primary reference. Spigen, 955 F.3d at
28   1383. Only where the court finds “some suggestion in the prior art to modify the basic

                                                -35-
                                                                               3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4966 Page 36 of 127



 1   design with features from the secondary references” will courts proceed to consider
 2   secondary references. Hupp v. Siroflex of Am., Inc., 122 F.3d 1456, 1462 (Fed. Cir. 1997).
 3   In other words, without a primary reference, the court need proceed to the second step and
 4   may not hold the patent invalid. See, e.g., Durling, 101 F.3d at 104-05 (reversing the
 5   district court’s decision where the record contained no prior art designs creating “basically
 6   the same visual impression” as the claimed design, and “[w]ithout such a primary
 7   reference, it is improper to invalidate a design patent on grounds of obviousness.”).
 8         As stated, “[a] primary reference is a single reference that creates basically the same
 9   visual impression as the claimed design.” Spigen Korea Co., 955 F.3d at 1383 (internal
10   quotations omitted). “To be basically the same, the designs at issue cannot have substantial
11   differences in the[ir] overall visual appearance[s].” Id. (internal quotations omitted).
12   Further, “if ‘major modifications’ would be required to make a design look like the claimed
13   design, then the two designs are not ‘basically the same.’” Id. (quoting In re Harvey, 12
14   F.3d 1061, 1063 (Fed. Cir. 1993)). “Slight differences in design, however, do not
15   necessarily preclude a basically the same finding.” Id. (internal quotations omitted).
16   Courts should compare the design patent side-by-side with the other reference to determine
17   if the two designs create the same visual impression. See, e.g., Apple, Inc. v. Samsung
18   Elecs. Co., 678 F.3d 1314, 1330 (Fed. Cir. 2012) (comparing images of the claimed design
19   to images of the asserted primary references); Titan Tire, 566 F.3d at 1375, 1382-83
20   (same); Durling, 101 F.3d at 102 (same); Borden, 90 F.3d at 1572-73 (same); In re Harvey,
21   12 F.3d 1061, 1067-68 (Fed. Cir. 1993) (same). “Unlike . . . a utility patent, a patented
22   ornamental design has no use other than its visual appearance, and its scope is ‘limited to
23   what is shown in the application drawings.’” Harvey, 12 F.3d at 1064 (internal citations
24   omitted). “Therefore, in considering prior art references for purposes of determining
25   patentability of ornamental designs, the focus must be on appearances and not uses.” Id.
26         Referring back to the OddzOn case, the Federal Circuit held “as a matter of first
27   impression,” that prior art was relevant subject matter for courts to consider when inquiring
28   into obviousness. 122 F.3d at 1403-04. The Federal Circuit agreed “with the district court

                                                 -36-
                                                                               3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4967 Page 37 of 127



 1   that none of the cited designs, including the two confidential disclosures, render[ed] the
 2   patented design obvious, either individually or in combination.” Id. at 1404. In construing
 3   the claim in the patent in suit, the district court had “carefully noted the ornamental features
 4   that produced the overall ‘rocket-like’ appearance of the design.” Id. at 1405. However,
 5   “[t]he existence of prior art simply showing a ball with a tailshaft and fins, without more,
 6   is not sufficient to render the patented design obvious.” Id. “Because none of the prior art
 7   cited by Just Toys exhibit[ed] ornamental characteristics that [were] the same as or similar
 8   to OddzOn’s design,” the court concluded “that the district court did not err in holding that
 9   the cited references would not have rendered the patented design obvious.” Id. at 1404.
10         Here, because the 828 Patent was issued on February 28, 2017, an examination of
11   prior art would involve limiting examination to patent applications preceding that date.
12   Plaintiff’s cited prior art includes (1) Registered Community Design No. 001726472-0001
13   (“RCD 0001”), Pltff. Mot. at 83-1 at 21:15; (2) Registered Community Design No.
14   001726472-0002 (“RCD 0002”), id. at 83-1 at 22:14; and (3) the Doyle Patent, which
15   Plaintiff contends serves as a primary reference. id. at 23:3, 27:16-17. Plaintiff also argues
16   that the Brennan Patent and RCD 0001 qualify as relevant secondary references. Id. at
17   27:19-20. Defendants apparently concede that RCD 0001, RCD 0002, and the Doyle
18   Patent qualify as prior art but dispute that the Doyle Patent is a primary reference. Def.
19   Oppo. at 12:1-5. Defendant argues that “Doyle does not ‘create basically the same visual
20   impression’ as Defendants’ ‘828 Patent, and thus, does not qualify as a ‘primary reference’
21   necessary for an obviousness challenge.” Id. at 22:4-7. However, Defendants seem to
22   confuse the test because their expert’s attempts to distinguish the Doyle Patent as a primary
23   reference—although labeled as a discussion of the “difference between the overall
24   designs”—focuses on design features rather than the overall visual appearance. Id. at 22:3-
25   16; see Durling, 101 F.3d at 104. Defendants’ expert claims that a different handle design
26   and location; horizontal rods that differ in length and design; and a less rectangular shape
27   and proportions necessitate a conclusion that the Doyle Patent is not a primary reference.
28   Compare Def. Oppo. at 22:3-16 with Durling, 101 F.3d at 104 (“By focusing on the design

                                                  -37-
                                                                                  3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4968 Page 38 of 127



 1   concept of Durling’s design rather than its visual appearance, the district court erred”
 2   because “the focus in a design patent obviousness inquiry should be on visual appearances
 3   rather than design concepts”). However, Defendants fail to address the fact that slight
 4   differences will not prevent the Court from finding a primary reference, Spigen, 955 F.3d
 5   at 1383, and these differences appear to be nothing more than slight. Further, Defendants
 6   do not rely on a side-by-side comparison in opposing Plaintiff’s claims of obviousness, and
 7   the reasoning for this seems obvious itself: A side-by-side comparison shows that the
 8   primary reference (e.g., the Doyle Patent) creates basically the same visual impression:
 9                  Doyle Patent:                                    828 Patent:
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17   See Pltff. Mot. at 28:1-9.

18         Thus, the Court concludes that the Doyle Patent, which also consists of a rectangular

19   (albeit less angled) bag with two poles attached to the top of the opposing sides of the bag

20   with handles attached to the side of the bag, creates “basically the same visual impression,”

21   such that the Doyle Patent qualifies as a primary reference. The slight differences do not

22   impede this conclusion as a matter of law. Spigen, 955 F.3d at 1383. That being said, this

23   conclusion is complicated by a tangential issue that neither side addressed in their briefing:

24   As discussed above, the Court did not consider the Doyle Patent in its functionality inquiry

25   because it (1) is not a United States Patent and (2) is also the same patent as the 828 Patent

26   at issue in this case.6 Separate and aside from the fact that neither party addressed the fact

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           That the Doyle Patent is for arguably the same product, is owned by Trolley Bags,
28   and expired raises issues of double-patenting, which are discussed in further detail below.
                                                 -38-
                                                                                3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4969 Page 39 of 127



 1   that the Doyle Patent and 828 Patent are essentially one and the same, the parties also failed
 2   to address whether a foreign patent permissibly qualifies as prior art for the obviousness
 3   inquiry. Nonetheless, and as discussed below, this Court determines that the Doyle Patent
 4   qualifies as prior art for purposes of the obviousness inquiry.
 5         On September 18, 2009, Paul Doyle filed the Doyle Patent, entitled “re-usable bag
 6   system,” listing the United Kingdom and Ireland as priority counties. https://eregister.
 7   patentsoffice.ie/register/PTRegister.aspx?idappli=S2009/0718.7          See also Bjurstrom
 8   Infringement Report, ECF No. 83-5 at 23 (“The inventor of the ’583 Patent is Paul Doyle,
 9   whom I understand was the prior owner of Trolley Bags UK Ltd. and the creator of earlier
10   versions of Defendants’ Trolley Bags. Sample”). Approximately six years later, on
11   November 18, 2015, Trolley Bags filed its 828 Patent application, listing the Doyle Patent
12   on its U.S. Patent application under “Foreign Patent Documents.” Id. On January 18,
13   2016, two months after Trolley Bags filed its United States patent application, a change of
14   proprietorship was filed with the Intellectual Property Office of Ireland, assigning the rights
15   to the Doyle Patent to Trolley Bags. Id. On September 17, 2019, the Doyle Patent expired.
16   Id.; see also ECF No. 83-9 at 25.
17         The AIA allows an inventor applying for patent protection in the United States to
18   have the patent “relate back” to the earlier filed foreign patent application. In other words,
19   the U.S. Patent will be effective as of whatever date the patent applicant filed for the foreign
20   patent for purposes of determining prior art. However, this benefit only applies if (1) the
21   patent application identifies the foreign patents in the U.S. patent application and (2)
22   applies for U.S. Patent protection within twelve months of securing the foreign patent. As
23   outlined below, even though Trolley Bags identified its foreign patents in the 828 Patent
24   application, it cannot receive the benefit of a priority date because it did not apply for a
25   U.S. Patent within twelve months of securing the foreign patent. See, e.g., Bos. Sci., 497
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27         Because neither party disclosed this information in their moving papers, the Court
     takes judicial notice of the patent application as a public record. See GeoVector, 234
28   F.Supp.3d at 1016 n.2 (taking judicial notice of Korean patent application).
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                                                                                  3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4970 Page 40 of 127



 1   F.3d at 1296-97 (holding that 35 U.S.C. § 119(a) does not permit “an applicant for a United
 2   States patent to benefit from the priority of a foreign application previously filed by an
 3   entity that was not acting on behalf of the U.S. applicant at the time of filing”). Therefore,
 4   the Doyle Patent qualifies as prior art.
 5         “To determine patentability, a hypothetical person is presumed to know all the
 6   pertinent prior art, whether or not the applicant is actually aware of its existence.” In re
 7   Carlson, 983 F.2d 1032, 1038 (Fed. Cir. 1992), as revised on reh'g (Feb. 1, 1993). Thus,
 8   actual knowledge of prior art is not required, see id., and in this case, Trolley Bags was not
 9   only presumed to have knowledge of prior art, like the Doyle Patent, but did, in fact, have
10   some knowledge as evidenced by listing the Doyle Patent on the 828 Patent application.
11         In both Carlson and Bruckelmyer v. Ground Heaters, Inc., 445 F.3d 1374, 1375
12   (Fed. Cir. 2006), at the time the patent holder filed for patent protection in the United States,
13   a foreign patent or publication disclosed the relevant designs, and because those courts
14   found those foreign documents qualified as invalidating prior art under section 102, the
15   documents also rendered the patents in suit obvious under section 103. 983 F.2d at 1039;
16   445 F.3d at 1375. Similarly, here, at the time Defendants filed the 828 Patent, the Doyle
17   Patent, a foreign patent publication, was publicly available. Thus, depending on the
18   contents and filing date of that document, it may or may not invalidate the 828 Patent.
19         The public disclosure of an invention will not qualify as prior art to the claimed
20   invention if it was made (1) less than one year before the filing date of the claimed
21   invention in the United States, and (2) by a joint inventor or owner. 35 U.S.C. § 102(b).
22   Further, “[f]or purposes of determining whether a patent or application for patent is prior
23   art to a claimed invention under subsection (a)(2), such patent or application shall be
24   considered to have been effectively filed . . . as of the actual filing date of the patent or the
25   application for patent.” 35 U.S.C. § 102(d)(1). However, a “patent saving provision”
26   allows a United States patent application to relate back to a previous patent filed in another
27   country such that it will be deemed filed as of the filing date of a foreign patent application.
28   35 U.S.C. § 102(d)(2); In re Mulder, 716 F.2d 1542, 1545 (Fed. Cir. 1983); 35 U.S.C. §

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                                                                                   3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4971 Page 41 of 127



 1   119(a). Nonetheless, this protection only applies “if the application in this country is filed
 2   within 12 months from the earliest date on which such foreign application was filed.” 35
 3   U.S.C. § 119(a).     Further, “in accordance with the conditions and requirements of
 4   subsections (a) through (d) of section 119, a national application shall be entitled to the
 5   right of priority based on a prior filed international application which designated at least
 6   one country other than the United States.” 35 U.S.C. § 365(a). However, here, Trolley
 7   Bags did not meet the conditions and requirements of subsections (a) through (d) of section
 8   119 to allow it to claim priority and relate back to the Doyle Patent for several reasons.
 9         First, for the 828 Patent to receive the benefit of relating back to the Doyle Patent,
10   the 828 Patent would have had to have been filed (1) within a year of the Doyle Patent or
11   by August 18, 2011 and (2) by a joint inventor. Here, the 828 Patent was not filed until
12   November 18, 2015 and (2) at the time of filing was not jointly owned. Further, the Doyle
13   Patent would have to qualify as the same patent in order to give the 828 Patent the benefit
14   of priority. Here, particularly in light of the parties’ failure to brief this issue much less
15   provide evidence as to how the 828 Patent might not be the same patent, the Court
16   concludes that there is an absence of evidence creating a genuine issue of fact as to whether
17   the 828 Patent and Doyle Patent are different patents. Although Defendants have presented
18   evidence of “slight modifications,” the Court finds this evidence insufficient to create a
19   genuine issue of fact as to whether the two designs are not “basically the same.”
20         Second, as to the joint ownership issue, the provision governing assignment of
21   patents provides: “A disclosure shall not be prior art to a claimed invention under
22   subsection (a)(2) if . . . . the subject matter disclosed and the claimed invention . . . were
23   owned by the same person or subject to an obligation of assignment to the same person”
24   before the “effective date of the claimed invention.” 35 U.S.C. § 102(b)(2)(C). Here,
25   Trolley Bags did not become the owner of the Doyle Patent until January 18, 2016, several
26   months after it filed the 828 Patent on November 18, 2015. As such, the Doyle Patent
27   qualifies as prior art and does not qualify for exception under 35 U.S.C. § 102(b)(2)(C).
28   Further, for 35 U.S.C. § 119 to save the 828 Patent from having the Doyle Patent qualify

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                                                                                3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4972 Page 42 of 127



 1   as prior art, the Doyle Patent would have needed to have been filed within a year of the
 2   filing of the 828 Patent, or in other words, between November 18, 2014 and November 18,
 3   2015. Because the Doyle Patent was filed on September 18, 2009, well before that date,
 4   the 828 Patent cannot relate back to the Doyle Patent. In sum, the Doyle Patent qualifies
 5   as prior art because even if it had been jointly owned at the time Trolley Bags filed for a
 6   patent in the United States, the United States application was filed more than twelve months
 7   after the Doyle Patent was filed in Ireland. Further, under section 119, a patent application
 8   will not receive “this right of priority unless a claim is filed . . . identifying the foreign
 9   application by specifying the application number on that foreign application, the
10   intellectual property authority or country in or for which the application was filed, and the
11   date of filing the application, at such time during the pendency of the application.” 35
12   U.S.C. § 119(b)(1). Here, Trolley Bags filed no such qualifying application.
13         In sum, the Doyle Patent qualifies as prior art to the 828 Patent. See, e.g., LG Display
14   Co. v. AU Optronics Corp., 709 F. Supp. 2d 311, 339 (D. Del. 2010) (holding that a
15   Japanese patent application qualified as prior art for purposes of determining whether the
16   patent in suit was invalid as obvious where the Japanese patent application had been
17   published before the patent in suit’s application in the United States); Delta Frangible
18   Ammunition, LLC v. Sinterfire, Inc., 663 F. Supp. 2d 405, 418 (W.D. Pa. 20090, dismissed,
19   450 F. App’x 947 (Fed. Cir. 2010) (finding that summary judgment should be entered in
20   the defendants’ favor because the patent claims were invalid due to obviousness as the
21   claims were present in a prior British patent applications so as to place a person of ordinary
22   skill in possession of the invention); I. U. Tech. Corp. v. Research-Cottrell, Inc., 641 F.2d
23   298, 307 (5th Cir. 1981) (holding that the district court properly considered references to a
24   Japanese Patent, East German patent, and four articles when considering prior arts against
25   which to test obviousness of the patent at issue); Nuance Commc'ns Inc. v. Tellme Networks
26   Inc., 707 F. Supp. 2d 472, 493-94 (D. Del. 2010) (holding that a prior Japanese patent had
27   disclosed the inventive aspects of a patent at issue, and thus, the claims were obvious).
28         This case is further complicated by yet another matter related to the foreign patent

                                                 -42-
                                                                                3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4973 Page 43 of 127



 1   issues not briefed by the parties: Ruling that the 828 Patent is valid may contravene the
 2   principle against double patenting. “The doctrine of double patenting is intended to prevent
 3   a patentee from obtaining a time-wise extension of [a] patent for the same invention or an
 4   obvious modification thereof.” In re Basell Poliolefine Italia S.P.A., 547 F.3d 1371, 1375
 5   (Fed. Cir. 2008). “The judicially created doctrine of obviousness-type double patenting
 6   ‘prohibit[s] a party from obtaining an extension of the right to exclude through claims in a
 7   later patent that are not patentably distinct from claims in a commonly owned earlier
 8   patent.’” Id. To determine “double patenting, a one-way test is normally applied, in which
 9   ‘the examiner asks whether the application claims are obvious over the patent claims.’” Id.
10   Here, it is possible that Trolley Bags intentionally acquired the Doyle Patent after applying
11   for the 828 Patent in an attempt extend the protection of the Doyle Patent in violation of
12   the principle against double-patenting. However, this issue was not briefed by the parties,
13   and the Court refrains from speculating on this issue given it, nonetheless, has determined
14   below the patent is invalid, and thus, there is no risk of double patenting.
15         Now that the Court has determined that the Doyle Patent may qualify as prior art or
16   a primary reference, it must return to its analysis of whether the two designs are “basically
17   the same” design, keeping in mind that “‘[s]light differences’ in design . . . do not
18   necessarily preclude a ‘basically the same’ finding.” Spigen, 955 F.3d at 1383 (quoting
19   MRC Innovations, 747 F.3d at 1333. Both parties rely primarily on their expert reports for
20   the obviousness inquiry. However, this is not helpful to the Court’s determination. This
21   is because obviousness is a question of law, so while the Court may consider expert
22   opinions with respect to the underlying Graham factors, it must ignore them with respect
23   to the ultimate issue of obviousness, which remains a legal determination for the Court.
24   See, e.g., KSR, 550 U.S. at 426-27 (“To the extent the court understood the Graham
25   approach to exclude the possibility of summary judgment when an expert provides a
26   conclusory affidavit addressing the question of obviousness, it misunderstood the role
27   expert testimony plays in the analysis.”). Thus, expert opinions on legal conclusions may
28   not defeat summary judgment. See KSR, 550 U.S. at 426-27; see also Telemac Cellular

                                                 -43-
                                                                                3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4974 Page 44 of 127



 1   Corp. v. Topp Telecom, Inc., 247 F.3d 1316 (Fed. Cir. 2001) (holding “broad conclusory
 2   statements offered by Telemac’s experts are not evidence and are not sufficient to establish
 3   a genuine issue of material fact”). Even expert testimony purporting to contradict the clear
 4   disclosure of prior art references may not defeat summary judgment. Jamesbury Corp. v.
 5   Litton Indus. Prods. Inc., 756 F.2d 1556, 1563 (Fed. Cir. 1985) (overturning a jury verdict
 6   on the issue of anticipation), overruled in part by A.C. Aukerman Co. v. R.L. Chaides
 7   Constr. Co., 960 F.2d 1020 (Fed. Cir. 1992). In sum, expert opinions on legal conclusions
 8   have little relevance given the Court determines issues of law. KSR, 550 U.S. at 426-27.
 9         Trolley Bags itself claims “there are numerous significant differences between the
10   overall designs” of the 828 and Doyle Patents. Def. Oppo. at 22:7-9. Defendants rely on
11   the Bjurstrom Expert Report for those differences. Id. at 22:9-16. Again, obviousness is a
12   legal issue for the Court, and thus, while the Court can consider Ms. Bjurstrom’s opinions
13   as to individual Graham factors, it must disregard them as to the ultimate obviousness
14   inquiry. KSR, 550 U.S. at 426-27. Meanwhile, Plaintiff’s expert, Tim Fletcher, opined
15   that a designer of ordinary skill in the art (“DOSITA”) “would conclude that the prior art
16   references[, including the Doyle Patent,] are identical in all material respects and are
17   substantially the same as the bag claimed in the ‘828 Patent” due to “the overall
18   similarities.” Expert Report of Tim Fletcher, ECF No. 83-6 at 13. He also examined the
19   RCD designs, noting that “[t]he RCD is a form of EU design patent protection, similar to
20   a US Design Patent,” while “the Doyle Irish Patent Grant would be similar to a US Utility
21   Patent.” Id. at 11. He provided the below comparison of the 828 Patent and the RCD 0001:
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28   Tim Fletcher Report, ECF No. 83-6 at 11.

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                                                                               3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4975 Page 45 of 127



 1         Here, while the Court has no obligation to accept Mr. Fletcher’s opinion, the Court’s
 2   independent analysis reveals that no reasonable jury could arrive at a conclusion other than
 3   that the 828 Patent is basically the same as not only the Doyle Patent but also the RCD
 4   patents. The Court finds that the designs of these primary references are basically the same
 5   as the design of the 828 Patent.
 6                             ii.    Secondary references modify the primary reference to
                                      create the same overall visual appearance as the 828 Patent
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           Plaintiff uses the Doyle Patent as a primary reference and argues that when
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     comparing the 828 Patent to the Doyle Patent, the only difference is that handle stitching,
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     but when compared to the Brennan Patent, which contains such stitching, the hypothetical
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     combination is nearly identical to the 828 Patent. Pltff. Mot. at 27:16-28.
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           Once a court finds a primary reference, other references—or what the case law refers
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     to as “secondary references”—may be used to modify the primary reference to create a
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     design that has the same overall visual appearance as the claimed design. High Point, 730
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     F.3d at 1311. However, secondary references may only modify a primary reference if the
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     secondary references are “so related to the primary reference that the appearance of certain
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     ornamental features in one would suggest the application of those features to the other.”
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     Durling, 101 F.3d at 103. In order to correctly apply this approach, courts must apply the
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     Graham factors8 to the design patented invention as a whole, to determine whether a similar
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     (or even the same) article of manufacture possesses the design characteristics of the design
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     patent claim in dispute, such that the claimed invention is merely an obvious variant. Hupp,
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     122 F.3d at 1462. In other words, courts determine obviousness “by ascertaining whether
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            “The Graham factors, considered in determining obviousness for utility patents—
24   (1) the scope and content of the prior art; (2) the differences between the claims and the
25   prior art; (3) the level of ordinary skill in the pertinent art; and (4) secondary considerations,
     if any, of nonobviousness—are applied in determining obviousness for design patents.”
26   Matthews, Robert A. Jr., 4 Annotated Patent Digest § 29:31 (October 2020); see also Hupp
27   122 F.3d at 1462 (“Invalidity based on obviousness of a patented design is determined on
     factual criteria similar to those that have been developed as analytical tools for reviewing
28   the validity of a utility patent under § 103, that is, on application of the Graham factors.”).
                                                   -45-
                                                                                   3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4976 Page 46 of 127



 1   the applicable prior art contains any suggestion or motivation for making the modifications
 2   in the design of the prior art article in order to produce the claimed design.” Id. Thus, “[a]
 3   finding of obviousness cannot be made without determining whether the invalidating prior
 4   art shows or renders obvious the ornamental features of the claimed design.” Rosco, Inc.
 5   v. Mirror Lite Co., 304 F.3d 1373, 1379 (Fed. Cir. 2002).
 6         “An invention may be a combination of old elements disclosed in multiple prior art
 7   references.” Plantronics, 724 F.3d at 1354. The Supreme Court has held “that common
 8   sense can be a source of reasons to combine or modify prior art references to achieve the
 9   patented invention.” Id. Courts have found motivation to combine either “explicitly or
10   implicitly in [1] market forces; [2] design incentives; [3] the interrelated teachings of
11   multiple patents; [4] any need or problem known in the field of endeavor at the time of
12   invention and addressed by the patent; and [5] the background knowledge, creativity, and
13   common sense of the person of ordinary skill.” Id. (internal quotations omitted).
14         Plaintiff’s expert, Tim Fletcher, concluded that “US Patent No. 5,531,366 (‘Strom’)
15   is [also] a Primary Reference because Strom and the ‘828 Patent have Design
16   Characteristics that are basically the same.” ECF No. 83-6 at 17. He opined that “[a]
17   DOSITA would have been motivated to combine Strom (Embodiment 1) with RCD
18   ‘0001,” resulting in the 828 Patent. ECF No. 83-6 at 19.
19            RCD 0001:                       Strom:                         828 Patent:

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24    ECF No. 83-6 at 28
25         Plaintiff argues the only difference between the 828 Patent and the Doyle Patent is
26   the presence of detailed handle stitching extending vertically on the length of the bag. Pltff.
27   Mot. at 27:16-28, 28:16-19. However, Plaintiff points out that the same handle stitching
28   is present on the Brennan Patent and RCD 0001 references. Id. As such, Plaintiff argues
                                                  -46-
                                                                                 3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4977 Page 47 of 127



 1   “the hypothetical combination is nearly identical to the ‘828 Patent.” Id. at 72:18-22.
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17         Defendants respond that Plaintiff’s arguments of obviousness fail because (1) the
18   Court set a deadline for “each party opposing a claim of [patent] infringement [to] serve
19   Invalidity Contentions,” and Plaintiff’s contentions did not identify obviousness as a basis
20   for invalidity9; (2) Plaintiff cites no evidence in support of its obviousness contentions; and
21
     9
            Defendants argue that Plaintiffs failed to disclose some of the prior art that they rely
22   upon for arguing concomitant utility patents and obviousness in their infringement
23   contentions, and as such, should be barred from relying on those patents as prior art now.
     Def. Oppo. at 19:15-23. The Court considers all relevant prior art for three reasons:
24          First, Defendants elaborate that the Court’s Scheduling Order set a deadline “for
25   ‘each party opposing a claim of infringement to serve Invalidity Contentions,’” and
     Plaintiff failed to disclose their contentions in that filing. Id. at 19:16-18 (citing ECF No.
26   24, ¶ 3; S.D. Cal. Pat. R. 3.3). Local Patent Rule 3.3(a) requires “each party opposing a
27   claim of patent infringement” to serve on all parties a set of “Invalidity Contentions,” which
     must include “[t]he identity of each item of prior art that allegedly anticipates each asserted
28   claim or renders it obvious.” It also requires each prior art patent to “be identified by its
                                                  -47-
                                                                                 3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4978 Page 48 of 127



 1   (3) Defendants have shown there is a factual dispute, and that the prior art and 828 Patent
 2   have substantial differences. Def. Oppo. at 19:15-23, 20:17-24, 22:3-20.
 3         Defendants refer to the case of Deflecto, LLC v. Dundas * Jafine Inc., 142 F. Supp.
 4   3d 835, 844 (W.D. Mo. 2014) where the court denied a motion for summary judgment as
 5   a basis for this Court to do the same. In Deflecto, the defendant asserted that the plaintiff’s
 6   patents were invalid after the plaintiff sued for patent infringement. Id. at 842-43. When
 7
 8   number, country of origin, and date of issue.” Id. Plaintiff’s invalidity contentions notably
 9   did not include the country of origin or date of issue of prior art. See ECF No. 89-5 at 1-5.
     Local Rule 3.3 further provides that “[i]f obviousness is alleged, an explanation of why the
10   prior art renders the asserted claim obvious, including an identification of any combinations
11   of prior art showing obviousness” must be included in the Invalidity Contentions.” Id.
     Defendants argue they would be prejudiced if the Court were to allow Plaintiff to rely on
12   new theories due to lack of adequate time to refute them. Def. Oppo. at 20:5-11. However,
13   the scope of the patent rules provides that they “apply to all civil actions filed in or
     transferred to this court which allege infringement of a utility patent.” S.D. Cal. Pat. R.
14   1.3. As noted, this case involves a design patent, not a utility patent.
15          Second, Defendants also cite to MediaTek Inc. v. Freescale Semiconductor, Inc., No.
     11-cv-5341, 2014 WL 690161, at * (N.D. Cal. Feb. 21, 2014) for the proposition that “[a]ny
16   invalidity theories not disclosed . . . are barred, accordingly, from presentation at trial
17   (whether through expert opinion testimony or otherwise.” Id. at 20:2-5. However, cases
     like MediaTek, where the Court struck portions of expert reports due to the plaintiff’s
18   failure to disclose some of their invalidity contentions are inapposite because the patent
19   rules applied to that case but do not apply to this case. Id. at *1, 7. Further, even though
     the Patent Rules do not apply to this case, if they did, they would not require the Court to
20   refrain from considering additional contentions that were not included in the Invalidity
21   Contentions. To do so would contravene the Court’s preference for determining cases on
     the merits. See, e.g., Falk v. Allen, 739 F.2d 461, 463 (9th Cir. 1984) (providing that “a
22   case should, whenever possible, be decided on the merits”); see also United States v. Signed
23   Pers. Check No. 730 of Yubran S. Mesle, 615 F.3d 1085, 1091 (9th Cir. 2010) (referring
     the “policy of favoring judgment on the merits”). The Court will consider relevant prior
24   art in determining this case on the merits.
25          Third, Defendants also argue that invalidity contentions are not evidence, and as
     such, should not be relied on by the Court when determining a motion for summary
26   judgment. Def. Oppo. at 20:17-26. The Court agrees that invalidity contentions are not
27   evidence. See, e.g., MediaTek Inc. v. Freescale Semiconductor, Inc., No. 11 Civ. 5341,
     2014 WL 2859280, at *8 (N.D. Cal. June 20, 2014) (“[I]nfringement contentions, plainly,
28   are not evidence standing on their own.”).
                                                  -48-
                                                                                 3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4979 Page 49 of 127



 1   the defendant moved for summary judgment on the grounds that, inter alia, the patents
 2   were invalid because they were obvious in light of prior art, the court held that the
 3   defendant “failed to satisfy its burden to provide ‘clear and convincing’ evidence that the
 4   patents are invalid,” and thus, denied summary judgment. Id. at 844. It reasoned that while
 5   the defendant frequently stated in its briefs that what would have been obvious, it did not
 6   provide evidentiary support for this and only occasionally cited to its expert report. Id.
 7         Defendants also rely on the case of Spigen Korea Co. v. Ultraproof, Inc. to support
 8   their argument that the Court should deny summary judgment. 955 F.3d at 1385. In
 9   Spigen, the Federal Circuit reversed the district court’s grant of summary judgment on the
10   issue of invalidity and obviousness because it determined the district court had improperly
11   participated in fact-finding. Id. at 1384-85. It noted that the two parties along with their
12   experts had contrasting positions, with the plaintiff’s expert testifying that the patents were
13   not similar, much less basically the same, while the defendant argued the two designs were
14   basically the same. Id. at 1384-85. As a result, the court noted that “[i]n the light of the
15   competing evidence in the record, a reasonable factfinder could conclude that the ‘218
16   patent and the Spigen Design Patents have substantial differences, and, thus, are not
17   basically the same.” Id. at 1385; but see Telemac Cellular Corp. v. Topp Telecom, Inc.,
18   247 F.3d 1316 (Fed. Cir. 2001) (providing that conclusory statements offered by experts
19   fail to establish a genuine issue of material fact).
20         Defendants argue that in this case, as in Spigen, “there is a similar factual dispute.”
21   Def. Oppo at 22:3-4. They point out that their expert testified, like the Spigen expert, “that
22   Doyle does not ‘create basically the same visual impression’ as Defendants’ ‘828 patent,
23   and thus does not qualify as a ‘primary reference’ necessary for an obviousness challenge.”
24   Id. at 22:4-7. However, Defendants explain that those differences are (1) “an entirely
25   different handle design and location,” (2) “horizontal rods that differ in design and do not
26   extend as far beyond the bag,” and (3) the Doyle Patent “is less rectangular and appears to
27   have different proportions than the design of the ’828 Patent.” Id. at 22:9-16. Defendants
28   also point out that, like the Spigen expert, their expert also provided side-by-side

                                                   -49-
                                                                                 3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4980 Page 50 of 127



 1   comparisons, showing the differences between the two bags. Id. Defendants refer the
 2   Court to her comparison, a portion of which is shown below:
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10    ECF No. 89-4 at 31-34.
11         These drawings show that with respect to the allegedly “entirely different handle
12   design and location,” the handles are, in fact, the same. Rather, the Doyle Patent merely
13   illustrates the flexibility of the handles while the 828 Patent shows the handles in an upright
14   position. ECF No. 89-4 at 31. As to the alleged difference pertaining to the horizontal
15   rods, which allegedly “differ in design and do not extend as far beyond the bag,” the Court
16   concludes that the drawings show that the horizontal rods on both the Doyle Patent and the
17   828 Patent extend beyond the bag, and because the parties did not provide the dimensions
18   to allow the Court to compare the rods of the two bags, it is unclear how much farther
19   beyond the bag the 828 Patent rods may extend when compared to the Doyle Patents.
20   However, again, these slight differences do not preclude a finding that the bags are
21   basically the same, Spigen, 955 F.3d at 1383, especially where Defendants failed to provide
22   the dimensions of both bags to compare when such information is presumably in their
23   control given Trolley Bags owns both patents. Third, Defendants argue that the Doyle
24   Patent is “less rectangular and appears to have different proportions” than the 828 Patent.
25   Def. Oppo. at 22:9-16. As to the differing proportions, again, Defendants failed to provide
26   the dimensions for the Doyle Patent. The dimensions of the bag are also not claimed in the
27   patent. As to the shape of the bags, both bags appear to be rectangular in shape, although
28   the Doyle Patent has curved edges. Thus, the Court finds Ms. Bjurstrom’s Report and side

                                                  -50-
                                                                                 3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4981 Page 51 of 127



 1   by side comparison show the two bags are basically the same despite her conclusion to the
 2   contrary, which the Court is not required to accept. See KSR, 550 U.S. at 426-27.
 3         Defendants also fail to present evidence as to the Graham factors or secondary
 4   references, but even if they did, this would be unlikely to overcome the Court’s finding of
 5   obviousness. See ZUP, LLC, 896 F.3d at 1375 (noting, albeit it in a utility patent case, that
 6   “[w]here a claimed invention represents no more than the predictable use of prior art
 7   elements according to established functions, as here, evidence of secondary indicia are
 8   frequently deemed inadequate to establish non-obviousness”). In the absence of such
 9   evidence, Defendants have failed to rebut Plaintiff’s evidence that the 828 Patent represents
10   nothing more than an obvious modification of the Doyle Patent by combining it with the
11   Brennan Patent.
12         The Court concludes that a designer of ordinary skill in the art would have thought
13   to combine the numerous prior art that highly resembles the 828 Patent to create the product
14   claimed in the 828 Patent. Thus, the 828 Patent is invalid based on the Court’s finding of
15   obviousness.
16                      c.     Indefinite
17         The definiteness requirement for a patent stems from 35 U.S.C. § 112(b), which
18   requires that a “specification shall conclude with one or more claims particularly pointing
19   out and distinctly claiming the subject matter which the inventor . . . regards as the
20   invention.” Thus, “a patent is invalid for indefiniteness if its claims, read in light of the
21   specification delineating the patent, and the prosecution history, fail to inform, with
22   reasonable certainty, those skilled in the art about the scope of the invention.” Nautilus,
23   Inc. v. Biosig Instruments, Inc., 572 U.S. 898, 901 (2014); see also Ancor Techs., Inc. v.
24   Apple, Inc., 744 F.3d 732, 737 (Fed. Cir. 2014) (noting that definiteness requires a claim
25   to be “sufficiently definite to inform the public of the bounds of the protected invention,
26   i.e., what subject matter is covered by the exclusive rights of the patent.”) (citation
27   omitted). The Nautilus test, however, dealt with a utility patent in which courts undertake
28   a claim construction, and as such, courts have adapted the test to the design patent context,

                                                 -51-
                                                                                3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4982 Page 52 of 127



 1   which focuses primarily on a patent’s visual appearance. Deckers Outdoor Corp. v. Romeo
 2   & Juliette, Inc., No. 215CV02812ODWCWX, 2016 WL 7017219, at *3-4 (C.D. Cal. Dec.
 3   1, 2016).10 In 2018, the Federal Circuit adapted the Nautilus test to the design patent
 4   context holding that “a design patent is indefinite under § 112 if one skilled in the art,
 5   viewing the design as would an ordinary observer, would not understand the scope of the
 6   design with reasonable certainty based on the claim and visual disclosure.” Maatita, 900
 7   F.3d at 1377.11 “Although absolute clarity is not necessary, a claim is indefinite if it is not
 8   amenable to construction or is unsolubly ambiguous.” Times Three Clothier, LLC v. Spanx,
 9   Inc., No. 13 CIV. 2157 DLC, 2014 WL 1688130, at *6 (S.D.N.Y. Apr. 29, 2014) (internal
10   citations and quotations omitted).
11         With respect to design patent drawings, “[a] visual disclosure may be inadequate—
12   and its associated claim indefinite—if it includes multiple, internally inconsistent
13   drawings.” Maatita, 900 F.3d at 1375; see also Times Three Clothier, 2014 WL 1688130,
14   at *7-9 (holding design patents directed to ornamental designs for an undergarment invalid
15   for indefiniteness because the drawings were inconsistent with respect to material aspects
16   of the claimed design). However, “[e]rrors and inconsistencies between drawings do not
17   merit a § 112 rejection . . . if they ‘do not preclude the overall understanding of the drawing
18   as a whole.’” Maatita, 900 F.3d at 1375.            “The purpose of § 112’s definiteness
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     10
            Although Deckers called into question whether Nautilus applied to design patents
20   because “[t]he Federal Circuit has not yet applied Nautilus to design patents,” 2016 WL
21   7017219 at *3, the Federal Circuit eventually applied Nautilus to a design patent in In re
     Maatita, 900 F.3d 1369, 1376-77 (Fed. Cir. 2018).
22   11
            Although both parties discussed the Times Three Clothier test, which required that
23   “errors and inconsistencies in the patent drawings must be material and of such magnitude
     that the overall appearance of the design is unclear,” No. 13 CIV. 2157 DLC, 2014 WL
24   1688130, at *6 (S.D.N.Y. Apr. 29, 2014), the Central District of California in Deckers,
25   rejected that test in favor of a modified version: “[A] design patent is invalid for
     indefiniteness if the errors and inconsistencies in the patent drawings are of such magnitude
26   that the drawings, taken as a whole, fail to inform, with reasonable certainty, those skilled
27   in the art about the overall appearance of the design,” 2016 WL 7017219, at *3-4.
     However, both of these tests preceded the Federal Circuit’s holding in Maatita, and as such,
28   this Court defers to the test adopted by the Maatita court.
                                                  -52-
                                                                                 3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4983 Page 53 of 127



 1   requirement, then, is to ensure that the disclosure is clear enough to give potential
 2   competitors (who are skilled in the art) notice of what design is claimed—and therefore
 3   what would infringe.” Id. at 1376; see also Carnegie Steel Co. v. Cambria Iron Co., 185
 4   U.S. 403, 437 (1902) (stating that “any description which is sufficient to . . . serve as a
 5   warning to others of what the patent claims as a monopoly, is sufficiently definite to sustain
 6   the patent”). In sum, the definiteness of a design patent is determined from the drawings.
 7   Richardson, 597 F.3d at 1294. If the drawings are insufficient to allow an understanding
 8   of the drawing as a whole, the patent will be declared invalid. Maatita, 900 F.3d at 1375.
 9         In this case, Plaintiff argues that based on inconsistencies in the 828 Patent drawings,
10   the 828 Patent is invalid as indefinite because an ordinary observer would not understand
11   the scope of the patented design. Pltff. Mot. at 29:20-21. Plaintiff points to the below
12   discrepancies, arguing that “an ordinary observer would not understand the scope of the
13   design with reasonable certainty based on the claim and visual disclosure.” Id. at 29:1-4:
14        Alleged          Alleged Inconsistent
                                                            Additional 828 Figures:
       Inconsistency:              Figure:
15
16    Plaintiff alleges
      the piping is
17
      inconsistent
18    when Figure 1
      and Figures 3
19
      and 4 are
20    compared.
21
22    Plaintiff alleges
23    the shape of the
      handles is
24    inconsistent
25    when Figures 4
      and 5 are
26    compared to
27    Figure 6.
28

                                                 -53-
                                                                                3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4984 Page 54 of 127



 1   Defendants respond that (1) Plaintiff’s invalidity argument contains only attorney
 2   argument, (2) “[t]he law does not demand absolute perfection in design patent figures to
 3   satisfy the definiteness requirement,” and (3) any minor inconsistencies are “exceedingly
 4   minor” and would not cause an ordinary observer to be unable to understand the scope of
 5   the design. Def. Oppo. at 23:12-13-25:9.
 6         The Court sees no inconsistencies in the areas highlighted by Plaintiffs with respect
 7   to the solid lines, and to the extent that Plaintiff refers to the dotted lines in the drawings,
 8   such lines are not part of the asserted claim for the 828 Patent. Maatita, 900 F.3d at 1372.
 9   Thus, the solid lines define the scope, which is clear, while the dotted lines provide the
10   context of the claimed invention and in no way limit the scope of the claimed design.
11   Consequently, to the extent the piping Plaintiff alleges is inconsistent refers to the vertical
12   dotted lines, such lines are not part of the claimed design and cannot cause the design to
13   fail for indefiniteness. However, the Court finds that the drawings show piping along the
14   bottom of all sides of the bag and sees no inconsistencies in this. Further, the Court agrees
15   with Defendants that the alleged inconsistency with respect to the handles in Figures 4, 5,
16   and 6 is not an inconsistency but rather is meant to show that the flexibility of the handles.
17         The Court finds that to the extent Plaintiff moves for summary judgment as to the
18   828 Patent on the basis of indefiniteness, the motion is denied. The 828 Patent is not
19   indefinite. However, this ruling bears little import given the Court has, as outlined above,
20   granted Plaintiff’s motion for summary judgment as to invalidity on the grounds of
21   functionality and obviousness.       Although the Court could refrain from ruling on
22   infringement due to its determination that the 828 Patent is invalid because if there is no
23   valid patent, there can be no infringement, the Court nonetheless addresses Plaintiff’s
24   arguments as to infringement.
25               2.     Even if the 828 Patent were Valid, Plaintiff has not Infringed it
26         “The ‘ordinary observer’ test is the sole test for determining whether a design patent
27   has been infringed” and “originates from the Supreme Court’s Gorham decision.”
28   Columbia Sportswear, 942 F.3d at 1129 (citing Egyptian Goddess, 543 F.3d at 678). “[I]f,

                                                  -54-
                                                                                  3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4985 Page 55 of 127



 1   in the eye of an ordinary observer, giving such attention as a purchaser usually gives, two
 2   designs are substantially the same,12 if the resemblance is such as to deceive such an
 3   observer, inducing him to purchase one supposing it to be the other, the first one patented
 4   is infringed by the other.” Gorham, 81 U.S. at 528. The ordinary observer has been defined
 5   as the retail customer who buys and uses the products at issue. See, e.g., Columbia
 6   Sportswear, 942 F.3d at 1129-30 (noting that “[c]onsidering the designs side-by-side, the
 7   court found that ‘even the most discerning customer would be hard pressed to notice the
 8   differences between Seirus’s HeatWave design and Columbia’s patented design.’”). This
 9   “ordinary observer is considered to be familiar with prior art designs.” Id. at 1129
10   (citing Egyptian Goddess, 543 F.3d at 681).
11         In order to find design patent infringement, the ordinary observer test requires the
12   finder of fact to conclude that the similarities of the overall designs—rather than the
13   similarities of ornamental features in isolation—of the claimed design patent and accused
14   product would cause the ordinary retail customer to purchase one product believing it to
15   be the other. Lanard Toys Ltd. v. Dolgencorp LLC, 958 F.3d 1337, 1343 (Fed. Cir. 2020)
16   (“Under the ‘ordinary observer’ test, a court must consider the ornamental features and
17   analyze how they impact the overall design.”); see also KeyStone, 997 F.2d at 1450
18   (providing that “one cannot establish design patent infringement by showing similarity of
19   only one part of a patented design if the designs as a whole are substantially dissimilar”).
20   As with invalidity, when analyzing infringement, the only relevant similarities are the
21   similarities pertaining to non-functional design aspects, and “[w]here a design contains
22   both functional and non-functional elements, the scope of the claim must be construed in
23   order to identify the non-functional aspects of the design as shown in the patent.” OddzOn,
24
     12
25         Whereas analyzing obviousness requires a conclusion that the patented design is
     basically the same as a primary reference, and as result, the claimed design would have
26   been obvious in light of prior art, a finding of infringement requires concluding that the
27   non-functional, ornamental aspects of the patented design and accused product are
     substantially the same. OddzOn, 122 F.3d at 1399-1400, 1405; Unette Corp. v. Unit Pack
28   Co., 785 F.2d 1026, 1028 (Fed. Cir. 1986).
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                                                                               3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4986 Page 56 of 127



 1   122 F.3d at 1405. Although the ordinary observer test does not entail an “element-by-
 2   element comparison, “it also does not ignore the reality that designs can, and often do, have
 3   both functional and ornamental aspects.” Id.; see also Amini, 439 F.3d at 1372 (“The trial
 4   court is correct to factor out the functional aspects of various design elements, but that
 5   discounting of functional elements must not convert the overall infringement test to an
 6   element-by-element comparison.”). For an accused product to infringe a design patent, it
 7   “must appropriate [only] the novel ornamental [rather than functional] features of the
 8   patented design that distinguish it from the prior art.” Amini, 439 F.3d at 1371.
 9         With design patents, the infringement analysis is purely visual, requiring courts to
10   compare the claimed design with both the accused design or product. Egyptian Goddess,
11   543 F.3d at 678. If a court sees no immediately apparent dissimilarities upon comparison,
12   it should then compare the claimed design and accused design or product to relevant prior
13   art, with which the ordinary observed is considered to be familiar. See id.; see also
14   Columbia Sportswear, 942 F.3d at 1129. When doing so, the patented product itself carries
15   less weight as the Court must compare the patented design (e.g., the claims or drawings)
16   to the accused product (rather than the patented design to the accused design or patented
17   product to the accused product). See, e.g., Crocs, Inc. v. Int’l Trade Comm’n, 598 F.3d
18   1294, 1302-06 (Fed. Cir. 2010) (using visual claim charts that compared the claimed design
19   to the accused product to find infringement). Thus, as with the obviousness analysis, courts
20   will often utilize visual claim charts. Richardson, 597 F.3d at 1294. However, with
21   infringement, claim charts will compare the drawings of the design patent from various
22   angles to the accused product, and the preferred approach is to avoid describing a design
23   patent verbally by relying only on the drawings. See, e.g., Crocs, 598 F.3d at 1302-06
24   (providing that “[a]s a rule, the illustration in the drawing views is its own best
25   description”); see also MRC Innovations, Inc. v. Hunter Mfg., LLP, 747 F.3d 1326, 1332
26   (Fed. Cir. 2014) (holding that “the district court did not err by failing to provide an express
27   verbal description of the claimed design; rather, it described the claimed design in the
28   context of comparing it to the prior art”).

                                                   -56-
                                                                                 3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4987 Page 57 of 127



 1         In order to meet the preponderance of the evidence burden of proof,13 a party
 2   claiming patent infringement must prove “that infringement was more likely than not to
 3   have occurred.” Warner-Lambert Co. v. Teva Pharm. USA, Inc., 418 F.3d 1326, 1341,
 4   n.15 (Fed. Cir. 2005) (internal citations omitted).      Because the ultimate issue of
 5   infringement is a question of fact, Columbia Sportswear, 942 F.3d at 1129, infringement
 6   issues that require courts to draw inferences from the known facts are typically not well-
 7   suited to summary judgment because all such inferences must be drawn against the moving
 8   party, Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).
 9   Further, because a patent holder must show that every limitation in the design patent is
10   present in the accused product, it is easier for the accused party to demonstrate factual
11   disputes to preclude a summary judgment of infringement. 3rd Eye Surveillance, LLC v.
12   United States, No. 15-501C, 2020 WL 7021437, at *3 (Fed. Cl. Nov. 20, 2020). A moving
13   party seeking a judgment of non-infringement, on the other hand, does not “have to support
14   its motion [for summary judgment] with evidence of non-infringement.” Exigent Tech.,
15   Inc. v. Atrana Sols., Inc., 442 F.3d 1301, 1308-09 (Fed. Cir. 2006) (“In the light
16   of Celotex, we conclude that nothing more is required than the filing of a summary
17   judgment motion stating that the patentee had no evidence of infringement and pointing to
18   the specific ways in which accused systems did not meet the claim limitations.”). In sum,
19   noninfringement is more likely to be amenable to summary judgment than infringement
20   because the patent holder must show every limitation of a claim is found in the accused
21   device to secure a summary judgment of infringement whereas an accused infringer need
22   only show that its product lacks a single limitation to avoid infringement. See 3rd Eye
23
24   13
            Infringement issues are generally more amenable to summary judgment than
25   invalidity issues due to the lower burden of proof (e.g., preponderance of the evidence as
     supposed to clear and convincing). See OddzOn, 122 F.3d at 1403-04 (affirming the district
26   court’s grant of summary judgment on validity because the defendant and accused infringer
27   had not established obviousness by clear and convincing evidence while also affirming the
     holding that the plaintiff had not established the defendant infringed the patent by a
28   preponderance of the evidence).
                                               -57-
                                                                             3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4988 Page 58 of 127



 1   Surveillance, 2020 WL 7021437 at *3 (stating that the infringer’s “failure to meet even one
 2   element within a claim, literally or by its substantial equivalent, negates a finding of
 3   infringement”). In other words, the accused infringer’s burden on summary judgment is
 4   more likely to be satisfied due to the narrower scope of proof required. In re Oracle Corp.
 5   Sec. Litig., 627 F.3d 376, 387 (9th Cir. 2010). Consequently, motions for summary
 6   judgment on noninfringement are common.
 7         In this case, Plaintiff argues that its product has many “features that result in the
 8   Accused Product’s overall appearance being ‘plainly dissimilar’ compared to the patented
 9   design of the ‘828 Patent.” Pltff. Mot. at 19:4-7. Plaintiff contends these distinguishing
10   features include “(1) longer handles; (2) an additional handle; (3) interior pockets; (4)
11   mesh/translucent bottoms; (5) detailed handle stitching that extends the length of the bag;
12   and (6) the Lotus logo.” Id. at 19:7-10. Thus, Plaintiff argues that “there is no potential
13   for an ordinary observer to be deceived into thinking they are buying the claimed design
14   when they purchase the Accused Product.” Id. at 20:17-18. Plaintiff contends that this
15   finding warrants the Court granting summary judgment of noninfringement to Plaintiff
16   regarding the 828 Patent. Id. at 20:22-23.
17         Defendants respond that Plaintiff’s bags have three embodiments—two without
18   mesh and one with mesh, and because Plaintiff’s Motion only addresses its mesh
19   embodiment, the Court should deny summary judgment as to the non-mesh embodiments
20   because Plaintiff failed to address those embodiments. Def. Oppo. at 8:19-27; but see 3rd
21   Eye Surveillance, 2020 WL 7021437 at *3. As to the mesh embodiment, Defendants
22   contend that Plaintiff relies only on “inapplicable case law and attorney argument to
23   highlight supposed differences,” which is insufficient for summary judgment. Id. at 10:1-
24   6. Next, Defendants argue that Plaintiff applied the incorrect legal test “by applying an
25   element-by-element analysis based on alleged differences” rather than looking at the
26   overall design. Id. at 10:12-23. Then, Defendants aver that the issue of whether the
27   differences are substantial or significant is a question of fact for the jury, not an issue of
28   the law for the Court to determine on summary judgment. Id. at 10:24-11:6. Finally,

                                                  -58-
                                                                                3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4989 Page 59 of 127



 1   Defendants argue that their evidence proves infringement because (1) Defendants’ expert
 2   testified at length as to why an ordinary observer would consider Plaintiff’s bags to be
 3   substantially the same, id. at 11:11-13, and (2) when Defendants reported Plaintiff’s bags
 4   to Amazon for design patent infringement, “Amazon reviewed these reports and
 5   consistently removed Plaintiff’s listings from its site,” id. at 12:21-25.
 6         Plaintiff responds that first, its Motion defines its product as all three embodiments,
 7   which it clearly demonstrated through the side by side chart of the design of the 828 Patent
 8   compared to its three embodiments on pages 3 through 4 of its Motion. Pltff. Reply at
 9   3:13-16.   Thus, Defendants’ argument that Plaintiff waived any argument of non-
10   infringement with respect to the non-mesh embodiments fails. Id. Second, Plaintiff notes
11   that two of its embodiments, not just one, contain mesh. Id. at 3:17-18. Plaintiff also
12   contends that Defendants’ Opposition fails to address whether the presence of a mesh
13   bottom, detailed handle stitching that extends along the length of the bag, an additional
14   handle, or a prominent logo affect the overall design appearance of their product when
15   compared to the 828 Patent so as to prevent a finding of infringement. Id. at 3:20-24.
16   Third, Plaintiff responds that despite Defendants’ contention that Plaintiff applied the
17   incorrect test, well-settled law establishes that “several differences create a dissimilar
18   overall appearance.” Pltff. Reply at 3:25-28. Fourth, Plaintiff argues that Defendants’
19   arguments on infringement based on their expert analysis and e-mails from Amazon
20   likewise fail to defeat Plaintiff’s Motion for Summary Judgment. Reply at 4:14-16.
21   Plaintiff notes that Defendants’ expert “failed to consider any differences between the
22   Accused Product and the design of the 828 Patent.” Id. at 4:15-16. Plaintiff also argues
23   that Defendants’ expert applied the incorrect test by considering whether the accused
24   product is closer to the patented design or prior art rather than whether the accused design
25   has strong similarities to prior art. Id. at 4:19-25. Finally, Plaintiff points out that
26   Defendants’ reliance on the Amazon e-mails cuts both ways given that after removing
27   Plaintiff’s products, Amazon also restored the products stating, “[a]fter reviewing your
28   notice of infringement, we determined that the products you reported are not substantially

                                                  -59-
                                                                                  3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4990 Page 60 of 127



 1   similar to your patented design.” Pltff. Reply at 4:26-5:5. Plaintiff also distinguishes the
 2   cases relied on by Defendant by pointing out that those case involved utility patents rather
 3   than design patents, and design patents merely “involve analyzing whether a purchasing
 4   [sic] would purchase one bag mistaking it to be the other.” Id. at 5:6-18.
 5         Plaintiff argues summary judgement is warranted regardless of whether the Court
 6   compares the 828 Patent and Lotus Bags in the context of prior art or not. As the Court
 7   analyzes below, the Court finds that only after considering prior art is summary judgment
 8   warranted because in the absence of prior art, the products appear substantially similar.
 9                       a.     Without considering prior art, the products are substantially the
                                same.
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11         In some instances, the claimed design patent and accused design will be sufficiently
12   distinct that it will be clear without reviewing prior art that a finding of infringement would
13   be improper because the patent holder “has not met its burden of proving the two designs
14   would appear ‘substantially the same’ to the ordinary observer, as required by Gorham.”
15   Egyptian Goddess, 543 F.3d at 678.
16         Plaintiff argues that due to the “numerous distinguishing features, the overall
17   appearance of the Accused Product looks plainly dissimilar from the design claimed by the
18   ‘828 Patent.” Pltff. Mot. at 20:15-16. Thus, Plaintiff urges the Court to grant a summary
19   judgment of noninfringement in Plaintiff’s favor because an ordinary observer could not
20   be deceived into thinking they are buying Defendants’ product when they purchase
21   Plaintiff’s product. Id. at 20:16-23. According to Plaintiff, the 828 Patent and Lotus Bags
22   are so dissimilar the Court need not resort to an examination of prior art. Id. at 17:22-27.
23         Plaintiff refers the Court to the case of Anderson v. Kimberly-Clark Corp., 570 F.
24   App’x 927, 934 (Fed. Cir. 2014) in support of its argument that the Court need not resort
25   to examination of the prior art. In Anderson, the Federal Circuit affirmed the district court’s
26   dismissal of a complaint for failure to state a claim after the plaintiff sued a corporation for
27   infringement of her design patent for an absorbable disposable undergarment. Id. at 929.
28   The court concluded that the district court had properly ruled that plain differences existed

                                                  -60-
                                                                                  3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4991 Page 61 of 127



 1   between the accused products and the patented design, including but not limited to the
 2   accused product having a boxer-short-style layer over it, which the patented design lacked,
 3   while also missing the “inverted-U-section” of the patented design. Id. at 934. In the
 4   alternative, however, the court concluded the accused product was indistinguishable from
 5   a publication which qualified as prior art to the claimed patented design at issue. Id. Thus,
 6   the court reasoned that if the accused product infringed the patented design, then, the
 7   patented design must closely resemble the prior art and would also be invalid in light of
 8   the prior art (e.g., the publication). Id. However, the court declined to address the
 9   invalidity issue due to the fact that it had already decided to affirm the court’s judgment of
10   noninfringement. Id.; see also Int’l Seaway, 589 F.3d at 1243 (“Because we cannot say
11   that these differences are insignificant as a matter of law, a genuine issue of material fact
12   exists as to whether the designs would be viewed as substantially similar in the eyes of the
13   ordinary observer armed with the knowledge of the prior art.”).
14         Unlike the Anderson court, which concluded the accused product was plainly
15   dissimilar such that consideration of prior art was not necessary to find noninfringement,
16   570 F. App’x at 934, this Court finds the products are not plainly dissimilar without
17   reference to prior art. In the present case, at first glance, the Court concludes that an
18   ordinary observer would, in fact, find the 828 Patent and Lotus Bags/912 Patent
19   substantially similar such that, disregarding the different logos14, a reasonable consumer
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     14
21          Plaintiff argues that its Lotus logo is one of its distinguishing features. Pltff. Mot.
     at 20:17-18. In analyzing whether the design patent is similar or dissimilar to the accused
22   product, however, the Court does not consider the logos on either design/product. First,
23   the logos fall under the ambit of trademark protection, which is analyzed below. Second,
     the logos are not part of the drawings submitted to the USPTO. See, e.g., Payless
24   Shoesource, Inc. v. Reebok Int’l Ltd., 998 F.2d 985, 990 (Fed. Cir. 1993) (noting that
25   “[p]roper application of the Gorham test requires that an accused design be compared to
     the claimed design, not to a commercial embodiment”). For example, in Payless, Payless,
26   like Plaintiff here, filed a complaint for declaratory judgment against Reebok, seeking a
27   declaration that Payless’ footwear did not infringe on Reebok’s trademarks, trade dress, or
     design patents. Id. at 986. Reebok, in turn, filed a counterclaim, alleging, inter alia,
28   trademark infringement, patent infringement, and unfair competition claims. Id. at 986.
                                                 -61-
                                                                                3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4992 Page 62 of 127



 1   would be confused into being one believing it to be the other. As shown below, a
 2   comparison of both parties’ designs as well as of both parties’ actual products indicates
 3   they are extremely similar and have only subtle differences:
 4                       Defendant TB’s Patent:                      Plaintiff’s Patent:
 5   Patent No.:               828 Patent                                912 Patent

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13    Drawings:
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22   As part of its allegations, Reebok contended that Payless’ XJ 900 model infringed the trade
23   dress of Reebok’s U.S. Patent Des. 326,353. Id. at 987. The Federal Circuit held that “the
     district court was improperly influenced by features extraneous to the claimed design.” Id.
24   at 990. In particular, it pointed out that the district court “found that the design of Payless’
25   XJ 900 model was distinguishable from the design claimed in the ‘353 patent because the
     XJ 900 had additional black coloring and did not have the logo ‘PUMP’ that is printed on
26   the orange basketball on the tongue of the Reebok shoe.” Id. However, “[n]one of those
27   cited features . . . is part of the claimed designs and thus they may not serve as a valid basis
     for comparison in a design patent infringement analysis.” Id. Thus, to consider the logos
28   of the bags as a potentially distinguishing feature would be improper. See id.
                                                  -62-
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 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4993 Page 63 of 127



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     Pictures:
14   See ECF
     No. 80-9 at
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     13-16
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                                          -63-
                                                                    3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4994 Page 64 of 127



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13         Without examining prior art, and excluding the logos, the bags are not plainly
14   dissimilar, so the Court proceeds to analyze the products in light of prior art.
15                       b.    When considering prior art, the products differ.
16         When a claimed design patent and accused design “are not plainly dissimilar,
17   resolution of the question whether the ordinary observer would consider the two designs to
18   be substantially the same will benefit from a comparison of the claimed and accused
19   designs with the prior art, as in many of the cases discussed above and in the case at bar.”
20   Egyptian Goddess, 543 F.3d at 678. “The patentee must establish that an ordinary
21   observer, familiar with the prior art designs, would be deceived into believing that the
22   accused product is the same as the patented design.” Richardson, 597 F.3d at 1295. “In
23   such cases, it is a simple matter to identify the point of novelty and to determine whether
24   the accused design has appropriated the point of novelty, 15 as opposed to copying those
25
     15
           Although courts no longer apply a point of novelty test where the patent owner must
26   prove that the similarities between the patented design and accused product are attributable
27   to “the novelty which distinguishes the patented device from the prior art,” courts still
     consider the patented design in the context of prior art. Lanard Toys, 958 F.3d at 1344
28   (concluded that “as a matter of claim construction, the district court undoubtedly
                                                 -64-
                                                                                3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4995 Page 65 of 127



 1   aspects of the claimed design that were already in the prior art.” Egyptian Goddess, 543
 2   F.3d at 671. “Where there are many examples of similar prior art designs, . . . differences
 3   between the claimed and accused designs that might not be noticeable in the abstract can
 4   become significant to the hypothetical ordinary observer who is conversant with the prior
 5   art.” Id. at 678.
 6         “If the accused design has copied a particular feature of the claimed design that
 7   departs conspicuously from the prior art, the accused design is naturally more likely to be
 8   regarded as deceptively similar to the claimed design, and thus infringing.” Egyptian
 9   Goddess, 543 F.3d at 677. Thus, “[i]f the claimed design consists of a combination of old
10   features that creates an appearance deceptively similar to the accused design, even to an
11   observer familiar with similar prior art designs, a finding of infringement would be
12   justified.” Id. at 677-78. However, if the patented design consists of a combination of old
13   features from prior art that creates an appearance that is not similar to the accused product,
14   a finding of infringement is not justified. Id.
15         Plaintiff argues that because the design of its bags shares similar features with prior
16   art that are not present in Defendants’ design, the Court cannot find infringement, and as
17   such, should grant summary judgment of noninfringement in Plaintiff’s favor. Pltff. Mot.
18   at 24:8-21. As an example, Plaintiff points out that with respect to its products: (1) RCD
19   0001 contains a mesh/translucent feature, an additional carrying handle, and detailed
20   handle stitching that extends the vertical length of the bag that are also present in Lotus
21   Bags and the 912 Patent but not in the 828 Patent, id. at 21:15-18; (2) RCD 0002 contains
22   the mesh/translucent design that is not present in the 828 Patent, id. at 22:14-28; and (3)
23
24   considered the points of novelty of the patented design over the prior art”). “When the
25   differences between the claimed and accused design are viewed in light of the prior art, the
     attention of the hypothetical ordinary observer will be drawn to those aspects of the claimed
26   design that differ from the prior art.” Id. (citing Egyptian Goddess, 543 F.3d at 676). If
27   the patented design is close to the prior art designs, minor differences between the patented
     design and accused product’s design are likely to be important to the eye of the hypothetical
28   ordinary observer. Lanard Toys, 958 F.3d at 1344.
                                                  -65-
                                                                                3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4996 Page 66 of 127



 1   the Doyle Patent discloses the addition of a carrying handle and detailed handle stitching
 2   extending vertically through the length of the bag, id. at 24:1-14. Defendants respond that
 3   their expert “explained why Plaintiff’s accused products are substantially more similar to
 4   the patented design than to each of the prior art references identified by Plaintiff.” Def.
 5   Oppo. at 12:12-20 (citing unclear portions of the Bjurstrom report, which Defendants argue
 6   show that the shape, handle location, design, and horizontal rods of Plaintiff’s bags are
 7   substantially similar to Defendants bags while the handle design and location as well as
 8   rod configuration are substantially different from the Doyle Patent and RCD designs).16
 9         In Seirus Innovative Accessories, Inc. v. Cabela’s Inc., 827 F. Supp. 2d 1150, 1153-
10   57 (S.D. Cal. 2011) (Huff, J.), a case cited by Plaintiff, the court granted the defendants’
11   motion for summary judgment of non-infringement as to a patent covering the ornamental
12   design of a neck protector, referred to as the 652 Patent. The Seirus plaintiff filed suit
13   against the defendants, contending that the defendants’ Neck Gaiter infringed on the
14   plaintiff’s 652 Patent, and the defendants filed an answer asserting various counterclaims
15   and affirmative defenses, including non-infringement. Id. at 1153, 1156. The court pointed
16   out that the accused product (e.g., the Neck Gaiter) and the prior art both had diagonal
17   zippers while the 652 Patent was “limited to a design with a vertical zipper.” Id. at 1156.
18   The court rejected the plaintiff’s argument that consideration of the zippers ignored the 652
19   Patent as a whole by placing undue emphasis on the zippers. Id. It reasoned that the
20   Federal Circuit has reiterated that “[w]hen the differences between the claimed and accused
21   design are viewed in light of the prior art, the attention of the hypothetical ordinary
22   observer will be drawn to those aspects of the claimed design that differ from the prior art.”
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24   16
            Defendants cite to various portions of the Bjurstrom report throughout their
25   opposition by citing only to the Exhibit letter and paragraph rather than the ECF number
     and page number. This made it difficult for the Court to review Defendants’ citations given
26   the number of exhibits along with the fact that some of the paragraph citations were either
27   incorrect or did not state what Defendants asserted. In the future, and with trial
     approaching, the Court asks the parties to refer to the ECF number of any reports or exhibits
28   at least for the first time any such report is referenced in a brief.
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                                                                                3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4997 Page 67 of 127



 1   Id. at 1156-57 (citing Egyptian Goddess, 543 F.3d at 676). As a result, it concluded that
 2   “an ordinary observer familiar with the prior art would be drawn to the difference in the
 3   two zippers, and would be able to distinguish the Neck Gaiter from the design of the ‘D652
 4   Patent.” Id. at 1157. Thus, the Court ruled there was “no triable issue of material fact
 5   applying the standards in Egyptian Goddess to these facts,” granted the defendants’ motion
 6   for summary judgment, and concluded the Neck Gaiter did not infringe the 652 Patent. Id.
 7         Similar to Seirus, where the Court found the ordinary observer would be able to
 8   distinguish the Neck Gaiter from the claimed 652 design patent on the basis of the zipper
 9   difference, which was present in the prior art, 827 F. Supp. 2d at 1156, this Court agrees
10   with Plaintiff that the features that distinguish the Lotus Bags from the 828 Patent are
11   present in the prior art. Those features distinguishing the Lotus Bags from the 828 Patent
12   include but are not limited to the (1) mesh translucent feature; (2) additional carrying
13   handle; and (3) detailed handle stitching extending down the vertical length of the bag. As
14   shown below, all of these distinguishing features are present in the prior art:
15   Distinguishing
         Features
16                                                 Lotus Bags/912
     Present in 912        828 Patent                                           Prior Art:
                                                       Patent:
17   Patent but not
      in 828 Patent:
18
                                                                               RCD 0001
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      Mesh/
23    Translucent
24    Feature                                                                  RCD 002
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                                                -67-
                                                                              3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4998 Page 68 of 127



 1    Additional                                                                 RCD 0001
      Carrying
 2    Handle
 3
 4
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 6                                                                                 Doyle
      Detailed
 7    Handle
      Stitching
 8    Extending the
 9    Vertical
      Length of the
10    Bag
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12   Pltff. Mot. at 21-23.
13         Finally, “a design patent is not a substitute for a utility patent,” so “[a] device that
14   copies the utilitarian or functional features of a patented design is not an infringement
15   unless the ornamental aspects are also copied, such that the overall ‘resemblance is such as
16   to deceive.’” Lee, 838 F.2d at 1189. Here, the Court finds that even if Plaintiff had copied
17   features from Defendants’ design, a finding of infringement would still not be warranted
18   because if Plaintiff copied any features, those features were functional and not protectable.
19         Because the distinguishing features of the 828 Patent are present in the prior art,
20   even if the Court had found the 828 Patent valid, the Court finds Plaintiff has not infringed.
21   Plaintiff’s Motion for Summary Judgment on the basis of non-infringement is granted.
22                3.     Trademark Infringement

23         “The Lanham Act defines a trademark as ‘any word, name, symbol, or device, or
24   any combination thereof’ used by any person ‘to identify and distinguish his or her goods,
25   including a unique product, from those manufactured or sold by others and to indicate the
26   source of the goods, even if that source is unknown.’” Marketquest, 316 F. Supp. 3d at
27   1256 (citing 15 U.S.C. § 1127). “In effect, the trademark is the commercial substitute for
28   one’s signature.” Garner, Brian A., Black’s Law Dictionary, (11th ed. 2019).

                                                 -68-
                                                                                3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.4999 Page 69 of 127



 1         Plaintiff seeks summary judgment as to Trolley Bags’ counterclaim for trademark
 2   infringement by arguing that its use of the term “Lotus Trolley Bag” does not infringe on
 3   Defendants’ claimed Trademark of “TROLLEY BAGS.” See Pltff. Mot. at 33:8-12. As a
 4   preliminary matter, the Court notes that neither party makes explicitly clear—neither in the
 5   pleadings nor the briefing pertaining to these cross-motions for summary judgment—
 6   whether the trademark at issue pertains to the term “trolley bags,” Trolley Bags’ logo,
 7   and/or a combination of the two. An examination of the two logos indicates that the logos
 8   themselves appear to be markedly different:
 9                Plaintiff’s Logo:                           Trolley Bags’ Logo:

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15                ECF No. 83-5 at 36.                            ECF No. 83-417

16   See, e.g., One Indus., LLC v. Jim O'Neal Distrib., Inc., 578 F.3d 1154, 1165 (9th Cir. 2009)
17   (“A side-by-side comparison of the two marks speaks for itself” and showed that the marks
18   were “drastically different,” meaning that no reasonable jury could find a likelihood of
19
     17
            Despite both parties providing the Court with more than 1,231 pages of exhibits to
20   review related to these cross-motions for summary judgment, none of those documents
21   contained a clear photograph of Trolley Bags’ logo. However, Plaintiff’s Motion contained
     the USPTO Notice of Suspension regarding Trolley Bags’ U.S. Trademark Application
22   No. 87531929, see ECF No. 83-4, which contained a link stating, “VIEW YOUR
23   APPLICATION FILE,” which allowed the Court to access public records containing
     Trolley Bags’ application for trademark protection as well as its trademark specimen,
24   which is shown above. This application may be accessed here: https://tsdr.uspto.gov/
25   documentviewer?caseId=sn87531929&docId=RFA20170721074812#docIndex=5&page
     =1 (the “Application”). The Court takes judicial notice of the Application sua sponte. See
26   GeoVector, 234 F.Supp.3d at 1016 n.2.
27          Both parties are also reminded that pursuant to Section 2(e) of the Electronic Case
     Filing Manual, all parties are required to submit courtesy copies to chambers of any filings
28   exceeding twenty (20) pages.
                                                -69-
                                                                               3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5000 Page 70 of 127



 1   confusion). As such, the Court construes the claims at issue as pertaining only to the use
 2   of the term “trolley bags.” Further, Trolley Bags’ Application seems to confirm this
 3   conclusion because under “Mark Information,” it has a subcategory for “Mark,” which
 4   merely lists the words “TROLLEY BAGS.” See Application. Under “Mark Statement,”
 5   it also says “[t]he mark consists of standard characters, without claim to any particular font
 6   style, size, or color.” Id. However, under “Specimen,” it does display the logo above.
 7   Nonetheless, the Court proceeds by analyzing the mark in dispute as pertaining only to the
 8   use of the term “trolley bags.”
 9         In order to prevail on a federal common law trademark infringement claim, the party
10   alleging infringement must establish (1) a protected interest (e.g., a trademark) and (2) the
11   use of that protected interest by the party accused of infringing on the trademark is likely
12   to cause consumer confusion. Levi Strauss, 778 F.2d at 1354. “To receive federal
13   protection, a trademark must be (1) distinctive rather than merely descriptive or generic;
14   (2) affixed to a product that is actually sold in the marketplace; and (3) registered with the
15   U.S. Patent and Trademark Office.” Garner, Black’s Law Dictionary, TRADEMARK.
16   Unregistered trademarks, like the one at issue here, “are protected under common-law only,
17   and distinguished with the mark ‘TM.’” Id. To receive common law trademark protection,
18   a trademark must prove distinctiveness by showing it “(1) is inherently distinctive or (2)
19   has acquired distinctiveness through secondary meaning.” Two Pesos, 505 U.S. at 769.
20         Plaintiff argues that Defendants’ trademark infringement claims fail because the
21   term “TROLLEY BAG” (1) is merely descriptive; (2) has not acquired secondary meaning;
22   and (3) causes no likelihood of confusion. Pltff. Mot. at 29:22-12. Defendants respond
23   that they “have sufficient evidence that the TROLLEY BAGS mark is distinctive, either
24   because it is suggestive (and thus inherently distinctive) or because it has acquired
25   secondary meaning.” Def. Oppo. at 26:14-16. They base this argument on the fact that the
26   term trolley itself “is not a common term for a shopping cart in the United States.” Id. at
27   26:16-18. Plaintiff responds by arguing that Defendants concede they can only establish
28   entitlement to trademark protection through secondary meaning but have presented no such

                                                 -70-
                                                                                3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5001 Page 71 of 127



 1   evidence. Pltff. Reply at 8:21-25. Thus, Plaintiff argues that in the absence of evidence of
 2   secondary meaning, Plaintiff should receive summary judgment on Defendants’
 3   counterclaim for trademark infringement. Id.
 4         “The plaintiff bears the ultimate burden of proof in a trademark-infringement action
 5   that the trademark is valid and protectable.” Zobmondo, 602 F.3d at 1113. However,
 6   “federal registration provides ‘prima facie evidence’ of the mark’s validity and entitles the
 7   plaintiff to a ‘strong presumption’ that the mark is a protectable mark.” Id. (citing, inter
 8   alia, 15 U.S.C. §§ 1057(b), 1115(a)). Here, the UPSTO denied Defendants federal
 9   registration. “[W]hen a mark is not registered, the presumption of validity does not apply.”
10   Yellow Cab, 419 F.3d at 928. Thus, when a party claims a trademark is not protected due
11   to genericness “in an infringement case involving an unregistered mark,” as Plaintiff claims
12   in this case,18 the party claiming trademark protection, which in this case is Trolley Bags,
13   “has the burden of proof to show that the mark is valid and not generic.” Id.
14         The Lanham Act allows for registration of a trademark so long as the trademark does
15   not consist of, inter alia, (1) a mark so resembling another mark registered in the USPTO
16   “as to be likely, when used on or in connection with the goods of the applicant, to cause
17
     18
             Defendants claim that Plaintiff argues their disclaimer of the term before the USPTO
18   means that Defendants also disclaimed any right to common law trademark protection.
19   Def. Oppo. at 29:18-30:25 (citing Pltff. Mot. at 20:24). While the Court does not construe
     the cited portion of Plaintiff’s Motion as advancing that argument, it agrees with
20   Defendants that if Plaintiff intended to advance that argument, it would not warrant
21   granting summary judgment in favor of Plaintiff and against Defendants. The Lanham Act
     explicitly states that a disclaimer will not “prejudice or affect the applicant’s or registrant’s
22   rights then existing or thereafter arising in the disclaimed matter.” 15 U.S.C. § 1056(b);
23   see also Dep’t of Parks & Recreation for State of Cal. v. Bazaar Del Mundo Inc., 448 F.3d
     1118, 1125 (9th Cir. 2006) (“Registration under the Lanham Act has no effect on the
24   registrant’s rights under the common law, which requires a mark to have been used in
25   commerce before a protectible ownership interest in the mark arises.”); Official Airline
     Guides, Inc. v. Goss, 856 F.2d 85, 87 (9th Cir. 1988) (noting that the plaintiff’s disclaimer
26   of the claimed trademarked phrase in its registration did not deprive it of any common law
27   rights it may have had in the disclaimed matter). Thus, Defendants are correct that even in
     the presence of a disclaimer of the rights provided by federal registration, Defendants may
28   still prove entitlement to common law trademark protection.
                                                   -71-
                                                                                   3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5002 Page 72 of 127



 1   confusion” or (2) a mark that when used on or in connection with the goods is (a) merely
 2   descriptive or deceptively misdescriptive of them, (b) “primarily geographically
 3   descriptive of them,” (c) “primarily geographically deceptively misdescriptive of them,”
 4   (d) “is primarily a surname,” or (e) “compromises any matter that, as a whole, is
 5   functional.” 15 U.S.C. § 1052. Here, Defendants concede that the USPTO rejected their
 6   trademark application as merely descriptive but argue that this does not prevent them from
 7   proving trademark protection by establishing secondary meaning. Def. Oppo. at 30:17-20.
 8   Thus, the presumption of validity does not apply, and Trolley Bags must prove the mark is
 9   valid rather than generic. Yellow Cab, 419 F.3d at 928.
10         “In ruling on a motion for summary judgment, our inquiry ‘necessarily implicates
11   the substantive evidentiary standard of proof that would apply at the trial on the
12   merits.’” FreecycleSunnyvale v. Freecycle Network, 626 F.3d 509, 514 (9th Cir. 2010).
13   The Ninth Circuit has indicated that the “Lanham Act’s likelihood of confusion standard
14   is predominantly factual in nature.” Wendt, 125 F.3d at 812. “‘[S]ummary judgment is
15   generally disfavored in the trademark arena’ due to ‘the intensely factual nature of
16   trademark disputes.’” Marketquest Grp., 862 F.3d at 932; see also Fortune Dynamic, 618
17   F.3d at 1031. “However, ‘this is not invariably so.’” Marketquest Grp., 316 F. Supp. 3d
18   at 1255. “Claims or affirmative defenses in a trademark infringement action that lack a
19   sufficient evidentiary basis under the applicable standard of proof, or for which there are
20   only questions of law for the court to resolve, are appropriate for summary resolution.”
21   Marketquest Grp., 316 F. Supp. 3d at 1255-56. As outlined below, this Court concludes
22   that despite “the intensely factual nature of trademark disputes,” Plaintiff has shown that
23   Defendants lack evidence sufficient to create a genuine issue of fact that Plaintiff’s Lotus
24   Trolley Bag caused a likelihood of confusion. Thus, the Court grants Plaintiff’s Motion for
25   Summary Judgment on the basis of noninfringement as to Defendants’ claimed trademark.
26                  a.     The distinctiveness of the mark
27         The first step in claiming infringement requires the mark maker to show a “valid,
28   protectable trademark.” Brookfield, 174 F.3d at 1046. “The existence and extent of

                                                -72-
                                                                               3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5003 Page 73 of 127



 1   trademark protection for a particular term depends on that term’s inherent
 2   distinctiveness.” Calista Enters. v. Tenza Trading Ltd., 43 F.Supp.3d 1099, 1115 (D. Or.
 3   2014) (citing 15 U.S.C. § 1052). “Marks are often classified in categories of generally
 4   increasing distinctiveness; following the classic formulation set out by Judge Friendly, they
 5   may be (1) generic; (2) descriptive; (3) suggestive; (4) arbitrary; or (5) fanciful.” Two
 6   Pesos, 505 U.S. at 768. “Which category a mark belongs in is a question of fact.”
 7   Zobmondo, 602 F.3d at 1113. “Suggestive, arbitrary, and fanciful marks are considered
 8   ‘inherently distinctive’ and are automatically entitled to federal trademark protection
 9   because ‘their intrinsic nature serves to identify a particular source of a product.’” Id.
10   “‘Generic’ marks, or ‘common descriptive’ names for what a product is, are the weakest
11   category and receive no trademark protection.” Marketquest, 316 F. Supp. 3d at 1257. “A
12   ‘descriptive’ mark may be entitled to protection only if it has acquired distinctiveness
13   through secondary meaning.” Id.
14         Here, the parties apparently agree that the mark belongs either in the descriptive or
15   suggestive category, Def. Oppo. at 30:17-20; Pltff. Mot. at 31:6-7 (arguing that the “mark
16   is clearly descriptive”), and as such, there is no genuine issue of material fact if the Court
17   determines that the alleged mark fails to qualify under one of those categories. Defendants
18   argue their trademark falls within the categories of either a descriptive or suggestive mark.
19   Def. Oppo. at 26:14-16. Plaintiff argues that because the term “TROLLEY BAG” merely
20   describes the product itself, it receives no trademark protection. Pltff. Mot. at 30:16-31:12.
21   Defendants argue the record establishes that the mark is a generic term outside the United
22   States, but within the United States, it is suggestive, and thus, protectable. Id. at 27:20-24.
23                              i.    The term Trolley is not generic in the United States
24         “Generic marks give the general name of the product; they embrace an entire class
25   of products.” Kendall-Jackson Winery, Ltd. v. E. & J. Gallo Winery, 150 F.3d 1042, 1047
26   n. 8 (9th Cir. 1998). “For instance, ‘Liquid controls’ is a generic term for equipment for
27   dispensing and mixing liquids, and ‘Wickerware’ is a generic term for wicker furniture and
28   accessories, because those terms simply state what the product is.” Id. (internal citations

                                                  -73-
                                                                                 3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5004 Page 74 of 127



 1   omitted).
 2         Trademarks may be generic in a foreign country and suggestive within the United
 3   States. See, e.g., Anheuser-Busch Inc. v. Stroh Brewery Co., 750 F.2d 631, 642 (8th Cir.
 4   1984) (holding that the district court correctly declined consideration of the Australian
 5   experience regarding whether the term “LA” meant “low alcohol beer” because the case
 6   involved U.S. trademark law, meaning the Australian experience was not relevant); UGG
 7   Holdings, Inc. v. Severn, No. CV04-1137-JFW FMOX, 2005 WL 5887187, at *6 (C.D.
 8   Cal. Feb. 23, 2005) (granting the plaintiff’s motion for summary adjudication “[b]ecause
 9   there is no genuine issue of material fact as to the validity and protectability of Plaintiff’s
10   trademark” where the defendant was infringing on the plaintiffs’ trademark but had argued
11   the term “ugg” is generic in Australia, and thus, the court should apply the doctrine of
12   foreign equivalents to find that the term is unprotectable in the United States); Carcione v.
13   Greengrocer, Inc., No. S-78-561, 1979 WL 25110, at *1-2 (E.D. Cal. Oct. 12, 1979)
14   (denying the defendant’s motion for summary judgment on the ground that the term
15   “Greengrocer” is a generic term, and therefore, not protected by trademark law because
16   there was an issue of material fact: Even though both parties agreed the term “greengrocer”
17   was generic in Britain, they disagreed as to whether it was generic in the United States).
18         Here, Defendants concede that that “[t]he record establishes that the term ‘trolley’ is
19   a generic term outside the United States.” Def. Oppo. at 27:20-21. However, they contend
20   it is suggestive within the United States. Id. at 27:20-23. They further argue the term is
21   distinctive and protectable within the United States because the term “trolley” is not a
22   common term for a shopping cart in the United States. Id. at 26:16-18. Both parties agree
23   that the dictionary defines “trolley” as “a wheeled cart or stand pushed by hand and used
24   for moving heavy items, such as shopping in a supermarket or luggage at a railway station.”
25   Pltff. Mot. at 31:9-12; Def. Oppo. at 18-24. The Court notes that as Defendants have
26   pointed out, the dictionary definition relied upon by both parties is shown as a British term.
27   Def. Oppo. at 18:18-24. However, contrary to Defendants’ assertion that both of Plaintiff’s
28   corporate witnesses and co-founders confirmed that “the term ‘trolley bags’ … is not

                                                  -74-
                                                                                 3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5005 Page 75 of 127



 1   common in the United States,” Def. Oppo. 9 at 27:11-19 (citing to Jennifer Duvall’s
 2   Deposition Transcript, ECF No. 89-11 at 10, and Farzon Dehmoubed’s Deposition
 3   Transcript, ECF No. at 80-8 at 14), reference to the citations given confirms those witnesses
 4   did not, in fact, testify to that effect.
 5          Based on the evidence cited by both parties, Plaintiff has failed to show the absence
 6   of a genuine issue of fact as to whether the term “trolley” is generic within the United
 7   States. Rather, the evidence in the record supports a finding that a reasonable jury would
 8   conclude the term is not, in fact, generic. As such, in order to prevail on its Motion for
 9   Summary Judgment, Plaintiff must prove that the term is descriptive or suggestive.
10                                ii.    The term Trolley Bag is suggestive rather than descriptive
11          Whether a mark is descriptive or suggestive is a hotly disputed issue because
12   descriptive marks only receive trademark protection if secondary meaning is proved while
13   suggestive marks “receive trademark protection without proof of secondary meaning.”
14   Entrepreneur Media, Inc. v. Smith, 279 F.3d 1135, 1142, n. 3 (9th Cir. 2002). Plaintiff
15   argues that because the term “trolley bag” merely describes the qualifies or characteristics
16   of the product, it is merely descriptive and not entitled to trademark protection. Plff. Mot.
17   at 31:6-12. Plaintiff relies on the example cited by several courts that “Honey Baked Ham”
18   has been held to be “a descriptive term for a ham that has been baked with honey.”
19   Kendall-Jackson, 150 F.3d at 1047 n.8; Marketquest Grp., 316 F. Supp. 3d at 1258.
20   Defendant responds that because the average American consumer would not understand
21   trolley to refer to a shopping cart, the term “trolley bag” would not be understood by the
22   average consumer as describing a bag for a shopping cart. See generally Def. Oppo.
23          “Descriptive marks define qualities or characteristics of a product in a
24   straightforward way that requires no exercise of the imagination to be understood.”
25   Kendall-Jackson, 150 F.3d at 1047 n. 8. “A trademark is descriptive if it describes the
26   product to which it refers or its purpose.” Self-Realization Fellowship Church v. Ananda
27   Church of Self-Realization, 59 F.3d 902, 910 (9th Cir. 1995). “If a consumer must use
28   imagination or any type of multistage reasoning to understand the mark’s significance, then

                                                   -75-
                                                                                 3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5006 Page 76 of 127



 1   the mark does not describe the product’s features, but suggests them.” Kendall-Jackson,
 2   150 F.3d at 1047 n. 8. “Such a mark is therefore classified as ‘suggestive’ rather than
 3   ‘descriptive.’” Id. “Examples of suggestive marks include ‘Air Care’ for a service that
 4   maintains medical equipment used for administering oxygen, and ‘Anti–Washboard’ for a
 5   soap that makes scrubbing unnecessary when washing clothes.” Id.
 6         The term “trolley bag” does, in fact, describe the product. However, the Court finds
 7   that the average consumer would not understand “trolley bag” to describe a bag for a
 8   shopping cart but rather would require “multistage reasoning to understand the mark’s
 9   significance” (e.g., knowing that trolley is a term for a shopping cart in the United
10   Kingdom). Kendall-Jackson, 150 F.3d at 1047 n. 8. Accordingly, the Court determines
11   that the term “trolley bag” is a suggestive mark.
12         Because the Court determines the claimed mark is suggestive, proof of secondary
13   meaning is not required for the mark to receive trademark protection. Entrepreneur Media,
14   279 F.3d at 1142, n. 3. However, if the Court had found the mark to be descriptive,
15   secondary meaning would be required, and the Court finds that Defendants’ scant cited
16   evidence in the record did not create a genuine issue of fact as to secondary meaning. As
17   a result, if the Court had found the mark descriptive, the lack of evidence of secondary
18   meaning sufficient to create a genuine issue of fact would have resulted in Defendants’
19   claimed trademark receiving no protection.          However, having concluded Defendants
20   established a genuine issue of fact as to whether they have a protectable mark by presenting
21   evidence of a suggestive mark, Plaintiff must establish an absence of evidence of likelihood
22   of confusion in order to prevail on its motion for summary judgment of non-infringement
23   of Defendants’ claimed mark. Levi Strauss, 778 F.2d at 1354.
24                      b.     In the absence of evidence showing a likelihood of confusion,
                               there is no genuine issue of fact as to non-infringement
25
           Likelihood of confusion is a question of material fact. Levi Strauss, 778 F.2d at
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     1356, n.5. “The ‘likelihood of confusion’ inquiry generally considers whether a reasonably
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     prudent consumer in the marketplace is likely to be confused as to the origin or source of
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                                                 -76-
                                                                               3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5007 Page 77 of 127



 1   the goods or services bearing one of the marks or names at issue in the case.” Rearden
 2   LLC v. Rearden Commerce, Inc., 683 F.3d 1190, 1209 (9th Cir. 2011). “Eight factors,
 3   sometimes referred to as the Sleekcraft factors, guide the inquiry into whether a defendant’s
 4   use of a mark is likely to confuse consumers.” Fortune Dynamic, 618 F.3d at 1030. Those
 5   eight factors consider the following: (1) strength of the mark, (2) proximity of the goods,
 6   (3) similarity of the marks, (4) evidence of actual confusion, (5) marketing channels used,
 7   (6) type of goods and the degree of care likely to be exercised by the purchaser, (7)
 8   defendant’s intent in selecting the mark, and (8) likelihood of expansion of the product
 9   lines. Rearden, 683 F.3d at 1209, (citing Sleekcraft, 599 F.2d at 348-49).
10         “The factors are non-exhaustive and applied flexibly; the Sleekcraft factors are not
11   intended to be a ‘rote checklist.’” JL Beverage Co., LLC v. Jim Beam Brands Co., 828 F.3d
12   1098, 1106 (9th Cir. 2016) (quoting Rearden, 683 F.3d at 1209).19 “Although some
13   factors—such as the similarity of the marks and whether the two companies are direct
14   competitors—will always be important, it is often possible to reach a conclusion with
15   respect to likelihood of confusion after considering only a subset of the factors.”
16   Brookfield, 174 F.3d at 1054; see also Stone Creek, 875 F.3d at 432 (“Two particularly
17   probative factors are the similarity of the marks and the proximity of the goods.”). “A
18   determination may rest on only those factors that are most pertinent to the particular case
19   before the court, and other variables besides the enumerated factors should also be taken
20   into account based on the particular circumstances.”         Rearden, 683 F.3d at 1209.
21   Considering “the open-ended nature of this multi-prong inquiry, it is not surprising that
22   summary judgment on ‘likelihood of confusion’ grounds is generally disfavored.” Id. at
23   1210. “However, in cases where the evidence is clear,” the Ninth Circuit has “not hesitated
24   to affirm summary judgment on this point.” Au-Tomotive Gold, Inc. v. Volkswagen of Am.,
25   Inc., 457 F.3d 1062, 1075 (9th Cir. 2006). The Court addresses each Sleekcraft factor in
26
27   19
           “Not all factors are created equal, and their relative weight varies based on the
     context of a particular case.” Stone Creek, Inc. v. Omnia Italian Design, Inc., 875 F.3d
28   426, 431 (9th Cir. 2017), cert. denied, —U.S.—, 138 S. Ct. 1984 (2018).
                                                 -77-
                                                                               3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5008 Page 78 of 127



 1   turn. However, as with secondary meaning, Defendants have failed to present sufficient
 2   evidence as to the Sleekcraft factors, such that the Court must grant summary judgment in
 3   favor of Plaintiff and against Defendants as to the infringement issue.
 4                             i.     Strength of the mark
 5         “The more likely a mark is to be remembered and associated in the public mind with
 6   the mark’s owner, the greater protection the mark is accorded by trademark laws.”
 7   GoTo.com, Inc. v. Walt Disney Co., 202 F.3d 1199, 1207 (9th Cir. 2000). A mark’s strength
 8   is evaluated based on two components: “the mark’s inherent distinctiveness (i.e., its
 9   conceptual strength)” and “the mark’s recognition in the market (i.e., its commercial
10   strength).” Stone Creek, 875 F.3d at 432.
11         “A mark’s conceptual strength ‘depends largely on the obviousness of its connection
12   to the good or service to which it refers.’” JL Beverage Co., 828 F.3d at 1107 (quoting
13   Fortune Dynamic, 618 F.3d at 1032-33). “The more distinctive a mark, the greater its
14   conceptual strength; in other words, a mark’s conceptual strength is proportional to the
15   mark’s distinctiveness.” M2 Software, Inc. v. Madacy Entm’t, 421 F.3d 1073, 1080 (9th
16   Cir. 2005). Suggestive marks, which fall in the middle of the spectrum, “suggest a
17   product’s features and require consumers to exercise some imagination to associate the
18   suggestive mark with the product.” JL Beverage Co., 828 F.3d at 1107. In this case, the
19   Court has already ruled that the mark at issue is suggestive at best.
20         “After identifying whether a mark is generic, descriptive, suggestive, arbitrary, or
21   fanciful, the court determines the mark’s commercial strength.” Id. Commercial strength
22   “is based on actual market place recognition.” Network Automation Inc. v. Advanced
23   Systems Concepts, Inc., 638 F.3d 1137, 1149 (9th Cir. 2011) (internal quotations omitted).
24   It “may be demonstrated by commercial success, extensive advertising, length of exclusive
25   use, and public recognition.” Adidas Am., Inc. v. Calmese, 662 F. Supp. 2d 1294, 1303 (D.
26   Or. 2009). Further, “a suggestive or descriptive mark, which is conceptually weak, can
27   have its overall strength as a mark bolstered by its commercial success” or by advertising
28   expenditures that increase its market recognition. M2 Software, 421 F.3d at 1081.

                                                 -78-
                                                                               3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5009 Page 79 of 127



 1         In this case, Defendants cited to no evidence whatsoever in support of the Sleekcraft
 2   factors and rather merely conclusorily stated that several of the factors weighed in
 3   Defendants’ favor. Notably, the four factors Defendants stated weighed in their favor did
 4   not include strength of the mark. Defs. Oppo. at 31:7-12. Without evidence creating a
 5   genuine issue of fact as to the strength of the mark, summary judgment could be granted in
 6   Plaintiff’s favor. However, Defendants discuss evidence of advertising, exclusive use, and
 7   public recognition to show secondary meaning, so in an effort to construe all evidence in
 8   favor of the non-moving party, Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986),
 9   the Court analyzes those issues.
10         As to advertising, Defendants cited to the amount they spent in advertising to
11   promote their product between November 2016 and August 2019 without providing any
12   detail as to the types of advertisements (e.g., print, television commercials, social media)
13   and/or degree of advertisements (e.g., national, local, etc.). The Declaration of Joby
14   Cronshaw cited by the Opposition as support for this factor also does not contain this
15   information. In examining whether advertising is enough to establish secondary meaning,
16   courts examine the advertising’s “‘amount, nature and geographical scope’ with an eye
17   towards how likely the advertising is to expose a large number of the relevant consuming
18   public to the use of the symbol as a trademark or trade name.” Japan Telecom, Inc. v.
19   Japan Telecom Am. Inc., 287 F.3d 866, 875 (9th Cir. 2002). Here, Defendants have failed
20   to provide any evidence as to the amount, nature, and geographical scope of advertising.
21         As to exclusive use, Defendants merely state that they have used the mark since at
22   least 2015. Def. Oppo. at 28:14-17. As to whether the use of the claimed trademark has
23   been exclusive, Defendants appear to make no argument on this issue beyond stating that
24   they sold bags under the mark from April 2016 and August 2019. Id. at 28:17-20; see also
25   Pltff. Reply at 10:16-17 (noting that as to exclusive use, “TB UK provides no argument
26   regarding the length of exclusive use of the mark”). However, as Plaintiff also notes, “the
27   longest period of exclusive use would have been eight (8) months” because “TB UK first
28   used the mark in April 2016” and Plaintiff “started Lotus Bags in the 4 th quarter of 2016.”

                                                -79-
                                                                               3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5010 Page 80 of 127



 1   Pltff. Reply at 10:16-20.
 2         As to public recognition, pertaining to “whether actual purchasers of the product
 3   bearing the claimed trademark associated the trademark with the producer,” Japan
 4   Telecom, 287 F.3d at 873-75, Defendants merely cite the number of bags they sold from
 5   April 2016 to August 2019 under the mark as evidence of this factor. Def. Oppo. at 28:17-
 6   20. This is not evidence of actual association, and thus, fails to establish public recognition.
 7         The Court further finds that Defendants have failed to present evidence as to the
 8   commercial strength of the mark given the absence of evidence showing the scope of
 9   advertising, exclusivity, and/or public use. See, e.g., Brookfield, 174 F.3d at 1058-59
10   (holding that “the district court did not clearly err in classifying ‘MovieBuff’ as weak”
11   where the plaintiff claiming trademark infringement presented use of the claimed
12   trademark “MovieBuff” for over five years, expenditures of $100,000 in advertising the
13   mark, and the plaintiff had “not come forth with substantial evidence establishing the
14   widespread recognition of its mark”). The Court finds that no genuine issue of fact exists
15   as to the strength of the mark given Defendants’ failure to provide evidence.
16                               ii.   Proximity/relatedness of the goods
17         “Related goods are generally more likely than unrelated goods to confuse the public
18   as to the producers of the goods.” Brookfield, 174 F.3d at 1055. “For related goods, the
19   danger presented is that the public will mistakenly assume there is an association between
20   the producers of the related goods, though no such association exists.” Sleekcraft, 599 F.2d
21   at 350. In addressing this factor, the Court focuses on whether the consuming public is
22   likely to somehow associate Defendant’s Lotus Bags with Plaintiff’s Trolleybags.
23   Brookfield, 174 F.3d at 1056; 4 J. Thomas McCarthy on Trademarks and Unfair
24   Competition, § 24:24 (5th ed. 2017) (“Goods are ‘related’ if customers are likely to
25   mistakenly think that the infringer’s goods come from the same source as the senior user’s
26   goods or are sponsored by, affiliated with or connected with the senior user.”). Here,
27   Defendants failed to present any evidence in their opposition as to the relatedness of the
28   goods beyond their conclusory statements that “proximity of the goods” supports a finding

                                                  -80-
                                                                                  3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5011 Page 81 of 127



 1   of likelihood of confusion. The Court, nonetheless, concludes that the two marks, both of
 2   which pertain to shopping bags, are related. This factor slightly weighs in Defendants’
 3   favor despite their failure to provide any evidence on the issue.
 4                             iii.   Similarity of the marks
 5         “[T]he similarity of the marks…has always been considered a critical question in the
 6   likelihood-of-confusion analysis.” GoTo.com, 202 F.3d at 1205; Brookfield, 174 F.3d at
 7   1054. “Three general principles help determine whether the marks are similar.” Fortune
 8   Dynamic, 618 F.3d at 1032. First, “[s]imilarity is best adjudged by appearance, sound, and
 9   meaning.” Id. Second, even where the marks are identical, “their similarity must be
10   considered in light of the way the marks are encountered in the marketplace and the
11   circumstances surrounding the purchase.” Lindy Pen Co. v. Bic Pen Corp., 725 F.2d 1240,
12   1245 (9th Cir. 1984). “Third, similarities are weighed more heavily than differences.”
13   Fortune Dynamic, 618 F.3d at 1032. “Packaging is certainly a factor in the overall
14   appearance of a mark in the marketplace.” PowerFood, Inc. v. Sports Science Inst., No. C-
15   93-0259 MHP, 1993 WL 13681782, at *6 (N.D. Cal. Mar. 11, 1993). The Ninth Circuit
16   has held that use of a house mark or distinctive logo on packaging and advertising can
17   reduce the likelihood of confusion. Lindy Pen Co., Inc., 725 F.2d at 1245 n.4.
18         In Lindy Pen Co., after concluding that the marks themselves were identical if
19   viewed in isolation, the Ninth Circuit looked at how the Lindy’s “Auditor’s” and Bic’s
20   “Auditor’s fine point” appeared in the marketplace and held that the appearance of the
21   pens, packaging, and display and promotional materials were dissimilar and readily
22   distinguishable.   725 F.2d at 1245.      The court observed that the pens’ dissimilar
23   appearance; dominance of the company marks and logos on the pens themselves; and the
24   dissimilar and distinctive packaging and promotional material overcame the similarity of
25   the marks considered in isolation. Id.; see also Charles Schwab & Co., Inc. v. Hibernia
26   Bank, 665 F. Supp. 800, 808 (N.D. Cal. 1987) (the house mark was downplayed in
27   brochures and advertisements while the infringing mark was in bold and more conspicuous
28   mark; therefore, marks were identical); PowerFood, Inc., 2013 WL 13681782, at *7

                                                 -81-
                                                                             3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5012 Page 82 of 127



 1   (“packaging element which renders marks dissimilar is the appearance of conspicuous
 2   ‘house marks’, or producer names, on the labels.”)
 3         Defendants conclusorily state that the similarity of the marks strongly supports a
 4   finding of likelihood of conclusion. Def. Oppo. at 31:10-12. While Defendants focus on
 5   the identical words used in the marks without focusing at all on how the marks appear in
 6   the marketplace, the Court must consider both. See Fortune Dynamic, Inc., 618 F.3d at
 7   1032. The Court finds that the two marks, although both containing the term “TROLLEY
 8   BAG” in white all capital letters in a Sans Serif typeface, are distinct in the following
 9   respects: First, both marks use a different symbol, with Plaintiff’s logo containing a lotus
10   flower and Trolley Bags’ logo using a shopping cart. Second, Plaintiff’s design contains
11   only the logo and words “LOTUS TROLLEY BAG” underneath the flower while Trolley
12   Bags’ bags each have numbers on them to indicate bag size, have the term “TROLLEY
13   BAGS” contained within the symbol of the shopping cart, and include the terms “Parking
14   Sorted” with a checkmark, the word “Original” in a script font, and the website. Third,
15   Plaintiff’s bags appear to only be available in pastel colors. Defendants’ bags, on the other
16   hand, come in primary and secondary colors. Like the Lindy Pen court, this Court
17   concludes that even though the marks use the same term, the dominance of the logos on
18   the bags, distinctive packaging, coloring, and overall appearance make the marks
19   dissimilar. Thus, this factor weighs against a finding of infringement.
20                             iv.    Evidence of Actual Confusion
21         “[E]vidence of actual confusion, at least on the part of an appreciable portion of the
22   actual consuming public, constitutes strong support for a ‘likelihood of confusion, finding.”
23   Rearden, 683 F.3d at 1210. Moreover, “[e]vidence that use of the two marks has already
24   led to confusion is persuasive proof that future confusion is likely.”20 Sleekcraft, 599 F.2d
25
     20
           “In the Ninth Circuit, district courts often rely on three types of evidence to
26   demonstrate actual confusion: (1) evidence of actual instances of confusion; (2) survey
27   evidence; and (3) inferences arising from judicial comparison of the conflicting marks and
     the context of their use in the marketplace.” HM Elecs. v. R.F. Techs., No. 12-CV-2884-
28   MMA (WMC), 2013 WL 120074966, at *5 (S.D. Cal. Oct. 3, 2013).
                                                 -82-
                                                                                3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5013 Page 83 of 127



 1   at 352. Nevertheless, “[b]ecause of the difficulty in garnering such evidence, the failure to
 2   prove instances of actual confusion is not dispositive.” Id. at 353. Thus, “this factor is
 3   weighed heavily only when there is evidence of past confusion….” Id.
 4         Plaintiff argues that “there have been no incidents of actual confusion.” Pltff. Mot.
 5   at 33:10. Defendants have failed to provide any evidence to the contrary. See generally
 6   Def. Oppo. In light of Defendants’ failure to direct the Court to any evidence of actual
 7   confusion, this factor weighs strongly against a finding of infringement.
 8                             v.     Marketing Channels Used
 9         “Convergent marketing channels increase the likelihood of confusion.” Nutri/Sys.,
10   Inc. v. Con-Stan Indus., Inc., 809 F.2d 601, 606 (9th Cir. 1987). “In assessing marketing
11   channel convergence, courts consider whether the parties’ customer bases overlap and how
12   the parties advertise and market their products.” Pom Wonderful LLC v. Hubbard, 775
13   F.3d 1118, 1130 (9th Cir. 2014). “The greater the degree of overlap, the more likely there
14   is to be confusion.” Fiji Water Co., LLC v. Fiji Mineral Water USA, LLC, 741 F. Supp. 2d
15   1165, 1180 (C.D. Cal. 2010) (citing Sleekcraft, 599 F.2d at 353).
16         Here, Defendants failed to provide any evidence as to the marketing channels they
17   used compared with the marketing channels used by Plaintiff. Defendants have not shown
18   how the two parties advertise or market their products. See, e.g., Cont’l Lab. Prod., Inc. v.
19   Medax Int’l, Inc., 114 F. Supp. 2d 992, 1001 (S.D. Cal. 2000) (providing that with respect
20   to secondary meaning, even assuming a flyer advertisement drew attention to the product
21   at issue, the plaintiff provided “no evidence as to the number of flyers distributed, how they
22   were distributed and who received them”; thus, there was “no evidence that this brief run
23   of promotional flyers . . . had any effectiveness in creating secondary meaning”); see also
24   Echo Travel, Inc. v. Travel Associates. Inc., 870 F.2d 1264, 1269-70 (7th Cir.1989)
25   (affirming summary judgment against a trademark plaintiff who placed 25,000
26   promotional posters on college campuses but failed to provide evidence as to the amount
27   of time the posters remained hanging, number of students at various campuses, and other
28   relevant demographic evidence). From the pleadings and briefs, it is clear both parties used

                                                 -83-
                                                                                 3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5014 Page 84 of 127



 1   the Internet and Amazon.com to advertise. Nonetheless, such advertising is common with
 2   many retailers. As is, the lack of evidence presented by Defendants as to other convergent
 3   marketing channels—such as Instagram, Facebook, commercials, etc.—requires that this
 4   factor weighs against a finding of infringement.
 5                             vi.    Type of goods and degree of care likely exercised by
                                      purchaser
 6
           “In analyzing the degree of care that a consumer might exercise in purchasing the
 7
     parties’ goods, the question is whether a ‘reasonably prudent consumer’ would take the
 8
     time to distinguish between the two product lines.” Surfvivor Media, Inc. v. Survivor
 9
     Prods., 406 F.3d 625, 634 (9th Cir. 2005). Courts look both to the “relative sophistication
10
     of the relevant consumer,” Fortune Dynamic, 618 F.3d at 1038, and the cost of the item,
11
     Brookfield, 174 F.3d at 1060, in determining the degree of care likely to be exercised by
12
     the purchaser. The “reasonably prudent consumer” is expected “to be more discerning—
13
     and less easily confused—when he is purchasing expensive items.” Id. “On the other
14
     hand, when dealing with inexpensive products, customers are likely to exercise less care,
15
     thus making confusion more likely.” Id.
16
           Here, the parties have not presented any evidence as to the cost of their respective
17
     products. They have also failed to present any evidence on the probable degree of care
18
     exercised by their consumers. In the absence of evidence in the record showing that the
19
     type of goods and degree of care exercised by purchasers would lend to a likelihood of
20
     confusion, the Court finds that this factor weighs against a finding of infringement.
21
                               vii.   Defendant’s intent in selecting mark
22
           While “not required for a finding of trademark infringement,” Brookfield, 174 F.3d
23
     at 1059, “[w]hen an alleged infringer knowingly adopts a mark similar to another’s, courts
24
     will presume an intent to deceive the public,” Official Airline Guides, Inc. v. Goss, 6 F.3d
25
     1385, 1394 (9th Cir. 1993). This factor is of “minimal importance.” GoTo.com, Inc., at
26
     1208 (declining to attempt to divine the defendant’s intent).
27
           Defendants conclusorily argue that the factor of intent in selecting the mark weighs
28

                                                -84-
                                                                               3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5015 Page 85 of 127



 1   in favor of a finding of likelihood of confusion. Def. Oppo. at 31:10-12. However,
 2   Defendants, although showing that Plaintiff’s creators knew of Trolley Bags’ products at
 3   the time Plaintiff created its own product, have not established intent to appropriate or copy
 4   Defendants’ trademark.21          Because this factor is “minimally important,” the Court
 5   concludes that this factor is neutral for the purposes of summary judgment. See GoTo.com,
 6   Inc., 202 F.3d at 1208.
 7                               viii. Likelihood of Expansion of Product Lines
 8          “[A] ‘strong possibility’ that either party may expand his business to compete with
 9   the other will weigh in favor of finding that the present use is infringing.” Sleekcraft, 599
10   F.2d at 354. When, however, the parties “already compete to a significant extent,” as they
11   do here, this factor is “relatively unimportant” to the likelihood of confusion analysis.
12   Brookfield, 174 F.3d at 1060. Neither party directed the Court to evidence on this issue.
13   Because the parties’ goods are already related, the Court finds the factor to be neutral and
14   affords it little weight.
15                               ix.     Evaluation of the Factors
16          Plaintiff argues that because “the marks are not confusingly similar, and there have
17   been no incidents of actual confusion,” the Court should grant summary judgment in its
18
19
     21
            Defendants insinuate that Mr. Dehmoubed admitted to copying Defendants’ bags.
     See Def. Oppo at 29 (noting that Mr. Dehmoubed testified that he probably purchased one
20   of Defendants’ bags in April or May 2017 when designing its own competing bags).
21   However, Mr. Dehmoubed also testified that although he “had seen your client’s bag before
     our bags hit Amazon, . . . it was after we had already designed and had our prototypes and
22   picked the features and functions that we wanted in our bag.” ECF No. 80-8 at 17. He
23   also testified that he did not make any changes to the Lotus Bags after purchasing one of
     Defendants’ bags. Id. Thus, contrary to Defendants’ suggestion, they have not proven
24   copying. Further, even if Defendants had provided evidence of copying, which also factors
25   into showing secondary meaning, courts have held that “[e]vidence of deliberate copying
     does not always support an inference of secondary meaning because ‘competitors may
26   intentionally copy product features for a variety of reasons,’” such as choosing “to copy
27   wholly functional features that they perceive as lacking any secondary meaning because of
     those features’ intrinsic economic benefits.” Seirus Innovative Accessories, Inc. v. Gordini
28   U.S.A. Inc., 849 F. Supp. 2d 963, 985 (S.D. Cal. 2012).
                                                   -85-
                                                                                3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5016 Page 86 of 127



 1   favor on Defendants’ claim for trademark infringement. Pltff. Mot. at 33:8-12. Defendants
 2   argue that Plaintiff’s failure to adequately address the fact intensive inquiry of likelihood
 3   of confusion somehow constitutes a concession that if Defendants have a protectable mark,
 4   there is sufficient evidence of likelihood of confusion. Def. Oppo at 31:4-8. They further
 5   contend that several of the Sleekcraft factors strongly support a finding of likelihood of
 6   confusion. Id. at 31:1-28. However, Defendants’ only conclusorily allege that several of
 7   the Sleekcraft factors—such as proximity of the goods, similarity of the marks, marketing
 8   channels, and intent in selecting the mark—support a finding of likelihood of confusion
 9   without citing to any evidence to support this conclusion. Id. at 31:10-12.
10         Evaluating all the factors and evidence provided by the parties, the Court cannot find
11   that Defendants demonstrated a likelihood of consumer confusion.                  While the
12   proximity/relatedness of the goods weighed in Defendants’ favor, other factors weighed
13   strongly in Plaintiff’s favor. The Court also found the factors of intent in selecting the
14   mark and likelihood of expansion of product lines to be neutral. While one of the eight
15   factors favored Defendants, in determining whether a likelihood of confusion of the parties’
16   marks exists, the court does not “merely count beans or tally points.” Stone Creek, 875
17   F.3d at 431. “Not all factors are created equal, and their relative weight varies based on
18   the context of a particular case.” Stone Creek, 875 F.3d at 431. Further, the Court also
19   concluded that Defendants failed to present evidence as to (1) the commercial strength of
20   the mark, (2) actual confusion, (3) marketing channels used, and (4) the type of goods and
21   degree of care exercised by purchasers. Courts must enter summary judgment “against a
22   party who fails to make a showing sufficient to establish the existence of an element
23   essential to that party’s case, and on which that party will bear the burden of proof at
24   trial.” Celotex, 477 U.S. at 322; see also FED. R. CIV. P. 56(c)(1)(B) (providing that a party
25   moving for summary judgment on the basis that a fact cannot be genuinely disputed may
26   support the party’s motion by “showing that the materials cited [in the record] do not
27   establish the . . . presence of a genuine dispute”). As a result, in the absence of evidence
28   on those issues, the Court concludes that there are no genuine issues of material fact, and

                                                 -86-
                                                                                3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5017 Page 87 of 127



 1   the Sleekcraft factors weigh in favor of a finding that there was no likelihood of confusion.
 2   Therefore, infringement did not occur.
 3         Therefore, the Court GRANTS Plaintiff’s Motion for Summary Judgment on its
 4   trademark infringement claim. The Court enters judgment in favor of Plaintiff as to
 5   Plaintiff’s Second Claim for Relief seeking a declaratory judgment of non-infringement of
 6   the Trademark and against Defendants as to Defendants’ related Second Counterclaim, for
 7   common law trademark infringement.
 8       B.    Defendants’ Motion for Summary Judgment.
 9         Plaintiff alleges five claims for relief arising out of tort law: the Third Claim for
10   Relief for interference with prospective of contractual economic relations; the Fourth
11   Claim for Relief for negligent misrepresentation; the Fifth Claim for Relief for unfair
12   competition under 15 U.S.C. § 1125; the Sixth Claim for Relief for unfair competition
13   pursuant to Cal. Bus. & Prof. Code § 17200; and the Seventh Claim for Relief for common
14   law unfair competition against. See Compl.
15         Defendants argue they are entitled to summary judgment as to the tort claims because
16   (1) Plaintiff’s tort claims are based on Defendants’ reports to Amazon, alleging that
17   Plaintiff’s products infringe upon Defendants’ patent and trademark, but California’s
18   litigation privilege and the Noerr-Pennington doctrine protect Defendants’ statements to
19   Amazon; (2) Plaintiff lacks any affirmative evidence of bad faith rendering Plaintiff’s
20   claims preempted by federal patent law; (3) Plaintiff lacks evidence of damages required
21   to sustain any tort claim; and (4) Plaintiff cannot satisfy at least one element of each of the
22   tort claims. Def. Mot. at 2:12-26. Plaintiff responds that because “Defendants’ complaints
23   to Amazon were baseless,” they should not enjoy protection from litigation as they “fit
24   squarely within the sham exception” to the Noerr-Pennington doctrine. Pltff. Oppo. at
25   10:1-12. Defendants respond that Plaintiff’s arguments in opposition must fail because (1)
26   Plaintiff provides no support for its suggestions that Defendants’ complaints were
27   objectively baseless or unlawful, and thus, the Noerr-Pennington doctrine bars Plaintiff’s
28   claims and (2) “[e]ven if Plaintiff could show Defendants’ complaints were made in bad

                                                  -87-
                                                                                 3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5018 Page 88 of 127



 1   faith—and it cannot—it still could not overcome” the absolute protection provided by the
 2   litigation privilege. Def. Reply at 4:21-28.
 3         As a preliminary matter, in considering Defendants’ Motion, which pertains to four
 4   claims asserted under California state tort law, the Court applies California law. See, e.g.,
 5   O’Campo v. Chico Mall, LP, 758 F.Supp.2d 976, 984-85 (E.D. Cal. 2010) (“When federal
 6   courts consider claims under state law, they are to apply federal procedural law and state
 7   substantive law.”) (citing Erie R. Co. v. Tompkins, 304 U.S. 64 (1938)). As outlined below,
 8   the Court concludes that summary judgment is not warranted on the basis of (1) the
 9   litigation privilege as a genuine issue of fact exists as to whether Defendants had a good
10   faith intent to pursue litigation; (2) the Noerr-Pennington doctrine because it does not apply
11   to pre-litigation complaints made to a private, third party, like Amazon; (3) Plaintiff’s
12   claims being precluded by federal patent law because a genuine issue of fact exists as to
13   whether Defendants’ claims were made in bad faith; (4) Plaintiff’s claims failing to provide
14   evidence of damages because Plaintiff has provided sufficient evidence to create a genuine
15   issue of fact as to damages; and (5) Plaintiff’s failure to prove a required element of two of
16   its tort claims because a genuine issue of fact exists as to Plaintiff’s claims for intentional
17   interference with prospective economic advantage and negligent representation. However,
18   as to Plaintiff’s other three tort claims for unfair competition under the Lanham Act,
19   California’s UCL, and common law, Defendants have shown Plaintiff’s evidence fails to
20   show a genuine issue of fact, and in the absence of such evidence, Plaintiff cannot carry its
21   burden of proof for proving those claims. Accordingly, the Court grants Defendant’s
22   motion for summary judgment as to those claims only and dismisses them with prejudice.
23                1.     Whether the Litigation Privilege or Noerr-Pennington Doctrine Bar
                         Plaintiff’s Tort Claims.
24
25         Defendants argue that “California’s litigation privilege and the Noerr-Pennington

26   doctrine protect Defendants’ presuit communications with Amazon,” and as a result,

27   “Defendants are entitled to judgment on Plaintiff’s tort claims.” Def. Mot. at 14:3-4.

28   Plaintiff responds by arguing that “Defendants’ serial, baseless complaints are not the

                                                    -88-
                                                                                 3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5019 Page 89 of 127



 1   communications that Noerr-Pennington aims to protect,” so “[t]he Court should not reward
 2   Defendant’s [sic] anti-competitive behavior by providing protection for it.” Pltff. Oppo. at
 3   10:1-15. Defendants reply that the evidence indicates their claims were not objectively
 4   baseless, and as such, neither the bad faith exception to the litigation privilege nor the sham
 5   litigation exception to the Noerr-Pennington doctrine apply to this case. Def. Reply at
 6   7:14-11:18. As outlined below, the Court finds that it would be inappropriate to grant
 7   summary judgment on the basis of the litigation privilege or Noerr-Pennington doctrine as
 8   a genuine issue of fact exists as to whether Defendants’ reports to Amazon were made in
 9   bad faith, and the Noerr-Pennington doctrine does not apply to this situation.
10                       a.     California’s Litigation Privilege
11         Plaintiff’s tort law claims for relief in the complaint arise out of Defendants’ acts of
12   reporting Plaintiff to Amazon for patent and trademark infringement. See, e.g., Compl. at
13   8:19-23, ¶¶ 48-49; see also id. at 9:8-10, ¶ 54. Defendants argue the litigation privilege
14   protects the “reporting of suspected wrongdoing to a party capable of remedying it,” and
15   because that was what Defendants intended to do when they reported Plaintiff’s bags to
16   Amazons, the Court should enter summary judgment in Defendants’ favor. Def. Mot. at
17   14:4-9 (citing TP Link USA Corp. v. Careful Shopper LLC, No. 819CV00082JLSKES,
18   2020 WL 3063956, at *9 (C.D. Cal. Mar. 23, 2020), reconsideration denied, 2020 WL
19   4353678 (C.D. Cal. June 30, 2020)). Plaintiff responds by arguing that the litigation
20   privilege does not extend to hollow threats and determining whether communications were
21   made in good faith or represent mere hollow threats often requires a factual determination,
22   which makes summary judgment inappropriate. Pltff. Oppo. at 18:11-26. Defendants
23   reply that they have “many pieces of evidence of Plaintiff’s infringement, undercutting any
24   suggestion that its infringement complaints were ‘objectively baseless,’” including but not
25   limited to (1) the fact that Plaintiff’s listings were removed after Amazon’s review; (2)
26   Defendants’ own expert testified that that Plaintiff’s bags infringe the 828 Patent; and (3)
27   a comparison of the 828 Patent figures with Plaintiff’s bags shows the claim is not
28   objectively baseless. Def. Reply at 8:2-22.

                                                  -89-
                                                                                 3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5020 Page 90 of 127



 1         Civil Code, section 47(b) codifies California’s litigation privilege and provides that
 2   any publication made “[i]n any (1) legislative proceeding, (2) judicial proceeding, (3) . . .
 3   other official proceeding authorized by law, or (4) . . . the initiation or course of any other
 4   proceeding authorized by law” is privileged.         CAL. CIV. CODE § 47(b).        Case law
 5   interpreting the litigation privilege for judicial proceedings has held that “California’s
 6   litigation privilege applies to any communication ‘(1) made in judicial or quasi-judicial
 7   proceedings; (2) by litigants or other participants authorized by law; (3) to achieve the
 8   objects of the litigation; and (4) that ha[s] some connection or logical relation to the
 9   action.’” Graham-Sult v. Clainos, 756 F.3d 724, 741 (9th Cir. 2014) (citing CAL. CIV.
10   CODE § 47(b)). “The privilege ‘immunizes defendants from virtually any tort liability
11   (including claims for fraud), with the sole exception of causes of action for malicious
12   prosecution.’” Id. As a result, the litigation privilege “presents a substantive defense a
13   plaintiff must overcome to demonstrate a probability of prevailing,” id, which applies “to
14   a number of torts, including intentional interference,” Visto Corp. v. Sproqit Techs., Inc.,
15   360 F. Supp. 2d 1064, 1068 (N.D. Cal. 2005). Where the parties do not dispute the
16   operative facts, application of the litigation privilege presents a question of law. In re
17   Cedar Funding, Inc., 419 B.R. 807, 816 (B.A.P. 9th Cir. 2009); Sengchanthalangsy v.
18   Accelerated Recovery Specialists, Inc., 473 F. Supp. 2d 1083, 1087 (S.D. Cal. 2007). “Any
19   doubt about whether the privilege applies is resolved in favor of applying it.” Kashian v.
20   Harriman, 98 Cal. App. 4th 892, 913 (2002).
21         “[T]he policy of encouraging free access to the courts is so important that the
22   litigation privilege extends beyond claims of defamation to claims of . . . interference with
23   contract and prospective economic advantage,” Visto, 360 F. Supp. 2d at 1071, like those
24   at issue in this case. In the present case, the parties do not appear to dispute the (1) second
25   prong, pertaining to whether the communications (e.g., Defendants’ complaints to
26   Amazon) were made by litigants (e.g., Defendants) or other participants authorized by law
27   (e.g., Amazon) or (2) fourth prong, pertaining to whether the communications have a
28

                                                  -90-
                                                                                 3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5021 Page 91 of 127



 1   connection to the lawsuit.22 Thus, the parties appear only to dispute the first prong (e.g.,
 2   whether the communications were part of a judicial or quasi-judicial proceeding) and third
 3   prong (e.g., whether the communications were made to achieve the objects of litigation).
 4          With respect to the first prong, pertaining to whether the communication was made
 5   in a judicial proceeding, communications preceding a judicial proceeding “are privileged
 6   only if made in connection with proposed litigation contemplated in good faith and under
 7   serious consideration.” Visto, 360 F. Supp. 2d at 1069. This is because “[n]o public policy
 8   supports extending a privilege to persons who attempt to profit from hollow threats of
 9   litigation.” Fuhrman v. Cal. Satellite Sys., 179 Cal. App. 3d 408 (1986), disapproved of
10   by Silberg v. Anderson, 50 Cal. 3d 205 (1990). However, “[i]t is the contemplation of
11   litigation that must be in good faith, not the merits of the actual litigation itself that animates
12   the litigation privilege.” Visto, 360 F. Supp. 2d at 1069. In other words, a pre-litigation
13   communication threatening litigation and intending in good faith to follow through, would
14   be privileged even if the party threatening suit ultimately failed to prevail in the lawsuit.
15   On the other hand, if the threatening party would have prevailed in the eventual lawsuit but
16   never intended in good faith to pursue litigation, such a pre-litigation communication
17   would not fall within the confines of the litigation privilege.
18
     22
19           To the extent the parties dispute whether the litigation privilege could apply to
     communications made to/with Amazon, which is not a party to this lawsuit, case law from
20   the Northern District holds that “non-litigants possessing a ‘substantial interest in the
21   outcome of the ligation’ are ‘authorized participants’ for purposes of the ligation privilege.”
     See, e.g., Ingrid & Isabel, LLC v. Baby Be Mine, LLC, 70 F. Supp. 3d 1105, 1141-42 (N.D.
22   Cal. 2014) (granting the plaintiff’s motion for summary judgment as to the defendants’
23   counterclaim because Walmart and Wayfair, as sellers of the product at issue, would have
     a substantial interest in the litigation by the plaintiff that accused the defendant of selling
24   the product in violation of a patent settlement agreement); Sharper Image Corp. v. Target
25   Corp., 425 F. Supp. 2d 1056, 1078-79 (N.D. Cal. 2006) (holding that to meet the second
     prong of the litigation privilege, the party seeking to apply the privilege need only show
26   that recipient of the communication “possessed a ‘substantial interest’ in the ligation”).
27   Although Northern District case law does not bind this Court, these cases suggest the fact
     that the communications were with Amazon, a non-party, does not prevent application of
28   the litigation privilege.
                                                    -91-
                                                                                    3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5022 Page 92 of 127



 1         “One factor supporting a contrary inference [to good faith serious contemplation of
 2   future litigation] is . . . [the] subsequent failure to file the threatened action.” See, e.g.,
 3   Laffer v. Levinson, Miller, Jacobs & Phillips, 34 Cal. App. 4th 117, 124-25 (1995)
 4   (reversing summary judgment because the court found there were triable of fact as to the
 5   defendants’ good faith serious contemplation of future litigation); see also Lerette v. Dean
 6   Witter Organization, Inc. (1976) 60 Cal. App. 3d 573, 576, n. 5 [“(I)t is unchallenged that
 7   the letter was relevant to the lawsuit initiated shortly after the letter was written and after
 8   it failed to achieve its objective of settlement”].) In this case, Defendants did not follow
 9   their July 13, 2017 letter advising that they intended to take advantage of all legal remedies,
10   Compl. at 27, with litigation. Instead, Plaintiff filed suit first, over a year later, on
11   September 11, 2018. See id. Thus, despite plenty of time to pursue their legal remedies,
12   Defendants failed to do so. Further, the Court cannot determine whether the reports to
13   Amazon contained threats to file suit against Amazon or Plaintiff because neither party
14   submitted the reports to the Court as evidence, only Amazon’s responses to the reports. As
15   such, the lack of evidence that Defendants ever intended to file suit and lack of follow
16   through support Plaintiff’s contention that Defendants lacked a good faith intent to pursue
17   litigation, and therefore, the privilege should not apply as a bar to Plaintiff’s tort claims.
18   See Laffer, 34 Cal. App. 4th at 124-45.
19         Defendants argue that cases have applied California’s litigation privilege where the
20   owner of certain intellectual property reports infringement to a third-party online
21   marketplace.    Def. Mot. at 15:11-16:3 (citing cases).        As support for this position,
22   Defendants argue this case “is nearly indistinguishable from TP Link,” where the court
23   applied the litigation privilege to similar complaints. Id. at 14:10. In TP Link, the District
24   Court for the Central District of California granted the plaintiff’s motion to strike or dismiss
25   various counterclaims asserted by the defendant, including but not limited to for
26   interference with existing and prospective business relationships. 2020 WL 3063956 at
27   *3, 9, 11. The TP Link plaintiff/counter-defendant “engaged in the marketing and sale of
28   computer networking equipment and other computer accessories.”                Id. at *1.    The

                                                  -92-
                                                                                  3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5023 Page 93 of 127



 1   defendant/counter-claimant, on the other hand, was a “third-party seller on Amazon,
 2   meaning that it was a downstream purchaser that often listed and sold goods bearing the
 3   trademarks and other intellectual properties of . . . other holders of intellectual property
 4   rights.” 2020 WL 3063956 at *1. The plaintiff alleged that the defendant began marketing
 5   and selling products bearing the plaintiff’s trademarks, in part, on the Amazon marketplace
 6   and “realized unjust financial benefit.” Id. In response, the defendant stated it purchased
 7   the plaintiff’s products directly from authorized resellers of the product, and as such, the
 8   products it sold were authentic. Id. at *2. After several complaints, Amazon decided that
 9   the defendant could no longer sell on Amazom.com. Id. The plaintiff brought suit for, inter
10   alia, (1) violation of the Lanham Act, (2) unfair competition under 15 U.S.C. § 1125(a),
11   (3) unfair competition under California’s UCL, (4) common law unfair competition, and
12   (5) common law trademark infringement.              Id. at *3.   In response, the defendants
13   counterclaimed for, inter alia, (1) interference with existing and prospective business
14   relationships and (2) violation of antitrust laws. Id.
15         In dismissing the defendant’s tort counterclaims arising out of the plaintiff’s
16   complaints to Amazon regarding the defendant’s products, the TP Link court noted that the
17   litigation privilege “is applicable to communications between private parties.” 2020 WL
18   3063956 at *8. It reasoned that “the litigation privilege is intended to protect the sort of
19   communication at issue here, the reporting of suspected wrongdoing to a party capable of
20   halting or remedying it.” Id. at *9. The court also rejected the defendant’s arguments that
21   the litigation privilege did not apply because the reports to Amazon were made in bad faith,
22   with the goal of destroying the defendant’s business. Id. at *9. Rather, “as an ‘absolute’
23   privilege, California’s litigation privilege is not subject to qualification based upon the
24   subjective motives or alleged bad faith of a party making a challenged communication.”
25   Id. Thus, the court ruled that the plaintiff’s reports to Amazon were entitled to the litigation
26   privilege even if they were knowingly false, prelitigation communications. Id.
27         Defendants argue that “[t]he undisputed facts here are nearly identical” to those in
28   TP Link. Def. Mot. at 14:24. They point out that like the TP Link plaintiff who complained

                                                  -93-
                                                                                  3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5024 Page 94 of 127



 1   to Amazon that the defendant was selling counterfeit goods, 2020 WL 3063956, at *1-2,
 2   Defendants complained to Amazon that Plaintiff was selling products that infringed on
 3   their patent and trademark rights, Def. Mot. at 14:24-15:7. Further, like the TP Link
 4   defendant who brought counterclaims for interference with prospective business
 5   relationships after being reported to Amazon, id. at *3, Plaintiff brought suit for, inter alia,
 6   intentional interference with prospective of contractual economic relations for the same
 7   reasons, Compl. at 8. Thus, Defendants contend that this Court, like the TP Link court,
 8   should determine that even if Defendants’ reports to Amazon were in bad faith, those
 9   complaints are still protected by the absolute litigation privilege. Def. Mot. at 15:9-10.
10   Defendants fail to mention one important aspect in which this case differs from TP Link:
11   unlike the defendant-sellers in TP Link, who were ultimately barred from selling on
12   Amazon, id. at *2, many of Plaintiff’s removed products were ultimately reinstated on
13   Amazon. While the Court agrees this case factually resembles TP Link, TP Link is also
14   procedurally inapposite as it involved dismissal upon a motion to dismiss rather than a
15   motion for summary judgment after discovery. Further, TP Link is not binding authority
16   on this Court. Defendants have failed to cite to a similar case that is binding on this Court
17   where the Court granted summary judgment on the basis of the litigation privilege.
18         In opposing Defendants’ Motion, Plaintiff relies on the case of Visto Corp. v. Sproqit
19   Techs., Inc., 360 F. Supp. 2d 1064 (N.D. Cal. 2005) to argue why the litigation privilege
20   should not bar plaintiff’s counterclaims against Defendants. In Visto, the plaintiff-owner
21   of various software patents sued the defendant for infringement of the plaintiff’s patent.
22   Id. at 1066. In response, the defendant filed various counterclaims against the plaintiff for,
23   inter alia, (1) declaration of noninfringement and invalidity of the patent and (2) tortious
24   interference with prospective economic advantage. Id. The defendant argued that (1) the
25   plaintiff had expressed interest in acquiring the defendant a number of times, and at one
26   point, advised that if the defendant did not agree to the acquisition, it would file suit for
27   patent infringement and (2) the plaintiff’s allegations of patent infringement were baseless
28   and made only to disrupt the defendant’s financing and interfere with its prospective

                                                  -94-
                                                                                  3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5025 Page 95 of 127



 1   business relationships. 360 F. Supp. 2d 1066. In response to the counterclaims, the
 2   plaintiff filed a motion to dismiss the defendant’s claims for tortious interference and
 3   defamation, arguing they should be dismissed because the litigation privilege protected the
 4   plaintiff’s alleged wrongful actions (e.g., false allegations of patent infringement made a
 5   in prelawsuit demand letter). Id. at 1068. The court granted the plaintiff’s motion to
 6   dismiss the state law claims for tortious interference; however, it based the dismissal on
 7   the fact that it held the claims to be premature rather than a finding that they were barred
 8   by the litigation privilege. Id. at 1066.
 9         In support of its argument that the plaintiff lacked a good faith intent to pursue
10   litigation, the Visto defendant noted that the plaintiff had failed to sue (1) on one of the
11   patents that it had alleged was being infringed in its prelitigation demand letter and (2) by
12   the deadline provided, choosing instead to file suit only after the defendant first filed suit
13   in another state. 360 F. Supp. 2d at 1069. The court first clarified that even though the
14   defendant did not include allegations in its counterclaims regarding lack of good faith intent
15   to pursue litigation, that fact was not dispositive because “[a] plaintiff is not required to
16   plead negative facts to anticipate a defense.” Id. at 1070. Next, the court rejected the
17   plaintiff’s attempt to argue that the good faith consideration test did not apply when the
18   prelitigation communications consisted of demand letters written by counsel followed by
19   actual litigation, reiterating that no such bright line rule existed. Id. Rather, “California
20   courts ‘still require that for the privilege to attach to demand letters they must be sent in
21   good faith and actual contemplation of litigation,” and such a “determination may turn on
22   a triable issue of fact, depending upon the circumstances.” Id. Finally, the court noted that
23   whether a threat to commence litigation was “made as a means of inducing settlement of a
24   claim” rather than “in good faith contemplation of a lawsuit” sufficient to trigger
25   application of the litigation privilege “is a question of fact that must be determined before
26   the privilege is applied.” Id. at 1070. However, “[t]hat a subsequent suit ensued is certainly
27   a factor.” Id. The Visto court concluded that enough of a question had been raised. Id. at
28   1070. Ultimately, however, the court dismissed the counterclaims on other grounds,

                                                 -95-
                                                                                3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5026 Page 96 of 127



 1   finding them premature, but making sure to note that the dismissal was without prejudice
 2   to the defendant’s ability to re-file them provided the defendant could satisfy the requisites
 3   of the litigation privilege. 360 F. Supp. 2d at 1070-71, 1073.
 4         In Visto, the defendant filed counterclaims for (1) declaration of noninfringement
 5   and invalidity of the patent and (2) tortious interference with prospective economic
 6   advantage. 360 F. Supp. 2d at 1066. In this case, Plaintiff filed suit seeking nearly identical
 7   relief. However, Defendants’ initial demand letter to Plaintiff requested “written assurance
 8   with compliance” within fifteen days and advised that it was “made without prejudice to
 9   any rights or remedies.” Compl. at 27. Thus, unlike the Visto plaintiff who failed to sue
10   by a deadline provided, Defendants never provided some sort of deadline that if Plaintiff
11   failed to meet would necessarily result in Defendants filing suit. Id. Further, as Plaintiff
12   noted, the fact that Plaintiff did not include allegations responsive to the defense of
13   litigation privilege in their complaint is not fatal to their tort claims because “[a] plaintiff
14   is not required to plead negative facts to anticipate a defense.” 360 F. Supp. 2d at 1070.
15   However, like the Visto court, this Court determines that the issue of whether the threat of
16   litigation was actually made as a means of inducing settlement rather than in good faith
17   contemplation of a lawsuit, “is a question of fact that must be determined before the
18   privilege is applied.” Id. at 1070.
19         In the present case, the Court concludes that whether Defendants had a good faith
20   intent to pursue litigation when they submitted their complaints to Amazon and sent their
21   demand letter is an issue of fact such that it would be inappropriate for the Court to grant
22   summary judgment on the basis of the litigation privilege. Because the Court finds that an
23   issue of fact exists as to the first prong pertaining to application of the litigation privilege
24   (e.g., whether the communication was made in a judicial proceeding), the Court finds it
25   unnecessary to analyze the remaining disputed third prong (e.g., whether the
26   communications were made to achieve the objects of the litigation).
27                       b.     Noerr-Pennington Doctrine
28         The Noerr–Pennington Doctrine provides immunity to private entities from liability

                                                  -96-
                                                                                  3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5027 Page 97 of 127



 1   under federal or state antitrust laws for conduct related to petitioning any branch of
 2   government in an attempt to influence the passage or enforcement of laws that might have
 3   anticompetitive effects. Microsoft Corp. v. Motorola, Inc., 795 F.3d 1024, 1047 (9th Cir.
 4   2015); Sosa v. DIRECTTV, Inc., 437 F.3d 923, 942 (9th Cir. 2006). The doctrine arises
 5   out of the belief that antitrust laws should not be applied in the political arena, and that the
 6   First Amendment protects political speech. See Microsoft, 795 F.3d at 1047 (“The doctrine
 7   originated in two Supreme Court antitrust cases holding that the Petition Clause of the First
 8   Amendment prohibits imposing liability under the Sherman Act for ‘attempt[ing] to
 9   persuade the legislature or the executive to take particular action.’”); see also E. R.R.
10   Presidents Conference v. Noerr Motor Freight, Inc., 365 U.S. 127, 136 (1961); United
11   Mine Workers of Am. v. Pennington, 381 U.S. 657, 670 (1965). Courts have expanded the
12   doctrine “to ensure that ‘those who petition any department of the government,’ including
13   the courts, ‘are immune from . . . liability for their petitioning conduct.’” Microsoft, 795
14   F.3d at 1047. It “requires that, to the extent possible, [courts] construe federal statutes so
15   as to avoid burdens on activity arguably falling within the scope of the Petition Clause of
16   the First Amendment.” Sosa, 437 F.3d at 942.            Courts have concluded that “Noerr
17   immunity bars any claim, federal or state, common law or statutory, that has as its
18   gravamen constitutionally-protected petitioning activity,” which can include petitioning
19   the government through the filing of a lawsuit. See Gen-Probe, Inc. v. Amoco Corp., 926,
20   956 (S.D. Cal. Apr. 24, 1996).
21         Where the Noerr-Pennington doctrine would otherwise apply to a petition to the
22   courts (e.g., a lawsuit) regarding anticompetitive conduct, the sham litigation exception to
23   the doctrine may take away immunity if the lawsuit is objectively baseless. Theme
24   Promotions, Inc. v. News America Marketing FSI, 546 F.3d 991, 1007 (9th Cir. 2008). The
25   Ninth Circuit has set forth a two-step, retrospective inquiry to determine whether a single
26   action qualifies as sham petitioning. USS-POSCO Indus. v. Contra Costa Cty. Bldg. &
27   Const. Trades Council, AFL-CIO, 31 F.3d 800, 810-11 (9th Cir. 1994). “A ‘sham’ lawsuit
28   is one where the suit is both [1] ‘objectively baseless in the sense that no reasonable litigant

                                                  -97-
                                                                                  3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5028 Page 98 of 127



 1   could realistically expect success on the merits’ and [2] ‘an attempt to
 2   interfere directly with the business relationship of a competitor through the use of the
 3   governmental process—as opposed to the outcome of that process.’”                Rock River
 4   Commc’ns, Inc. v. Universal Music Grp., Inc., 745 F.3d 343, 351–52 (9th Cir. 2014). The
 5   sham exception “encompasses situations in which persons use the governmental process—
 6   as opposed to the outcome of that process—as an anticompetitive weapon.” City of
 7   Columbia v. Omni Outdoor Advertising, 499 U.S. 365, 380 (1991).
 8         Defendants argue that Plaintiff’s tort claims are barred by the Noerr-Pennington
 9   doctrine because the doctrine extends to pre-suit infringement notices sent to third-parties,
10   and Plaintiff’s claims arise out of Defendants’ pre-suit infringement notices to a third party
11   (Amazon). Def. Mot. at 16:4-10. They elaborate that to the extent Plaintiff argues
12   Defendants’ petitioning conduct (e.g., their reports to Amazon) is not entitled to immunity
13   because it falls under the sham litigation exception, “[t]here is also no genuine issue of
14   material fact on the ‘sham litigation’ exception to the Noerr-Pennington doctrine” because
15   Plaintiff cannot “demonstrate that Defendants’ reports to Amazon were ‘objectively
16   baseless’ or based on an unlawful motive.” Id. at 17:7-19. Plaintiff responds that “because
17   Defendants’ actions exhibit a pattern of ‘starting legal proceedings without regard to the
18   merits and for the purposes of injuring a market rival,’ i.e.., ‘for purposes of harassment,’
19   the sham exception” to the Noerr-Pennington doctrine applies, and Plaintiff’s claims are
20   not barred. Pltff. Oppo. at 14:8-10. Defendants reply that the evidence in the case confirms
21   “Defendants’ complaints to Amazon were not ‘objectively baseless,’ and there is no
22   evidence that they were unlawful.” Def. Reply at 11:15-16.
23         In support of their argument that Noerr-Pennington applies to this case, Defendants
24   rely on Thimes Sols. Inc. v. TP Link USA Corp., in which the Central District of California
25   held that complaints to Amazon qualified as prelitigation material for purposes of the
26   Noerr-Pennington doctrine. No. CV 19-10374 PA (EX), 2020 WL 4353681, at *1, 4-5
27   (C.D. Cal. June 8, 2020). The Thimes plaintiff filed suit for, inter alia, interference with
28   existing and prospective business relationships after the defendants submitted twenty-

                                                 -98-
                                                                                3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5029 Page 99 of 127



 1   seven (27) written complaints to Amazon that the plaintiff was infringing on one of the
 2   defendants’ intellectual property rights. 2020 WL 4353681 at *1. Although Amazon
 3   suspended the plaintiff from the marketplace, the plaintiff appealed and was ultimately
 4   reinstated. Id. However, after the defendants submitted additional complaints, the plaintiff
 5   was permanently expelled from the Amazon Marketplace. Id. The defendants moved to
 6   dismiss the plaintiff’s operative complaint on the basis that the Noerr-Pennington doctrine
 7   barred the plaintiff’s claims, and the Court converted the motion into a motion for summary
 8   judgment. Id. The court determined the defendants’ 27 complaints to Amazon, claiming
 9   the plaintiff was selling counterfeit products, constituted pre-litigation material. Id. at *4.
10   However, upon consideration of whether the sham exception applied, it denied the motion
11   for summary judgment because the plaintiff raised a triable issue of fact as to the language
12   used in the complaints to Amazon. Id. at *5. Further, all parties had failed to submit trues
13   copies of the complaints into the record, which prevented the court from performing the
14   necessary analysis to determine whether the complaints were objectively baseless. Id.
15          Here, the Court finds that despite the voluminous exhibits provided to the Court in
16   conjunction with these motions, the actual complaints to Amazon appear to be missing
17   from the record just as they were in Thimes. At a minimum, the parties have failed to cite
18   their content or direct the Court to their location. See, e.g., Wright v. United States Dep’t
19   of Justice, 379 F. Supp. 3d 1067, 1074 (S.D. Cal. 2019) (Burns, J.) (noting that “[j]udges
20   are not like pigs, hunting for truffles buried in the briefs,” and “[i]t is not [the] task . . . of
21   the district court[ ] to scour the record in search of a genuine issue of triable fact”; rather,
22   the courts “rely on the nonmoving party to identify with reasonable particularity the
23   evidence that precludes summary judgment.”). In addition to the parties’ failure to provide
24   or at least direct the Court’s attention to the actual complaints, the Court finds summary
25   judgment inappropriate on another ground, at least with respect to determining whether the
26   Noerr-Pennington doctrine applies to this case, which the Thimes court failed to address:
27   “Noerr-Pennington immunity does not apply to private patent adjudication programs.”
28   Hovenkamp, Herbert, et al., IP and Antitrust: An Analysis of Antitrust Principles Applied

                                                    -99-
                                                                                    3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5030 Page 100 of 127



 1   to Intellectual Property Law, § 11.03, IP Antitrust Anal. 9447714, (2018) (Updated Nov.
 2   2020).   Defendants, however, argue that pre-lawsuit infringement reports or notices
 3   submitted    to   third   parties,   like   Amazon,    are   protected      under   the   Noerr-
 4   Pennington doctrine. Def. Mot. at 16:9-16 (citing, inter alia, Sosa, 437 F.3d at 940;
 5   EcoDisc Tech. AG v. DVD Format/Logo Licensing Corp., 711 F. Supp. 2d 1074, 1082
 6   (C.D. Cal. 2010)). Plaintiffs also concede that “Defendants have the right of access to
 7   agencies and courts, such as Amazon, to be heard on matter such as when they in good
 8   faith believe that their rights are infringed.” Pltff. Oppo. at 15:24-25.
 9         Defendants are correct that under the Noerr–Pennington doctrine, courts consider
10   “cease-and-desist letters and threats of litigation” as “pre-litigation material . . . immune
11   from suit unless the threatened lawsuit was a ‘sham.’” Rock River, 745 F.3d at 351.
12   However, where those letters are sent to third-parties, rather than the ultimate parties in a
13   subsequent suit, they are not protected. The reported cases relied on by Defendants are
14   distinguishable because both cases involved pre-lawsuit infringement notices sent to third
15   parties, advising that if those third parties did not cease participating in or facilitating the
16   alleged infringement, those third parties would be sued—or in other words, a petition to
17   the courts would result. For example, in Sosa, 437 F.3d at 925-26, 940, the court held that
18   presuit letters sent to non-parties “threatening legal action and making legal representations
19   in the course of doing so” came within the immunity provided by the Noerr–
20   Pennington doctrine. However, Sosa involved a class action where the defendant “sent
21   tens of thousands of demand letters alleging that the recipients had accessed DIRECTV’s
22   satellite television signal illegally and would be sued if they did not quickly settle
23   DIRECTV’s claims against them under the Federal Communications Act.” Id.; see also
24   EcoDisc, 711 F. Supp. 2d at 1082 (holding the conduct at issue was “sufficiently related to
25   litigation to fall within the scope of the Noerr–Pennington doctrine” where the
26   communications asserted the defendant’s intellectual property rights under a licensing
27   agreement and warned licensees violating the agreement could result in litigation).
28         As another example, in Rock River, the Ninth Circuit noted that the plaintiff’s claim

                                                  -100-
                                                                                   3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5031 Page 101 of 127



 1   for intentional interference with prospective economic advantage sought to hold the
 2   defendant liable based on the cease-and-desist letters and threats of litigation that the
 3   defendant made to the plaintiff’s business partners. 745 F.3d at 351. While “[u]nder
 4   the Noerr–Pennington doctrine, such pre-litigation material is immune from suit unless the
 5   threatened lawsuit was a ‘sham,’” some of the cease and desist letters sent to the plaintiff’s
 6   business partners threatened to sue those business partners, and as such, there was a threat
 7   to petition the government through the courts. Id. at 347. Thus, Defendants’ authority is
 8   distinguishable from the case at hand. Here, Defendants’ infringement notices to Amazon
 9   were not provided to the Court and do not prove a threat to sue Amazon if it continued to
10   list Plaintiff’s allegedly infringing products.
11         “Noerr-Pennington is a label for a form of First Amendment protection; to say that
12   one does not have Noerr-Pennington immunity is to conclude that one’s petitioning activity
13   is unprotected by the First Amendment.” White v. Lee, 227 F.3d 1214, 1231 (9th Cir.
14   2000). In other words, for the Noerr-Pennington doctrine to apply in this case, Defendants
15   would need to have a First Amendment right to report Plaintiff for suspected infringement
16   to Amazon.      “In determining whether the Noerr-Pennington doctrine immunizes a
17   defendant’s conduct from liability, the court applies a three-step test.” Evans Hotels, LLC
18   v. Unite Here Local 30, 433 F. Supp. 3d 1130, 1143 (S.D. Cal. 2020), reconsideration
19   denied sub nom. Evans Hotel, LLC, v. United Here Local 30, et al., 2020 WL 1911557
20   (S.D. Cal. Apr. 20, 2020). This test examines whether (1) “the plaintiff’s lawsuit burdens
21   the defendant’s petitioning activities,” (2) “the burden on that activities implicates the
22   protection of the Petition Clause,” and (3) “the laws the plaintiff is suing under may be
23   construed to preclude the burden on petitioning activity.” Id.; see also Sosa, 437 F.3d at
24   930. Plaintiff argues that Defendant failed to analyze any of the factors warranting
25   application of the Noerr-Pennington doctrine. Pltff. Oppo. at 14:4-5. Plaintiff also argues
26   that “allowing Plaintiff’s tort claims to proceed would not burden petitioning.” Id. at 14:5-
27   6. The Court agrees with Plaintiff. An analysis of the factors reveals that first, the First
28   Amendment only protects citizens from government conduct infringing on free speech.

                                                  -101-
                                                                                3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5032 Page 102 of 127



 1   See U.S. CONST., AMEND I (providing that “Congress shall make no law respecting . . . the
 2   right of the people . . . to petition the Government for a redress of grievances”). Amazon is
 3   a corporation; it is not part of the government. As a result, there is no constitutionally
 4   protected right to “petition” Amazon for a redress of grievances. Plaintiff’s lawsuit,
 5   alleging that Defendants’ petitioning conduct was unlawful does not infringe on any of
 6   Defendants’ constitutionally protected rights.         Even though Defendants have a
 7   constitutionally protected right to petition the government (via the courts), see,
 8   e.g., Citizens United v. Fed. Election Comm’n, 558 U.S. 310, 341-42 (2010) (concluding
 9   that corporations have speech rights under the First Amendment), they do not have a
10   constitutionally protected right to petition Amazon or have that petitioning conduct save
11   them from liability in a lawsuit regarding that petitioning conduct. Second, even if Plaintiff
12   somehow burdened Defendants’ ability to make reports to Amazon, such as if Plaintiff
13   sought an injunction, which Plaintiff has not done, that burden would not implicate a right
14   to petition. Again, Defendants have no constitutionally protected right to petition Amazon.
15         In Garmon Corp. v. Vetnique Labs, LLC, the court held that it was not persuaded
16   that the Noerr-Pennington doctrine provided the defendant “with immunity from the
17   plaintiffs’ antitrust claims concerning its participation in Amazon’s patent evaluation
18   program or its filing of complaints with Amazon.” No. 19 C 8251, 2020 WL 3414983, *4
19   (N.D. Ill. June 22, 2020). Just as both parties in this case make shopping cart bags, which
20   they sell on Amazon’s website, both the plaintiffs and defendant in Garmon made
21   nutritional supplements for pets and sold them on Amazon’s website. Id. at *1. The
22   defendant obtained a patent for its nutritional supplement to prevent anal gland diseases in
23   pets. Id. After obtaining the patent, the defendant, like Defendants here, submitted
24   complaints “alleging that certain products sold by the plaintiffs via Amazon infringed the
25   patent.” Id. This “initiated proceedings as part of an Amazon-administered program in
26   which patentees can obtain evaluations of their infringement claims against parties that sell
27   products on Amazon’s website.” Id. The defendant also sent a letter alleging infringement.
28   Id. As a result of Amazon’s evaluation, the plaintiffs were barred from listing or selling

                                                 -102-
                                                                                3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5033 Page 103 of 127



 1   their allegedly infringing products through Amazon. 2020 WL 3414983 at *1-2. The
 2   plaintiff re-formulated their products, going out of their way to use ingredients not used in
 3   the defendant’s claimed patent, but the process repeated itself. Id. at *2. The Garmon
 4   plaintiff, like Plaintiff here, sued the defendant seeking a declaratory judgment that the
 5   defendant’s patent was invalid, or if it was valid, that they had not infringed it. Id. at *1.
 6   The plaintiff, also like Plaintiff here, asserted additional claims for damages and injunctive
 7   relief under the Sherman Antitrust Act, 15 U.S.C. § 2, and Lanham Act, 15 U.S.C. §
 8   1125(a)(1). Id. The defendant moved to dismiss the plaintiffs’ antitrust claims under the
 9   Noerr-Pennington doctrine. Id.
10         In deciding that the Noerr-Pennington doctrine did not apply, the court noted that
11   under the doctrine, “parties ‘who petition [the] government for redress are generally
12   immune from antitrust liability.’” Garmon, 2020 WL 3414983 at *3. Although “[s]uch
13   immunity extends to parties who initiate proceedings before courts and administrative
14   agencies,” it fails to “apply where a restraint on trade ‘has resulted from private action.’”
15   Id. (quoting Allied Tube & Conduit Corp. v. Indian Head, Inc., 486 U.S. 492, 499 (1988)
16   (holding that a private association that imposed anticompetitive restraints through its
17   standard-setting process was not entitled to Noerr-Pennington immunity). “[B]ecause the
18   relevant allegations concern restraints on trade—the removal of the plaintiffs’ products
19   from Amazon’s website—that ‘resulted from private action.,” the doctrine did not create
20   immunity. Id. at *4 (citing Allied Tube, 486 U.S. at 499). When considering application
21   of the Noerr-Pennington doctrine, “courts do not consider the type of right a party asserted
22   in taking an anticompetitive action . . . but rather the ‘source, context, and nature of the
23   anticompetitive restraint at issue.’” Id. Where, as in Garmon, “the anticompetitive
24   restraint was imposed by a company ‘unaccountable to the public and without official
25   authority’ that might ‘have personal financial interests in restraining competition,’
26   the Noerr-Pennington doctrine does not provide immunity.” Id. Accordingly, the Court
27   concluded that the Noerr-Pennington doctrine did not apply to the plaintiffs’ allegations
28   concerning the removal of the products from Amazon.” Garmon, 2020 WL 3414983 at *3.

                                                 -103-
                                                                                3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5034 Page 104 of 127



 1         This Court, like the Garmon court, agrees that the Noerr-Pennington doctrine does
 2   not apply to immunize a defendant’s conduct from liability for tort claims, like intentional
 3   interference, where the conduct at issue consists of a report made to a private patent
 4   adjudication program, like Amazon. Thus, the Court denies Defendants’ motion for
 5   summary judgment on the basis of the Noerr-Pennington doctrine. As a matter of law,
 6   Defendants are not entitled to immunity under the Noerr-Pennington doctrine for
 7   infringement complaints made to Amazon where there is no evidence that those complaints
 8   contained a threat of litigation (e.g., a threat to petition a branch of government—i.e., the
 9   courts). Because the Court concludes that the Noerr-Pennington doctrine does not apply
10   to provide Defendants with immunity from Plaintiff’s complaint sufficient to warrant
11   summary judgment, the Court need not analyze whether the sham exception to the Noerr-
12   Pennington doctrine takes away that immunity. However, even if the Court applied the
13   Noerr-Pennington doctrine, a genuine issue of fact would exist as to whether the sham
14   exception would apply to this case in light of the parties’ (1) disagreement as to how many
15   complaints Defendants’ submitted; (2) failure to submit the complaints to the Court as
16   evidence; and (3) failure to submit evidence pertaining to how Amazon determines whether
17   to remove and/or relist products after receiving complaints for infringement.23
18   ///
19
     23
            Under the sham litigation exception to the Noerr-Pennington doctrine, courts should
20   deny summary judgment if a reasonable jury, viewing all of the evidence in the light most
21   favorable to the non-moving party, could conclude that the defendants attempted to achieve
     their aim through the threat of protest, without regard to the results of such protests. For
22   example, “the fact that defendants lost all protests establishes a sufficient showing of
23   baselessness for the purposes of a summary judgment motion” and “is certainly sufficient
     to present a triable issue of fact.” See, e.g., Clipper Exxpress v. Rocky Mountain Motor
24   Tariff Bureau, Inc., 690 F.2d 1240, 1256-57 (9th Cir. 1982) (holding “that a single suit, or
25   in this case a single protest, is sufficient to invoke the sham exception.”). Thus, this Court
     concludes that even if it had found that the Noerr-Pennington doctrine applied to this case,
26   case law indicates that—construing the evidence in the light most favorable to the non-
27   moving party, which in this case, is Plaintiff—the fact that Amazon relisted Plaintiff’s
     products after each of Defendants’ complaints would, at a minimum, create a triable issue
28   of fact as to application of the sham litigation exception.
                                                 -104-
                                                                                3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5035 Page 105 of 127



 1                2.    A genuine issue of material fact exists as to whether Defendants acted
                        with bad faith, and Federal Patent Law preempts state law tort claims
 2                      without such a showing of Bad Faith.
 3         Defendants argue that “Plaintiff has no affirmative evidence that Defendants acted
 4   in “bad faith” by complaining of patent infringement to Amazon,” and “[f]ederal patent
 5   law preempts Plaintiff’s state law tort claims without such a showing.” Def. Mot. at 9:1-
 6   5. Plaintiff argues that “statements made in bad faith ‘are damaging to competition and are
 7   not the type of statements protected by patent laws.” Pltff. Oppo. at 19:25-26 (citing Zenith
 8   Elecs. Corp. v. Exzec, Inc., 182 F.3d 1340, 1354 (Fed. Cir. 1999)). Plaintiff responds that
 9   “[b]ad faith can be found when patent holders make statements with ‘disregard’ for the
10   ‘incorrectness or falsity’ of such statements.” Id. at 19:27-20:3 (citing Springs Window
11   Fashions LP v. Novo Indus. L.P., 323 F.3d 989, 999 (Fed. Cir. 2003). Plaintiff’s position
12   is that “[a] reasonable jury will conclude that Defendants acted in bad faith when they
13   submitted . . . eighty-nine (89) unsuccessful patent infringement claims to Amazon,” and
14   as a result, “Plaintiff’s tort claims are not preempted by patent law.” Id. at 20:6-8, 27.
15   Plaintiff also makes an argument that Defendants’ founder, Joby Cronkshaw, testified that
16   he (1) retained an attorney to provide an opinion whether Plaintiff’s products infringed
17   Trolley Bags’ patent, and (2) disclosed the infringement opinion to a third-party but later
18   changed his testimony to clarify that he remembered he did not, in fact, disclose the
19   opinion. Id. at 20:9-18. Plaintiff argues that “[r]egardless of whether Cronkshaw actually
20   waived privilege regarding the opinion, Defendants should be compelled to produce the
21   opinion.” Id. at 20:19-26. However, this argument is inappropriate for consideration on a
22   motion for summary judgment and must be considered as part of a separate motion to
23   compel before the magistrate judge. See S.D. Cal. Civ. R. 26.1(e). Defendants dispute any
24   waiver of privilege. Def. Reply at 13:2-21.
25         As a preliminary matter, courts “apply Federal Circuit law to patent issues as well
26   as to [the] determination on whether state-law tort claims are preempted by federal patent
27   law.” Dominant Semiconductors Sdn. Bhd. v. OSRAM GmbH, 524 F.3d 1254, 1260 (Fed.
28   Cir. 2008). “[P]atentees do not violate the rules of fair competition by making accurate
                                                -105-
                                                                               3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5036 Page 106 of 127



 1   representations, and are allowed to make representations that turn out to be inaccurate
 2   provided they make them in good faith.” Golan v. Pingel Enter., Inc., 310 F.3d 1360, 1371
 3   (Fed. Cir. 2002). Consequently, federal patent law preempts state-law tort liability,
 4   including but not limited to liability for claims of tortious interference and unfair
 5   competition, “when a patentee in good faith communicates allegations of infringement of
 6   its patent.” Dominant, 524 F.3d at 1260. State law tort claims “can survive federal
 7   preemption only to the extent that those claims are based on a showing of ‘bad faith’ action
 8   in asserting infringement.” Globetrotter Software, Inc. v. Elan Computer Grp., Inc., 362
 9   F.3d 1367, 1374 (Fed. Cir. 2004). “Accordingly, to avoid preemption, ‘bad faith must be
10   alleged and ultimately proven, [by clear and convincing evidence] even if bad faith is not
11   otherwise an element of the tort claim.’” Id. at 1377. This aligns with the law’s recognition
12   of “a presumption that the assertion of a duly granted patent is made in good faith,” which
13   can only be overcome “by affirmative evidence of bad faith.” See, e.g., Springs Window,
14   323 F.3d at 999 (affirming summary judgment in the plaintiff’s favor on the defendant’s
15   counterclaims for tortious interference because the defendant “presented no evidence that
16   would support a finding that [the plaintiff] knew that [a] it was enforcing an unenforceable
17   patent or . . . [b] [the defendant] did not infringe the ‘857 patent”). Further, “mere
18   allegations that the patent holder has acted in bad faith will not overcome this presumption”
19   the presumption of validity of patent rights. Fisher Tooling Co. v. Gillet Outilliage, No.
20   CV 04-7550 ABC MCX, 2006 WL 5895307, at *7 (C.D. Cal. June 6, 2006). To avoid
21   summary judgment, a party claiming bad faith patent enforcement, like Plaintiff, “must
22   present affirmative evidence sufficient for a reasonable jury to conclude that the patentee
23   acted in bad faith, in light of the burden of clear and convincing evidence that will adhere
24   at trial.” Springs Window, 323 F.3d at 999 (concluding that the defendant “failed to meet
25   its burden of putting forward affirmative evidence of bad faith.”).
26          “A plaintiff claiming that a patent holder has engaged in wrongful conduct by
27   asserting claims of patent infringement must establish that the claims of infringement were
28   objectively baseless.” Matthews Int’l Corp. v. Biosafe Eng’g, LLC, 695 F.3d 1322, 1332

                                                -106-
                                                                               3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5037 Page 107 of 127



 1   (Fed. Cir. 2012). This showing of “[b]ad faith includes separate objective and subjective
 2   components.” Dominant, 524 F.3d at 1260. “To be objectively baseless, the infringement
 3   allegations must be such that ‘no reasonable litigant could reasonably expect success on
 4   the merits.’” Id. Generally, “a threshold showing of incorrectness or falsity, or disregard
 5   for either, is required in order to find bad faith in the communication of information about
 6   the existence or pendency of patent rights.” Mikohn Gaming Corp. v. Acres Gaming,
 7   Inc., 165 F.3d 891, 897 (Fed. Cir. 1998); see also Springs Window, 323 F.3d at 1000
 8   (holding the defendant failed to raise “a genuine issue of fact on the issue of
 9   unenforceability and thus has not satisfied the threshold requirement for . . . bad faith”).
10         In Dominant Semiconductors, the Federal Circuit affirmed the decision of the
11   Northern District of California granting the defendant’s motion for summary judgment,
12   which had reasoned that it was objectively reasonable for the defendant to rely on the
13   advice of an attorney in the absence of evidence the advice was unreasonable. Id. at 1259-
14   60. Further, the defendant had produced evidence that its earlier claims of infringement
15   were not objectively baseless by producing the International Trade Commission’s denial
16   of the plaintiff’s motion for summary judgment of non-infringement and later findings that
17   the plaintiff did, in fact, infringe on the defendant’s patents. Id. at 1263. The defendant
18   also produced the court’s own finding that the plaintiff had infringed its patents. Id.
19         Here, just as in Dominant, Plaintiff filed similar tort law claims against Defendant
20   arising out of Defendant’s communications with Amazon that Plaintiff was infringing. 524
21   F.3d at 1255-56.     Unlike in Dominant, however, there were not prior findings of
22   infringement at the time the communications were made or this motion was filed to show
23   Defendants’ communications with amazon were not objectively baseless. In this case, both
24   parties dispute the number of complaints Defendants made to Amazon regarding Plaintiff’s
25   products and whether those complaints were “successful.” The Court finds a genuine issue
26   of fact exists as to the issue of whether the complaints were, in fact, successful given
27   Plaintiff appears to argue that every time Defendants’ complaints resulted in Plaintiff’s
28   products being removed, the products were later reinstated. In the absence of admissible

                                                 -107-
                                                                                 3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5038 Page 108 of 127



 1   evidence regarding Amazon’s procedures when reviewing allegedly infringing products as
 2   well Defendants’ actual complaints to Amazon, a genuine issue of fact exists as to the issue
 3   of whether federal patent law preempts Plaintiff’s state tort law claims.
 4                3.    A Genuine Issue of Fact Exists as to Damages for Plaintiff’s Tort
                        Claims.
 5
 6         Defendants argue that all of Plaintiff’s state law claims for relief require proof of
 7   damages as an element for each tort, and because Plaintiff has no such evidence,
 8   “Defendants are entitled to judgment as a matter of law.” Def. Mot. at 21:18-22:8 (citing
 9   cases). Defendants’ argue that they served Plaintiff with a deposition notice pursuant to
10   Rule 30(b)(6) of the Federal Rules of Civil Procedure, which allows a party to serve a
11   deposition notice on a private corporation, which then, must designate one or more
12   “persons who consent to testify on its behalf.” FED. R. CIV. P. 30(b)(6). “The persons
13   designated must testify about information known or reasonably available to the
14   organization.” Id. According to Defendants, Plaintiff identified Mr. Dehmoubed as its
15   Rule 30(b)(6) witness for the topics of Plaintiff’s claims and defenses as well as damages
16   that Plaintiff alleges Defendants caused. Def. Mot. at 11:19-23. However, Defendants
17   contend Mr. Dehmoubed failed to testify as to (1) the amount of damages; (2) his
18   methodology for generating the data regarding lost sales; and (3) what portion of lost
19   revenue would have been a profit. Id. at 22:9-14, 23:2-5, 24:1-6. Plaintiff responds by
20   advising that it provided evidence of lost sales (1) in its complaint, Pltff. Oppo. at 21:7-8
21   (citing Complaint at Ex. D, ECF No. 1 at 49), and (2) during discovery, by providing details
22   for each day of lost sales on Amazon due to Defendants’ complaints to Amazon, id. at
23   21:9-11 (citing ECF No. 92-3 at 2-3), as well as financial statements for 2017, 2018, and
24   2019 that detailed its expenses, and thus, lost profits, Pltff. Oppo. at 21:11-13 (citing
25   Exhibits 9 ECF No. 92-4 at 2, and 10, ECF No. 92-5 at 1-2). Defendants respond by
26   arguing that Plaintiff’s 2017-2019 financial statements detail only lost profits without
27   showing the sale or purchase price per bag, the number of bags bought or sold, or how
28   much profit could be attributed to each bag. Def. Reply at 12:8-15. As a result, Defendants

                                                -108-
                                                                                 3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5039 Page 109 of 127



 1   argue that Plaintiff cannot establish that it lost any profits when Amazon removed its
 2   listings, much less evidence of showing lost profits with reasonable certainty; thus, the
 3   Court should grant summary judgment on the tort claims due to Plaintiff’s inability to prove
 4   a requisite element of each claim: damages. Id. at 12:27-13:2.
 5         As discussed below, all of Plaintiff’s tort-based claims require a showing of damages
 6   or evidence supporting restitution. Robi v. Five Platters, Inc., 918 F.2d 1439, 1443 (9th
 7   Cir. 1990) (applying California law). Where a plaintiff fails to introduce evidence of
 8   damages, summary judgment is appropriate where the underlying claims require proof of
 9   damages. See, e.g., Weinberg v. Whatcom Cty., 241 F.3d 746, 752 (9th Cir. 2001) (holding
10   that the district court did not err by granting the defendant’s motion for summary judgment
11   where evidence pertaining to damages was essential to the determination pertaining to the
12   claims on which the motion for summary judgment was based).
13         Proof of damages requires a plaintiff to “prove both the fact and the amount of
14   damage.” Lindy Pen Co. v. Bic Pen Corp., 982 F.2d 1400, 1407 (9th Cir. 1993), abrogated
15   on other grounds by SunEarth, Inc. v. Sun Earth Solar Power Co., 839 F.3d 1179, 1181
16   (9th Cir. 2016) (en banc) (per curiam). However, “[i]t is well-established under California
17   law that while the fact of damages must be clearly shown, the amount need not be proved
18   with the same degree of certainty, so long as the court makes a reasonable approximation.”
19   Robi, 918 F.2d at 1443; see also Story Parchment Co. v. Paterson Parchment Paper Co.,
20   282 U.S. 555, 562 (1931) (holding that although damages must be “the certain result of the
21   wrong,” they may be “uncertain in respect of their amount.”); see also 22 Am. Jur.
22   2d Damages § 172 (1965) (“[n]o recovery can be had for loss of profits which are
23   determined to be uncertain, contingent, conjectural, or speculative”). Where a plaintiff
24   alleging injury “proves that his business would have been profitable, he need not prove
25   precisely the amount of the profits he would have made or the amount of harm that the
26   defendant has caused; rather, he need only present such evidence as might reasonably be
27   expected to be available under the circumstances.” Robi, 918 F.2d at 1443 (internal
28   quotations and citations omitted).     Further, under California law, the general rule

                                                -109-
                                                                               3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5040 Page 110 of 127



 1   prohibiting evidence of speculative profits does not apply to cases where the amount of
 2   profits is uncertain, but the fact that profits would have resulted absent wrongdoing is not.
 3   See, e.g., Tri-Tron Int’l v. Velto, 525 F.2d 432, 437 (9th Cir. 1975) (holding the plaintiff’s
 4   direct and circumstantial evidence on damages, although “relatively thin,” highly
 5   persuasive in showing it “sustained a substantial loss of profits” due to the defendants’
 6   wrongdoing, and thus, it was reasonable to conclude that if defendants had not appropriated
 7   the device, the plaintiff would have made all sales of the device in the area). Rather, it
 8   applies “to uncertainty or speculation as to whether loss of profits was the result of the
 9   wrong and whether such profits would have been derived at all.” Id.
10         “Damages that are speculative, remote, imaginary, contingent, or merely possible
11   cannot serve as a legal basis for recovery.” Lumens Co. v. GoEco LED LLC, No.
12   SACV1401286CJCDFMX, 2018 WL 1942768, at *6, n.7 (C.D. Cal. Jan. 3, 2018), aff’d,
13   807 F. App’x 612 (9th Cir. 2020) (noting in the parties’ cross-motions for summary
14   judgment, the defendant’s promises to provide data and admissible evidence at trial did not
15   relieve the defendant of its burden to present admissible evidence to meet its burden on
16   summary judgment). Courts may grant summary judgment where the party bearing the
17   burden of proof “has no expert witnesses or designated documents providing competent
18   evidence from which a jury could fairly estimate damages.” McGlinchy v. Shell Chem.
19   Co., 845 F.2d 802, 808 (9th Cir. 1988) (affirming a district court’s grant of summary
20   judgment where the plaintiffs “did not make a showing sufficient to establish the amount,
21   causation, or fact of damages”) (citation omitted). Cases have relied on the fact that sales
22   of a substantial number of units changed after another product entered the market. Tri-
23   Tron, 525 F.2d at 436-37 (“Although net profits are not shown, opinion evidence was
24   offered and received on the sales and the cost of sales by appellee with a projection of an
25   assumed increase in gross profits over a period of five years.”). For example, in Hunt
26   Foods, Inc. v. Phillips, 248 F.2d 23, 34 (9th Cir. 1957), the Ninth Circuit held “that under
27   the facts of the instant case, there was operating experience sufficient to permit a reasonable
28   estimate of probable income and expense, and the trial court was justified in awarding

                                                 -110-
                                                                                 3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5041 Page 111 of 127



 1   damages for loss of prospective profits.” The Hunt evidence of lost profits was based on
 2   the operating experience of the business, amount of sales over time, and testimony
 3   regarding gross profit, overhead expenses, and relevant income tax return information. Id.
 4         Defendants are correct that a party opposing a motion for summary judgment’s
 5   “promises to provide data and admissible evidence at trial do not relieve [it] . . . from
 6   presenting admissible, competent proof of damages to meet its burden on summary
 7   judgment.” Lumens, 2018 WL 1942768 at *6, n.7. Here, however, the Court finds Plaintiff
 8   has provided sufficient evidence in its complaint and exhibits opposing summary judgment
 9   to create an issue of fact as to damages.
10         First, Exhibit 8 to Plaintiff’s Opposition, ECF No. 92-3 at 2-3, appears to show at
11   least some damages causally connected Defendants’ complaints to Amazon. As an
12   example, the sales for portions of February 2018 and April 2018 indicate that after
13   Defendants complained and Amazon removed the products, Plaintiff’s sales dropped:
14                        Date of Complaints
            Date:                               Date of Reinstatement:            Sales:
                              to Amazon:
15                                   February 2018:
16    February 10, 2018            X                                            $1,363.05
      February 11, 2018                                                           $0.00
17    February 12, 2018                                     X                   $1,083.45
18    February 13, 2018                                                          $978.60
      February 14, 2018            X                                              $0.00
19    February 15, 2018                                                           $0.00
20    February 16, 2018                                     X                    $978.60
      February 17, 2018                                                         $1,398.00
21
      February 18, 2018                                                         $1,398.00
22    February 19, 2018                                                         $1,258.20
23    February 20, 2018                                                         $1,852.35
      February 21, 2018                                                         $1,013.55
24    February 22, 2018                                                         $1,398.00
25    February 23, 2018                                                         $1,398.00
      February 24, 2018                                                          $908.70
26    February 25, 2018                                                         $2,097.00
27    February 26, 2018                                                         $1,782.45
      February 27, 2018                                                         $1,153.35
28

                                                 -111-
                                                                             3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5042 Page 112 of 127



 1   February 28, 2018                                                            $1,118.40
                                           April 2018:
 2   April 1, 2018                                                                 $978.60
 3   April 2, 2018                                                                $1,048.50
     April 3, 2018                                                                 $943.65
 4   April 4, 2018                                                                $1,293.15
 5   April 5, 2018                  XX                                             $34.95
     April 6, 2018                                                                 $768.90
 6
     April 7, 2018                                                                 $629.10
 7   April 8, 2018                                                                 $928.60
     April 9, 2018                                                                 $629.10
 8
     April 10, 2018                                                                $768.90
 9   April 11, 2018                                                                $768.90
10   April 12, 2018                                                                $629.10
     April 13, 2018                                                                $104.85
11   April 14, 2018                                                                $509.25
12   April 15, 2018                                             X                  $577.15
     April 16, 2018                 XX                          X                  $169.75
13   April 17, 2018                                                                $577.15
14   April 18, 2018                                                                $780.83
     April 19, 2018                                             X                  $679.00
15
     April 20, 2018                                                                $441.35
16   April 21, 2018                                                               $1,459.85
     April 22, 2018                                                               $1,765.40
17
     April 23, 2018                                                               $1,493.80
18   April 24, 2018                  X                                             $441.39
19   See ECF No. 92-3 at 2-7. Plaintiff claims a “total minimum loss due to abuse on Amazon”
20   of $410,815.30. Id. Second, Exhibit D to the Complaint also shows Plaintiff’s losses due
21   to Defendants’ complaints:
22
23
24
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26
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                                              -112-
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 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5043 Page 113 of 127



 1   Compl. at 49. This graph creates a clear depiction of, at a minimum, a correlation between
 2   Defendants’ complaints and a decrease in the sale of Plaintiff’s products. Third, Exhibit
 3   9, ECF No. 92-4 at 2, and Exhibit 10, ECF No. 92-5 at 1-2, show Plaintiff’s (1) bag sales,
 4   (2) purchases, (3) cost of sales, (4) gross profit, (5) operating income/loss, (6) net income
 5   / loss before tax, (7) net income, and (8) gross profits. “It is . . . clear that in arriving at the
 6   amount of such damages in a situation involving loss of profits, net profits are to be
 7   considered and not gross anticipated profits.” Hunt, 248 F.2d at 33. Here, Plaintiff has
 8   provided net profits, including the information used to calculate net profits.
 9          While Plaintiff will need to provide further calculations and breakdowns at trial,
10   Plaintiff has provided enough information to stave off of summary judgment. Having
11   concluded a genuine issue of fact exists as to whether (1) Plaintiff’s tort claims are barred
12   by the litigation privilege; (2) Plaintiff’s claims are preempted by federal patent law; and
13   (3) Plaintiff’s damages such that are no grounds to dismiss Plaintiff’s tort claims on these
14   bases, the Court analyzes Defendant’s final argument for granting summary judgment.
                  4.    A Genuine Issue of Fact Exists as to Plaintiff’s Ability to Prove
15                      Misrepresentations, which is Required for its Tort Claims.
16          Defendants argue that “Plaintiff cannot prove at least one element of each of its
17   business tort claims for individual reasons for one simple fact: Defendants’ complaints to
18   Amazon were not ‘misrepresentations’ or ‘objectively baseless’ assertions of patent
19   infringement.” Def. Mot. at 9:10-17. Plaintiff refutes this assertion, conclusorily arguing
20   it has provided the Court with enough evidence to create a triable issue of fact as to all five
21   of its tort claims. Pltff. Oppo. at 22-25. As outlined below, the Court concludes that in
22   opposing Defendants’ motion, Plaintiff has shown that a genuine issue of fact exists as to
23   one or more elements of Plaintiff’s claims for intentional interference with prospective
24   economic relations and negligent misrepresentations.            However, with respect to the
25   remaining claims for unfair competition under the Lanham Act, unfair competition under
26   California’s UCL, and common law unfair competition under California law, Defendants
27   have shown that Plaintiff’s evidence fails to create a genuine issue of fact. Thus, the Court
28   grants judgment in Defendants’ favor as to those claims and dismisses them with prejudice.

                                                   -113-
                                                                                     3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5044 Page 114 of 127



 1                       a.     Intentional Interference with Prospective Economic Relations

 2         Defendants argue that “[t]here is nothing ‘wrongful’ about a party reporting
 3   infringement to another party in a position to stop it,” and as such, Plaintiff cannot establish
 4   the third element of this claim, such that no genuine issue of fact exists, warranting the
 5   Court granting summary judgment. Def. Mot. at 26:19-21. Plaintiff responds by summarily
 6   arguing “Defendants’ serial complaints represent a pattern” that when considered as a
 7   whole, show “Defendant’s [sic] sole purpose was to cause economic harm to Plaintiff and
 8   to suppress competition.” Pltff. Oppo. at 22:9-23:1. Plaintiff cites only one case addressing
 9   the purpose of the independently wrongful requirement but does not cite any cases where
10   a court determined a patentee’s statement to a third party that the opposing party infringed
11   on the patentee’s rights qualifies as independently wrongful conduct. See generally id.
12         Under California law, a plaintiff alleging a claim for relief for the tort of intentional
13   interference with prospective economic relations or advantage must prove “(1) an
14   economic relationship between the plaintiff and some third party, with the probability of
15   future economic benefit to the plaintiff; (2) the defendant’s knowledge of the relationship;
16   (3) intentional [wrongful] acts on the part of the defendant designed to disrupt the
17   relationship; (4) actual disruption of the relationship; and (5) economic harm to the plaintiff
18   proximately caused by the acts of the defendant.” Sybersound Records, Inc. v. UAV Corp.,
19   517 F.3d 1137, 1151 (9th Cir. 2008) (applying California law). “[I]nterference with
20   prospective economic advantage requires a plaintiff to allege an act that is wrongful
21   independent of the interference itself.” CRST Van Expedited, Inc. v. Werner Enters.,
22   Inc. 479 F.3d 1099, 1108 (9th Cir. 2007). “[A]n act is independently wrongful if it is
23   unlawful, that is, if it is proscribed by some constitutional, statutory, regulatory, common
24   law, or other determinable legal standard.” Upper Deck Co. v. Panini Am., Inc., 469 F.
25   Supp. 3d 963, 983 (S.D. Cal. 2020).
26         In a case relied upon by Defendants, Tommy Bahama Grp., Inc. v. Sexton, the
27   Northern District of California granted the plaintiff’s motion for summary judgment on the
28   defendant’s counterclaims, including for intentional interference with prospective

                                                  -114-
                                                                                  3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5045 Page 115 of 127



 1   economic advantage. No. C07-06360 EDL, 2009 WL 4673863, at *1, 14 (N.D. Cal. Dec.
 2   3, 2009), aff'd, 476 F. App’x 122 (9th Cir. 2012). The court held that the defendant’s
 3   counterclaim for defamation was based on the plaintiff’s alleged report to eBay that the
 4   defendant was selling counterfeit goods. Id. at 14. However, the court determined that
 5   “the undisputed evidence” showed that the plaintiff had told eBay, when making the
 6   reports, that it “had a ‘good faith belief’ that each of the listings was a ‘potential trademark
 7   infringement.’” Id. The court determined that “[s]uch qualified language is not a ‘provably
 8   false’ statement of fact; it is a statement of opinion that is not actionable as defamation,
 9   even if ultimately proven false.” Id. The court used this finding on the defamation
10   counterclaim to likewise conclude that “there is no evidence of any independent wrongful
11   conduct because, as discussed above, Mr. Sexton’s defamation claim (the only predicate
12   wrongful act he has alleged) fails as a matter of law.” Id.
13         Similarly, in Salon Supply Store, LLC v. Creative Nail Design, Inc., the court denied
14   the plaintiff’s motion to dismiss claims for intentional interference where the plaintiff, like
15   Plaintiff here, filed a lawsuit seeking a declaration of non-infringement as well as alleging
16   claims for intentional interference and unfair competition. No. 14-CV-01083-BAS(RBB),
17   2015 WL 11438492, at *1, *8 (S.D. Cal. June 19, 2015). In that case, the defendant filed
18   claims with eBay to report infringement violations by the plaintiff resulting in the removal
19   of four of the plaintiff’s listing from the online marketplace. Id. at *3. Although Salon
20   Supply proceeded on a different procedural posture (e.g., a motion to dismiss rather than a
21   motion for summary judgment), its analysis proves insightful. The Salon Supply court
22   noted that it had already concluded that the plaintiff had sufficiently alleged a violation of
23   California’s unfair competition law, and “[t]he requirement of an independently wrongful
24   act may be satisfied by an alleged violation of the UCL.” Id. at *7. The court discussed
25   two out of state cases cited by the defendant, which held “that ‘contacting a third party over
26   legitimate business concerns such as . . . infringement cannot form the basis of a tortious
27   interference claim.” Id. at *7; see also Lown Companies, LLC v. Piggy Paint, LLC, No.
28   1:11-CV-911, 2012 WL 3277188, at *4 (W.D. Mich. Aug. 9, 2012) (noting that other cases

                                                  -115-
                                                                                  3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5046 Page 116 of 127



 1   had held that “where a party’s actions are motivated by a legitimate business purpose, its
 2   actions do not constitute improper motive or interference.”); Dudnikov v. MGA Entm’t, 410
 3   F. Supp. 2d 1010, 1018-20 (D. Colo. 2005) (granting summary judgment in favor of the
 4   defendant on the plaintiff’s claim for tortious interference based on the defendant’s
 5   assertion of intellectual property rights leading to the termination of an online eBay auction
 6   because the defendant was well within its rights when it submitted a notice of claimed
 7   infringement; thus, the notice “could not, as a matter of law, be improper interference”).
 8   However, the Salon Supply court noted that “[w]hile California courts have similarly
 9   recognized that interference is not wrongful when a party is in pursuit of legitimate
10   commercial interests,” California has also held that “pleading that a defendant has engaged
11   in an act that was independently wrongful i.e., unlawful distinguishes competitive behavior
12   from tortious interference and sensibly redresses the balance by providing a remedy for
13   predatory economic behavior and keeping legitimate business competition outside
14   litigative bounds.” Id. at *7 (internal quotations omitted). Thus, under California law, a
15   plaintiff can defeat a defendant’s claim of justification by proving the defendant’s conduct
16   is unlawful. Id. As a result, in Salon Supply, if the plaintiff established the defendant
17   violated the UCL, the claim of competition privilege would be defeated. Id. However, the
18   court decided it could not make that determination at the pleading stage, and as such, denied
19   the motion to dismiss the intentional interference claims by concluding the plaintiff had
20   “sufficiently alleged independently wrongful conduct” to survive a motion to dismiss. Id.
21         In the present case, the record indicates there appears to be no genuine issue of
22   material fact—or at least Defendants do not appear to dispute these factors for purposes of
23   this motion—that (1) Plaintiff and Amazon had an economic relationship with the
24   probability of future economic benefit to Plaintiff; (2) Defendant knew of that relationship;
25   (3) Defendant undertook acts designed to disrupt the relation (e.g., making complaints to
26   Amazon); and (4) Defendant actually disrupted the relationship (e.g., as a result of
27   Plaintiff’s products being removed from Amazon). Thus, it appears the only issues in
28   dispute are whether (1) Defendants’ acts were wrongful beyond the fact of the interference

                                                 -116-
                                                                                3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5047 Page 117 of 127



 1   itself and (2) Plaintiff was damaged. The Court already concluded that Plaintiff has shown
 2   a genuine issue of fact exists as to whether Plaintiff was damaged, leaving only the
 3   wrongful act factor. Here, as in Salon Supply, Plaintiff has not proven Defendants’ claim
 4   of privilege by showing that Defendants’ conduct was unlawful. Instead, because Trolley
 5   Bags owned the 828 Patent when it reported Plaintiff’s allegedly infringing products, and
 6   patents are presumed valid, the Court finds that a genuine issue of fact exists as to whether
 7   Defendants’ reports to Amazon were made in good faith. See, e.g., Deposition of Joby
 8   Cronkshaw, ECF No. 92 at 6, Transcript at 152:12-15 (responding “Because we believe it
 9   does” when Plaintiff’s counsel asked Mr. Cronkshaw “Why did Trolley Bags repeatedly
10   complain to Amazon about the Lotus Trolley Bags allegedly infringing its 828 patent?”).
11   Thus, summary judgment on this issue is not warranted.
12                       b.     Negligent Misrepresentation
13         Defendants argue they are entitled to summary judgment on this claim for relief
14   because there is no genuine issue of material fact as to the first two elements: Plaintiffs
15   cannot prove Defendants (1) made a misrepresentation (2) without reasonable grounds for
16   believing it to be true. Def. Mot. at 27:6-20. Plaintiff responds that “Defendants’ alleged
17   good faith belief that the Lotus Bags infringe the ‘828 Patent was nonexistent” because
18   Trolley Bags’ corporate representative testified that he knew that none of the complaints
19   were successful. Pltff. Oppo. at 23:2-14 (citing Deposition of Joby Cronkshaw, ECF No.
20   92 at 7, Transcript at 153:3-9 (testifying that Amazon “removed it [the products] for various
21   periods of time,” but at every stage, “it has been put back on” when asked whether “each
22   time it was removed, Amazon relisted the Lotus Trolley Bag on Amazon”); see also id. at
23   7, Transcript p. 153:10-16 (answering “No” when asked “Are you aware of any instances
24   where the Lotus Trolley Bags was removed from Amazon due to a complaint from Trolley
25   Bags UK where the Lotus Trolley Bag was permanently removed from Amazon?”).
26   Plaintiff argues this creates a genuine issue of fact sufficient to allow the claim to proceed.
27         “To allege a claim for negligent misrepresentation, a plaintiff must plead: ‘(1) the
28   misrepresentation of a past or existing material fact, (2) without reasonable ground for

                                                 -117-
                                                                                 3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5048 Page 118 of 127



 1   believing it to be true, (3) with intent to induce another’s reliance on the fact
 2   misrepresented, (4) justifiable reliance on the misrepresentation, and (5) resulting
 3   damage.’” Celebrity Chefs Tour, LLC v. Macy’s, Inc., 16 F. Supp. 3d 1141, 1151 (S.D.
 4   Cal. 2014); see also Flaxel v. Johnson, 541 F. Supp. 2d 1127, 1146 (S.D. Cal. 2008).
 5   “Moreover, under California law, ‘[t]he existence of a duty of care is necessary to support
 6   a negligent misrepresentation claim.’” Celebrity Chefs, 16 F. Supp. 3d at 1151. “The law
 7   is quite clear that expressions of opinion are not generally treated as representations of fact,
 8   and thus are not grounds for a misrepresentation cause of action.” Mueller v. San Diego
 9   Entm’t Partners, LLC, 260 F. Supp. 3d 1283, 1296-97 (S.D. Cal. 2017) (Curiel, J.).
10   “Fraudulent representations, to constitute ground for relief, must be as to existing and
11   material facts; predictions of future events are ordinarily considered nonactionable
12   expressions of opinion.” C.f. Mueller, 260 F. Supp. 3d at 1296.
13         In the present case, only the first and second factors remain at issue. However, the
14   Court determines, as it did with the previous claim, that in light of the presumed validity
15   of the patent and testimony indicating that Defendants’ representative’s testimony that he
16   believed Plaintiff’s products infringed, a genuine issue of fact exists as to whether
17   Defendants’ reports to Amazon were made without reasonable grounds for believing it to
18   be true. Further, the Court notes that although this order declares the 828 Patent invalid,
19   thereby resulting in Defendants’ statements proving to be false, negligent
20   misrepresentation is analyzed at the time the statements were made. Mueller, 260 F. Supp.
21   3d at 1296. At the time Defendants made the statements, there was no adjudication that
22   the 828 Patent was invalid, and thus, a genuine issue of fact exists as to whether Defendants
23   had reasonable grounds for believe their statements were true.
24                       c.     Unfair Competition (15 U.S.C. § 1125)
25         Defendants argue that “Plaintiff cannot show that Defendants used a false or
26   misleading statement of fact in reporting Plaintiff’s infringement to Amazon” because they
27   predicate their claims on the fact that Defendants reported the alleged infringement without
28   citing to any specific false or misleading statement. Def. Mot. at 28:12-29:1. Plaintiff

                                                  -118-
                                                                                  3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5049 Page 119 of 127



 1   responds “Defendants’ false representations [to Amazon] and exaggerations about the
 2   scope and validity of the ‘828 Patent creates the false impression about Defendants’ own
 3   product as the exclusive source of the product.” Pltff. Oppo. at 23:16-18. Plaintiff further
 4   contends that “Defendants’ alleged good faith belief that the Lotus Bags” infringed “was
 5   nonexistent,” and as such, the unfair competition claims under 15 U.S.C. § 1125 must
 6   proceed to trial. Id. at 24:2-8 (citing Rodriguez v. Panayiotou, 314 F.3d 979, 985 (9th Cir.
 7   2002) (noting that the Supreme Court has “made clear that a false assertion of fact could
 8   be libelous even though couched in terms of opinion.”).
 9         To prevail on a claim for unfair competition under the Lanham Act, 15 U.S.C. §
10   1125, a plaintiff must prove five elements:
11                The elements of a Lanham Act § 43(a): false advertising claim are: (1)
                  a false statement of fact by the defendant in a commercial advertisement
12
                  about its own or another’s product; (2) the statement actually deceived
13                or has the tendency to deceive a substantial segment of its audience; (3)
                  the deception is material, in that it is likely to influence the purchasing
14
                  decision; (4) the defendant caused its false statement to enter interstate
15                commerce; and (5) the plaintiff has been or is likely to be injured as a
                  result of the false statement, either by direct diversion of sales from
16
                  itself to defendant or by a lessening of the goodwill associated with its
17                products.
18   Southland Sod Farms v. Stover Seed Co., 108 F.3d 1134, 1139 (9th Cir. 1997). Thus,
19   loosely stated, Section 43(a) of the Lanham Act, codified at 15 U.S.C. § 1125(a), provides
20   that any party who, “in connection with any goods,” uses a false or misleading
21   representation of fact in commerce which misrepresents the nature of another person’s
22   goods will be liable. Southland, 108 F.3d at 1139. “This portion of § 43(a) provides the
23   basis for what are generally known as ‘false advertising,’ ‘trade libel,’ and ‘product
24   disparagement’ claims.” Zenith, 182 F.3d at 1346-48. “To demonstrate falsity within the
25   meaning of the Lanham Act, a plaintiff may show that the statement was literally false,
26   either on its face or by necessary implication, or that the statement was literally true but
27   likely to mislead or confuse consumers.” Southland Sod, 108 F.3d at 1139.
28         “Under the Lanham Act, a statement may be misleading if it is ‘literally true, yet

                                                 -119-
                                                                                 3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5050 Page 120 of 127



 1   deceptive.’” Fisher Tooling Co. v. Gillet Outilliage, No. CV 04-7550 ABC MCX, 2006
 2   WL 5895307, at *6 (C.D. Cal. June 6, 2006) (holding that the plaintiff failed to identify a
 3   false or misleading statement where the letters at issue never stated as fact that the
 4   plaintiff’s product infringed the defendant’s patent but rather relayed only a strong opinion
 5   that the product infringed; even though that “‘strong opinion’ was ultimately incorrect, that
 6   opinion nevertheless does not qualify as a false statement”). “Opinions, on the other hand,
 7   do not qualify as false statements and are, therefore, not actionable.” Fisher, * 6. Id.
 8         “Absent a showing of bad faith, a patent holder is entitled to enforce its patent and
 9   even threaten litigation against alleged infringers.” Fisher, 2006 WL 5895307 at * 7-9.
10   “Indeed, a patentee, acting in good faith on its belief as to the nature and scope of its rights,
11   is fully permitted to press those rights even though it may misconceive what those rights
12   are.” Mikohn Gaming Corp. v. Acres Gaming, Inc., 165 F.3d 891, 897 (9th Cir. 1998).
13   Further, the presumption that a patent holder acts in good faith when asserting rights under
14   a duly granted patent bars a Lanham Act claim as well “unless the complaining party
15   presents affirmative evidence of bad faith on the part of the patent holder.” C.R. Bard. Inc.
16   v. M3 Sys., Inc., 157 F.3d 1340, 1369 (Fed. Cir. 1998). However, “mere allegations that
17   the patent holder has acted in bad faith will not overcome this presumption.” Fisher, 2006
18   WL 5895307 at *7. As a result, if a patent holder asserts rights in an invalid patent
19   believing in the patent’s validity, that patent holder has not acted in bad faith. Golan, 310
20   F.3d at 1360 (finding there was not bad faith where the patent holder brought an
21   infringement suit relying on an attorney’s assurances that patent had not yet expired when,
22   in fact, the patent had already expired).
23         Defendants argue that Plaintiff premises its “false or misleading statement) on
24   Defendants’ acts of reporting Plaintiff’s believed infringement to Amazon. Def. Mot. at
25   28:12-13. Defendants argue that such reports, where based on a good faith belief or opinion
26   that the other party is infringing, cannot serve as the basis for an unfair competition claim
27   under the Lanham Act. Id. at 28:16-29:1. Thus, Defendants contend that because Plaintiff
28   has no evidence of a false or misleading statement of fact, the Court must grant summary

                                                  -120-
                                                                                   3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5051 Page 121 of 127



 1   judgment in favor of Defendants. Id.       The Court agrees with Defendants. Defendants
 2   correctly note that their designated representative under Rule 30(b)(6), Mr. Dehmoubed,
 3   was asked a number of times to state the basis for his claims against Defendants and gave
 4   evasive, unresponsive answers. ECF No. 80-8 at 45-46, Dep. Transcript at 173:20-176:7.
 5   The Court also agrees with Defendants that Plaintiff has failed to come forward with
 6   evidence of a false or misleading fact made in an advertisement about Plaintiff’s product
 7   sufficient to create liability under the Lanham Act. As such, the Court grants Defendants’
 8   motion for summary judgment with respect to the Lanham Act claim. See Fisher, 2006
 9   WL 5895307, at *6 (granting summary judgment on a common law unfair competition
10   claim where even though the strong opinion contained in letters sent to third parties
11   asserting that the patent was valid proved incorrect, the opinion still did not qualify as a
12   false statement for purpose of the common law unfair competition claim).
13                       d.    Unfair Competition (Cal. Bus. & Prof. Code, § 17200)
14         Defendants argue that the Court should grant summary judgment as to Plaintiff’s
15   claims under California’s unfair competition law because (1) there is an absence of
16   evidence to create a genuine issue of fact as to whether Defendants’ complaints to Amazon
17   were unfair or unlawful; (2) Plaintiff lacks standing to pursue its claim under the fraudulent
18   prong because there is no allegation that Plaintiff relied on any statement Defendants made;
19   and (3) “Plaintiff has no evidence of any ‘restitution’ to which it could claim entitlement.”
20   Def. Mot. at 29:3-32:4. Plaintiff responds that its claims under California’s UCL law must
21   proceed to trial because “Defendants’ acts . . . fall squarely within the unfair prong because
22   Plaintiff is a ‘direct competitor’ of defendants, and Plaintiff has alleged and shown that
23   Defendants[’] acts have ‘significantly threatened or harmed competition.” Pltff. Oppo. at
24   24:11-25:2 (citing Dror v. Kenu, Inc., 2019 WL 568420, *14 (N.D. Cal. Nov. 1, 2019)).
25         California Business and Professions Code, section 17200 et seq., commonly known
26   as the California UCL, prohibits business acts or practices that are (1) fraudulent, (2)
27   unlawful, or (3) unfair. Davenport v. Litton Loan Servicing, LP, 725 F. Supp. 2d 862, 878
28   (N.D. Cal. 2010); see also Sybersound, 517 F.3d at 1151. Statutory liability can be

                                                 -121-
                                                                                3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5052 Page 122 of 127



 1   premised on antitrust or trademark violations. See Sybersound, 517 F.3d. at 1152
 2   (antitrust); Cleary v. News Corp., 30 F.3d 1255, 1263 (9th Cir.1994) (trademark). Each
 3   prong of the UCL constitutes a separate and distinct theory of liability. Kearns v. Ford
 4   Motor Co., 567 F. 3d 1120, 1127 (9th Cir. 2009). A plaintiff only has standing to challenge
 5   a business practice under the UCL if he or she has (1) “suffered injury in fact” and (2) “has
 6   lost money or property as a result of” the unfair competition he or she challenges. BUS. &
 7   PROF. CODE, § 17204; Californians for Disability Rights v. Mervyn’s, LLC, 39 Cal. 4th
 8   223, 227 (2006). Further, the remedies for UCL violations are limited to injunctive relief
 9   and restitution—a plaintiff may not recover monetary damages. Chambers v. Whirlpool
10   Corp., No. 16-56666, -- F.3d --, 2020 WL 6578223, at *7 (9th Cir. Nov. 10, 2020).
11         In this case, Plaintiff’s opposition only addresses the prong of unfairness, see
12   generally Pltff. Mot. at 24:9-27 (arguing that Defendants’ conduct falls squarely within the
13   unfair prong), and as such, the Court construes Plaintiff as having waived any argument
14   that Defendants’ actions fall under the unlawful or fraudulent prongs, see Franchise Tax
15   Bd. of Cal. v. Hyatt, 139 S. Ct. 1485, 1491, n. 1 (2019). The “unfair” prong of the UCL
16   applies when the practice or conduct at issue allegedly violates “the policy or spirit of [anti-
17   trust] laws because its effects are comparable to a violation of the law, or that otherwise
18   significantly threatens or harms competition.” Hodsdon v. Mars, Inc., 891 F.3d 857, 866
19   (9th Cir. 2018) (citing Cel-Tech Commc’ns, Inc., v. L.A. Cellular Tel. Co., 20 Cal. 4th 163,
20   187 (1999)); see also Loomis v. Slendertone Distribution, Inc., 420 F. Supp. 3d 1046, 1077
21   (S.D. Cal. 2019). However, “a [business] practice that is neither in violation of the antitrust
22   laws nor deceptive [can] nonetheless [be] unfair” if it is “immoral, unethical, oppressive,
23   or unscrupulous.” F.T.C. v. Sperry & Hutchinson Co., 405 U.S. 233, 244 n. 5 (1972); c.f.
24   Celebrity Chefs Tour, LLC v. Macy’s, Inc., 16 F. Supp. 3d 1123, 1140 (S.D. Cal. 2014)
25   (holding that the plaintiffs did not allege unfair practices within the meaning of the UCL
26   where they failed “to allege acts that more narrowly violate the spirit of the antitrust laws,
27   such as horizontal price fixing, exclusive dealing, or monopolization.”). Further, “any
28   finding of unfairness to competitors under section 17200 [must] be tethered to some

                                                  -122-
                                                                                  3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5053 Page 123 of 127



 1   legislatively declared policy or proof of some actual or threatened impact on competition.”
 2   Cel-Tech, 20 Cal. 4th at 187.
 3         “To have standing to assert a Section 17200 claim, the plaintiff must ‘(1) establish a
 4   loss or deprivation of money or property sufficient to qualify as injury in fact,
 5   i.e., economic injury, and (2) show that that economic injury was the result of, i.e., caused
 6   by, the unfair business practice or false advertising that is the gravamen of the claim.’” In
 7   re Turner, 859 F.3d 1145, 1151 (9th Cir. 2017); see also Moore v. Mars Petcare US, Inc.,
 8   966 F.3d 1007, 1020 (9th Cir. 2020). “A plaintiff fails to satisfy this causation requirement
 9   if he or she would have suffered ‘the same harm whether or not a defendant complied with
10   the law.’” Turner, 859 F.3d at 1151.
11         The “unfair” business practice must be “tethered” to a constitutional provision,
12   statute, or regulation. Hodsdon v. Mars, Inc., 891 F.3d 857, 866 (9th Cir. 2018); Cel-Tech,
13   20 Cal. 4th at 185. “To determine whether something is sufficiently ‘tethered’ to a
14   legislative policy for the purposes of the unfair prong, California courts require a close
15   nexus between the challenged act and the legislative policy.” Hodsdon, 891 F.3d at 866.
16   Defendants argue that even if Plaintiff proved Defendants’ complaints to Amazon were
17   unfair in some more generalized moral sense, the complaints “do not more narrowly violate
18   the letter or spirit of the antitrust laws because Plaintiff has no evidence of price fixing,
19   exclusive dealing, monopolization, or anything of the like.” Def. Mot. at 30:2-13 (citing
20   Celebrity Chef, 16 F. Supp. 3d at 1140; Dror, 2019 WL 568420 at *14). Plaintiff fails to
21   provide evidence or argument as to any specific policy that Defendants’ conduct violated.
22   In the absence of such evidence, Plaintiff failed to “tether” the conduct at issue, and there
23   is no genuine issue of fact as to this issue. Hodsdon, 891 F.3d at 866; see also Name.Space,
24   795 F.3d at 1134 (affirming the district court’s dismissal of a UCL claim where the court
25   dismissed on the basis that the plaintiff had failed to state an antitrust violation, trademark
26   claim, or other unlawful act); Arizona Cartridge Remanufacturers Ass’n, Inc. v. Lexmark
27   Int’l, Inc., 421 F.3d 981, 988 (9th Cir. 2005) (holding that the plaintiff failed to raise a
28   triable issue of fact that the defendant’s advertising statements as to its prebate program

                                                 -123-
                                                                                 3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5054 Page 124 of 127



 1   were false, misled, tended to deceive consumers, or constituted unfair competition).
 2         Finally, as stated, plaintiffs alleging claims for UCL may only recover injunctive
 3   relief or restitution, not damages. Chambers, 2020 WL 6578223, at *7. “Restitution is the
 4   ‘return [of] money obtained through an unfair business practice to those persons in interest
 5   from whom the property was taken, that is, to persons who had an ownership interest in the
 6   property or those claiming through that person.’” Loomis, 420 F. Supp. 3d at 1077.
 7   Defendants argue that by only producing evidence of Plaintiff’s lost sales based on a 30-
 8   day average calculation by Mr. Dehmoubed, Plaintiff has failed to produce evidence of
 9   restitution because the lost sales evidence essentially seeks damages rather than “the return
10   of money in which it has an identifiable interest.” Def. Mot. at 31:17-23. Where a plaintiff
11   pursuing a UCL claim essentially seeks damages rather than the return of money in which
12   the plaintiff has an identifiable interest, allowing the plaintiff to recover such relief under
13   the UCL would convert the UCL to “an all-purpose substitute for a tort . . . action,
14   something the Legislature never intended.” See, e.g., Nat’l Rural Telecommunications Co-
15   op. v. DIRECTV, Inc., 319 F. Supp. 2d 1059, 1082 (C.D. Cal. 2003), on reconsideration in
16   part (June 5, 2003) (finding the plaintiffs had failed to raise a genuine issue of material fact
17   as to whether they had a vested interest in the money they sought to recover from the
18   defendant warranting the summary judgment on the issue of damages under the UCL).
19         Here, Plaintiff has failed to present evidence of unfair conduct or an identifiable
20   interest in money possessed by Defendants. As such, Plaintiff failed to raise a genuine
21   issue of fact as to the necessary elements for its UCL claims, and the Court grants
22   Defendants’ motion for summary judgment as to Plaintiff’s UCL claim.
23                       e.     Common Law Unfair Competition
24         Defendants argue that the Court should grant summary judgment on the unfair
25   competition claim because such a claim is premised on the accused party passing off one’s
26   goods as those of another, and “Plaintiff has no evidence that Defendants were ‘passing
27   off’ their goods as the goods of Plaintiff.” Def. Mot. at 32:6-22. Plaintiff responds that its
28   common law tort claim for unfair competition must proceed to trial because common law

                                                  -124-
                                                                                  3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5055 Page 125 of 127



 1   unfair competition prohibits unfair or deceptive acts, and Defendants’ acts were unfair.
 2   Pltff. Oppo. at 25:3-12.
 3          “The common law tort of unfair competition is generally thought to be synonymous
 4   with the act of ‘passing off’ one’s goods as those of another.” Sybersound, 517 F.3d at
 5   1153. Where a plaintiff claiming common law unfair competition fails to show that the
 6   defendants “passed off their goods as those of another” or exploited trade names or trade
 7   marks, the plaintiff “has not stated a common law unfair competition claim.” Id. For
 8   instance, in Southland Sod, the Ninth Circuit agreed that the plaintiffs’ allegations did “not
 9   amount to ‘passing off’ or its equivalent,” and the plaintiffs’ claim for unfair competition
10   was properly dismissed. 108 F.3d at 1146-47.
11          Like the Southland court, the Court agrees that not only does Plaintiff fail to allege
12   Defendants passed off their products as Plaintiff’s products, but there is also no evidence
13   in the record that this occurred. As such, given the absence of a genuine issue of fact as to
14   the crux of a common law unfair competition claim, the Court grants summary judgment
15   and dismisses the common law unfair competition claim.
16   V.     CONCLUSION
17          For the above reasons, the Court rules on the motions as follows:
18          1.     Plaintiff’s Motion for Summary Judgment is GRANTED as follows:
19                 a.     The Court concludes that the 828 Patent is invalid.
20                 b.     Even if the 828 Patent was valid, Plaintiff did not infringe on the 828
21   Patent because the 828 Patent design and Plaintiff’s 912 Patent design (as well as the
22   product itself) are dissimilar in light of prior art.
23                 c.     Plaintiff has not infringed on Defendant’s common law trademark.
24                 d.     Plaintiff did not specify to which specific counterclaims its motion was
25   directed, as is required by Rule 56(a) of the Federal Rules of Civil Procedure. Nonetheless,
26   the Court determines that Plaintiff is the prevailing party with respect to (1) Plaintiff’s First
27   Claim for Relief for declaratory judgment of non-infringement of the 828 Patent and
28   Defendants’ related First Counterclaim for infringement of the 828 Patent as well as (2)

                                                   -125-
                                                                                   3:18-cv-02109-BEN-LL
 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5056 Page 126 of 127



 1   Plaintiff’s Second Claim for Relief seeking a declaratory judgment of non-infringement of
 2   the Trademark and Defendants’ related Second Counterclaim, for common law trademark
 3   infringement.24
 4                e.       Defendants’ third counterclaim for declaratory judgment of invalidity
 5   of the 912 Patent, fourth counterclaim for interference with prospective contractual
 6   relations, fifth counterclaim for negligent misrepresentation, sixth counterclaim for unfair
 7   competition pursuant to 15 U.S.C. § 1125, and seventh counterclaim for unfair competition
 8   pursuant to the common law and California’s UCL remain as those counterclaims for relief
 9   were not addressed by Plaintiff’s Motion.
10         2.     Defendant’s Motion for Summary Judgment is GRANTED IN PART and
11   DENIED IN PART as follows:
12                a.       A genuine issue of fact exists as to whether Plaintiff’s tort-based claims
13   for relief are protected by California’s litigation privilege.
14                b.       Plaintiff’s tort-based claims for relief are not protected by the Noerr-
15   Pennington Doctrine.
16                c.       A genuine issue of fact exists as to whether Defendants’ complaints to
17   Amazon were made in bad faith, and thus, whether Plaintiff’s claims are preempted by
18   federal patent law.
19                d.       Defendants’ have not proven the absence of a genuine issue of fact as
20   to damages for Plaintiff’s claims.
21                e.       A genuine issue of fact exists as to one or more elements of Plaintiff’s
22   claims for intentional interference with prospective economic relations and negligent
23   misrepresentations. However, the Court finds that Defendants have shown that Plaintiff’s
24   evidence fails to create a genuine issue of fact with respect to Plaintiff’s claims for common
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             The only acts of common law unfair competition alleged by Defendants are
27   trademark infringement, see, e.g., First Amend. Ans. at 14, ¶ 36 (pleading that Plaintiff’s
     acts constitute common law trademark infringement and unfair competition), and as such,
28   if the claims for trademark infringement fail, so too must the claims for unfair competition.
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 Case 3:18-cv-02109-BEN-LL Document 136 Filed 03/15/21 PageID.5057 Page 127 of 127



 1   law unfair competition under the Lanham Act, unfair competition under California’s UCL,
 2   and common law unfair competition under California law. As such, the Court grants
 3   summary judgment in favor of Defendants as to those three claims for relief and dismisses
 4   the claims with prejudice.
 5         3.     Upon resolution of the cross-motions for summary judgment, Plaintiff’s third
 6   claim for relief for interference with prospective of contractual economic relations against
 7   all Defendants and fourth claim for relief for negligent misrepresentation against all
 8   Defendants remain while the remaining claims from Defendants’ counterclaims are the
 9   third claim for relief for declaratory judgment of invalidity of the 912 Patent; fourth claim
10   for relief for interference with prospective contractual relations; fifth claim for relief for
11   negligent misrepresentation; sixth claim for relief for unfair competition, 15 U.S.C. § 1125;
12   and seventh claim for relief for unfair competition under the common law and Cal. Bus. &
13   Prof. Code § 17200.
14         IT IS SO ORDERED.
15    DATED:      March 12, 2021
16                                                         HON. ROGER T. BENITEZ
                                                            United States District Judge
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